            Case 3:16-cv-05616-RBL Document 25 Filed 09/28/17 Page 1 of 219




 1                                                THE HONORABLE RONALD B. LEIGHTON

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 5

 6                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7

 8   MARTY PAUL, an individual, and
     BRIAN BUSKIRK, an individual,                   Case No. 3:16-cv-05616-RBL
 9
                      Plaintiffs,                    DECLARATION OF MATTHEW
10                                                   A. RUSSELL IN SUPPORT OF
     v.                                              DEFENDANTS’ MOTION FOR
11                                                   SUMMARY JUDGMENT ON
     RBC CAPITAL MARKETS, LLC, a                     PENSION PLAN ISSUE
12   Minnesota limited liability company; ROYAL
     BANK OF CANADA, a Canadian corporation;
13   and ROYAL BANK OF CANADA US
     WEALTH ACCUMULATION PLAN, an
14   employee benefit plan,
15                    Defendants.
16

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26
                                                                       MORGAN, LEWIS & BOCKIUS LLP
                                                                             Attorneys at Law
     DECLARATION OF MATTHEW A. RUSSELL IN SUPPORT OF                    77 W. Wacker Dr., 5th Floor
     DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT                                Chicago, IL 60601
                                                                             +1.312.324.1000
             Case 3:16-cv-05616-RBL Document 25 Filed 09/28/17 Page 2 of 219




 1
            I, Matthew A. Russell, declare and state as follows:
 2
            1.      I am an associate at the law firm of Morgan, Lewis & Bockius LLP and one of the
 3
     attorneys representing Defendants RBC Capital Markets, LLC, Royal Bank of Canada, and the
 4
     Royal Bank of Canada US Wealth Accumulation Plan in the above-captioned lawsuit. I am
 5
     competent to make this declaration and have personal knowledge of the facts stated herein.
 6
            2.      The documents referenced below have either been produced in this litigation or
 7
     generated over the course of this litigation.
 8
            3.      Attached as Exhibit A is a true and correct copy of a portion of the RBC 2011
 9
     Financial Consultant Compensation Plan, bates numbered RBC-Paul 00006679 to RBC-Paul
10
     00006693.
11
            4.      Attached as Exhibit B is a true and correct copy of selected pages of the
12
     deposition transcript of Gabriella Sikich taken on July 11, 2017, in this litigation.
13
            5.      Attached as Exhibit C is a true and correct copy of a portion of the RBC 2009
14
     Financial Consultant Compensation Plan, bates numbered RBC-Paul 00006615 to RBC-Paul
15
     00006628.
16
            6.      Attached as Exhibit D is a true and correct copy of selected pages of the
17
     deposition transcript of plaintiff Marty Paul taken on April 27, 2017, in this litigation.
18
            7.      Attached as Exhibit E is a true and correct copy of selected pages of the
19
     deposition transcript of plaintiff Brian Buskirk taken on April 28, 2017, in this litigation.
20
            8.      Attached as Exhibit F is a true and correct copy of the Declaration of Gabriella
21
     Sikich, dated January 25, 2012, as prepared for and filed in the matter of Tolbert, et al. v. RBC
22
     Capital Markets Corp., et al., No. 4:11-cv-00107 (S.D. Tex.) (Ellison, J.), bates numbered RBC-
23
     Paul 00011925 to RBC-Paul 00011928.
24

25
26   DECLARATION OF MATTHEW A. RUSSELL IN SUPPORT OF
     DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT                                       MORGAN, LEWIS & BOCKIUS LLP
                                                                                         Attorneys at Law
     PAGE 1                                                                         77 W. Wacker Dr., 5th Floor
                                                                                        Chicago, IL 60601
                                                                                         +1.312.324.1000
               Case 3:16-cv-05616-RBL Document 25 Filed 09/28/17 Page 3 of 219




            9.      Attached as Exhibit G is a true and correct copy of the 2011 Financial Consultant
 1
     RBC U.S. Wealth Accumulation Plan summary brochure, bates numbered TOLBERT 0000640
 2
     to TOLBERT 0000645.
 3
            10.     Attached as Exhibit H is a true and correct copy of the Amended and Restated
 4
     Royal Bank of Canada U.S. Wealth Accumulation Plan and Prospectus, dated November 1,
 5
     2010, and effective January 1, 2011, bates numbered RBC-Paul 00000102 to RBC-Paul
 6
     00000123.
 7
            11.     Attached as Exhibit I is a true and correct copy of the Amended and Restated
 8
     Royal Bank of Canada U.S. Wealth Accumulation Plan and Prospectus, Frozen as of January 1,
 9
     2012, dated January 1, 2012, bates numbered RBC-Paul 00003341 to RBC-Paul 00003362.
10
            12.     Attached as Exhibit J are true and correct copies of the “US Wealth
11
     Accumulation Plan (WAP) Summary” grids for the Plan years 2009 (bates numbered TOLBERT
12
     0000692 to TOLBERT 0000693), 2010 (bates numbered TOLBERT 0000711 to TOLBERT
13
     0000712), and 2011 (bates numbered TOLBERT 0000713 to TOLBERT 0000714).
14
            13.     Attached as Exhibit K is a true and correct copy of selected pages of the
15
     deposition transcript of Tammy Buchert taken on July 12, 2017, in this litigation.
16
            14.     Attached as Exhibit L is a true and correct copy of the Stipulation of Facts
17
     Regarding WAP Eligibility, entered into by the parties in this litigation on September 25, 2017.
18
            15.     Attached as Exhibit M is a true and correct copy of the RBC U.S. Wealth
19
     Accumulation Plan, 2006 Summary of Plan Provisions for Financial Consultants brochure, bates
20
     numbered RBC 000113 to RBC 000116.
21
            16.     Attached as Exhibit N is a true and correct copy of the 2009 Financial Consultant
22
     RBC U.S. Wealth Accumulation Plan summary brochure, bates numbered RBC 000226 to RBC
23
     000230.
24

25
26   DECLARATION OF MATTHEW A. RUSSELL IN SUPPORT OF
     DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     PAGE 2                                                                     MORGAN, LEWIS & BOCKIUS LLP
                                                                                       Attorneys at Law
                                                                                 77 W. Wacker Drive, 5th Floor
                                                                                   Chicago, IL 606015-1596
                                                                                       +1.312.324.1000
               Case 3:16-cv-05616-RBL Document 25 Filed 09/28/17 Page 4 of 219




            17.     Attached as Exhibit O is a true and correct copy of the 2009 PCG Director RBC
 1
     U.S. Wealth Accumulation Plan summary brochure, bates numbered RBC 000221 to RBC
 2
     000225.
 3
            18.     Attached as Exhibit P are true and correct copies of the first pages of plaintiff
 4
     Marty Paul’s annual Wealth Accumulation Plan account statements, for the years 2006 to 2012,
 5
     bates numbered as follows: 2006 (RBC-Paul 0000410); 2007 (RBC-Paul 00000424); 2008
 6
     (RBC-Paul 00000437); 2009 (RBC-Paul 00000451); 2010 (RBC-Paul 00000463); 2011 (RBC-
 7
     Paul 00000474); 2012 (RBC-Paul 00000486).
 8
            19.     Attached as Exhibit Q are true and correct copies of the first pages of plaintiff
 9
     Brian Buskirk’s annual Wealth Accumulation Plan account statements, for the years 2009 to
10
     2012, bates numbered as follows: 2009 (RBC-Paul 00004570); 2010 (RBC-Paul 00004592);
11
     2011 (RBC-Paul 00004542); 2012 (RBC-Paul 00004613).
12
            20.     Attached as Exhibit R is a true and correct copy of plaintiff Brian Buskirk’s “FC
13
     Total Compensation Statement” for the years 2006 and 2007, produced by plaintiffs in this
14
     litigation and bates numbered BB 000062 to BB 000063.
15
            21.     Attached as Exhibit S is a true and correct copy of a March 15, 2012 Letter from
16
     Gabriella Sikich to Marty Paul (and attachments), produced by plaintiffs in this litigation and
17
     bates numbered MP 000113 to MP 000141.
18
            22.     Attached as Exhibit T is a true and correct copy of plaintiff Marty Paul’s RBC
19
     Wealth Management 2010 WAP Productivity and RBC Loyalty Bonuses Year-End Statement,
20
     bates numbered RBC-Paul 000011251.
21
            23.     Attached as Exhibit U is a true and correct copy of plaintiff Brian Buskirk’s RBC
22
     Wealth Management 2011 WAP Productivity and RBC Loyalty Bonuses Year-End Statement,
23
     bates numbered RBC-Paul 000011270.
24

25
26   DECLARATION OF MATTHEW A. RUSSELL IN SUPPORT OF
     DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     PAGE 3                                                                   MORGAN, LEWIS & BOCKIUS LLP
                                                                                     Attorneys at Law
                                                                               77 W. Wacker Drive, 5th Floor
                                                                                 Chicago, IL 606015-1596
                                                                                     +1.312.324.1000
             Case 3:16-cv-05616-RBL Document 25 Filed 09/28/17 Page 5 of 219




            I declare under penalty of perjury under the laws of the United States that the foregoing is
 1
     true and correct.
 2
     DATED: September 28, 2017                   Respectfully submitted,
 3

 4
                                                 By: /s/ Matthew A. Russell
 5                                                   Matthew A. Russell

 6                                                    Sari M. Alamuddin (admitted pro hac vice)
                                                         sari.alamuddin@morganlewis.com
 7                                                    Christopher J. Boran (admitted pro hac vice)
                                                         christopher.boran@morganlewis.com
 8
                                                      Matthew A. Russell (admitted pro hac vice)
 9                                                       matthew.russell@morganlewis.com
                                                      MORGAN, LEWIS & BOCKIUS LLP
10                                                    77 West Wacker Drive, 5th Floor
                                                      Chicago, Illinois 60601
11                                                    312.324.1000 (Telephone)
12                                                    312.323.1001 (Facsimile)

13                                                    Kevin J. Hamilton (WSBA #15648)
                                                      William B. Stafford (WSBA #39849)
14                                                    Perkins Coie LLP
                                                      1201 Third Avenue, Suite 4900
15                                                    Seattle, WA 98101-3099
16                                                    206.359.8000 (Telephone)
                                                      206.359.9000 (Facsimile)
17                                                    Attorneys for Defendants
18

19

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25
26   DECLARATION OF MATTHEW A. RUSSELL IN SUPPORT OF
     DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     PAGE 4                                                                      MORGAN, LEWIS & BOCKIUS LLP
                                                                                        Attorneys at Law
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                                                                                    Chicago, IL 606015-1596
                                                                                        +1.312.324.1000
             Case 3:16-cv-05616-RBL Document 25 Filed 09/28/17 Page 6 of 219



                                       CERTIFICATE OF SERVICE

 1
            I hereby certify that on September 28, 2017, I electronically filed the foregoing
 2
     Declaration of Matthew A. Russell in Support of Defendants’ Motion for Summary Judgment on
 3
     Pension Plan Issue with the Clerk of the Court using the CM/ECF system, which will send
 4
     notification of such filing to all counsel of record.
 5

 6                                                            /s/ Matthew A. Russell
                                                             Matthew A. Russell
 7

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25
26   DECLARATION OF MATTHEW A. RUSSELL IN SUPPORT OF
     DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     PAGE 5                                                                       MORGAN, LEWIS & BOCKIUS LLP
                                                                                         Attorneys at Law
                                                                                   77 W. Wacker Drive, 5th Floor
                                                                                     Chicago, IL 606015-1596
                                                                                         +1.312.324.1000
                 Case 3:16-cv-05616-RBL Document 25 Filed 09/28/17 Page 7 of 219



                                  UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 1

 2
     MARTY PAUL, an individual, and
 3   BRIAN BUSKIRK, an individual,

 4                        Plaintiffs,

 5   v.                                                    Case No. 3:16-cv-05616-RBL

 6   RBC CAPITAL MARKETS, LLC, a                           Honorable Judge Ronald B. Leighton
     Minnesota limited liability company; ROYAL
 7   BANK OF CANADA, a Canadian corporation;
     and ROYAL BANK OF CANADA US
 8   WEALTH ACCUMULATION PLAN, an
     employee benefit plan,
 9
                          Defendants.
10

11
                      INDEX OF EXHIBITS IN SUPPORT OF DEFENDANTS’
12                MOTION FOR SUMMARY JUDGMENT ON PENSION PLAN ISSUE
13        Exhibit                     Document                                    Bates Label
            A     RBC 2011 Financial Consultant Compensation Plan             RBC-Paul 6679-6693
14
            B       Excerpts of Gabriella Sikich’s Deposition Transcript,     n/a
15                  July 11, 2017

16          C       RBC 2009 Financial Consultant Compensation Plan           RBC-Paul 6615-6628
            D       Excerpts of Plaintiff Marty Paul’s Deposition             n/a
17                  Transcript, April 27, 2017
18          E       Excerpts of Plaintiff Brian Buskirk’s Deposition          n/a
                    Transcript, April 28, 2017
19
            F       Declaration of Gabriella Sikich, dated January 25, 2012   RBC-Paul 11925-11928
20
            G       2011 Financial Consultant RBC U.S. Wealth                 TOLBERT 640-645
21                  Accumulation Plan Summary Brochure

22          H       Amended and Restated Royal Bank of Canada U.S.            RBC-Paul 102-123
                    Wealth Accumulation Plan and Prospectus, dated
23                  November 1, 2010, and effective January 1, 2011
                    (“2011 WAP”)
24
             I      Amended and Restated Royal Bank of Canada U.S.            RBC-Paul 3341-3362
25                  Wealth Accumulation Plan and Prospectus, Frozen as
                    of January 1, 2012, dated January 1, 2012 (“2012
26                  Frozen WAP”)
              Case 3:16-cv-05616-RBL Document 25 Filed 09/28/17 Page 8 of 219




          J      US Wealth Accumulation Plan (WAP) Summary Grids          TOLBERT 692-693
                 for the Plan years 2009, 2010, and 2011                  (2009)
 1
                                                                          TOLBERT 711-712
 2                                                                        (2010)

 3                                                                        TOLBERT 713-714
                                                                          (2011)
 4               Excerpts of Tammy Buchert’s Deposition Transcript,       n/a
          K
 5               July 12, 2017
          L      Stipulation of Facts Regarding WAP Eligibility,          n/a
 6               September 25, 2017
 7        M      2006 Financial Consultant RBC U.S. Wealth                RBC 113-116
                 Accumulation Plan Summary Brochure
 8
          N      2009 Financial Consultant RBC U.S. Wealth                RBC 226-230
 9               Accumulation Plan Summary Brochure
10        O      2009 PCG Director RBC U.S. Wealth Accumulation           RBC 221-225
                 Plan Summary Brochure
11
          P      First Pages of Plaintiff Marty Paul’s Annual Wealth      RBC-Paul 410 (2006)
12               Accumulation Plan Account Statements for the years       RBC-Paul 424 (2007)
                 2006 to 2012                                             RBC-Paul 437 (2008)
13                                                                        RBC-Paul 451 (2009)
                                                                          RBC-Paul 463 (2010)
14                                                                        RBC-Paul 474 (2011)
15                                                                        RBC-Paul 486 (2012)
          Q      First Pages of Plaintiff Brian Buskirk’s Annual Wealth   RBC-Paul 4570 (2009)
16               Accumulation Plan Account Statements for the years       RBC-Paul 4592 (2010)
17               2009 to 2012                                             RBC-Paul 4542 (2011)
                                                                          RBC-Paul 4613 (2012)
18        R      Plaintiff Brian Buskirk’s FC Total Compensation          BB 63 (2006)
19               Statement for the years 2006 and 2007                    BB 62 (2007)
          S      March 15, 2012 Letter from Gabriella Sikich to Marty     MP 113-141
20               Paul and Attachments
21        T      Plaintiff Marty Paul’s RBC Wealth Management 2010        RBC-Paul 11251
                 WAP Productivity and RBC Loyalty Bonuses Year-
22               End Statement
23        U      Plaintiff Brian Buskirk’s RBC Wealth Management          RBC-Paul 11270
                 2011 WAP Productivity and RBC Loyalty Bonuses
24               Year-End Statement
25
26

     INDEX OF EXHIBITS – PAGE 2                                                 MORGAN, LEWIS & BOCKIUS LLP
                                                                                       Attorneys at Law
                                                                                 77 W. Wacker Drive, 5th Floor
                                                                                   Chicago, IL 606015-1596
                                                                                       +1.312.324.1000
Case 3:16-cv-05616-RBL Document 25 Filed 09/28/17 Page 9 of 219




               Exhibit A
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                Exhibit B
                      Case 3:16-cv-05616-RBL Document 25 Filed 09/28/17 Page 26 of 219

Paul, et ano. v. RBC Capital Markets, LLC, et al.                                                                                            Gabriela Sikich
                                                                     Page 1                                                                             Page 3
              UNITED STATES DISTRICT COURT                                     1             DEPOSITION OF GABRIELA SIKICH
             WESTERN DISTRICT OF WASHINGTON                                    2                  EXAMINATION INDEX
                   AT TACOMA                                                   3   EXAMINATION BY                                           PAGE
      ____________________________________________________________             4   Mr. Roller . . . . . . . . . . . . . . . . . . . . . . 7
                                                                               5                  * * * * *
                           )                                                   6                    EXHIBIT INDEX
      MARTY PAUL, an individual; and )                                         7    *** EXHIBIT NOS. 1-15, 20-32 & 34-42 ARE CONFIDENTIAL ***
      BRIAN BUSKIRK, an individual, )                                          8    *** EXHIBIT NOS. 19 & 33 ARE CONFIDENTIAL/AEO ***
                           )                                                   9   EXHIBITS FOR IDENTIFICATION                                   PAGE
               Plaintiffs,    )                                               10   1 3/13/2011 Letter from Brent C. Sabin to US
                           )                                                         Department of Labor, RBC000001                            51
          v.                ) No. 3:16-cv-05616-RBL                           11
                           )                                                       2 11/30/2004 Amended and Restated Royal Bank of
      RBC CAPITAL MARKETS, LLC, a )                                           12     Canada US Wealth Accumulation Plan and
      Minnesota limited liability )
                                                                                     Prospectus, RBC-PAUL000003455 - RBC-PAUL000003473             57
      company; ROYAL BANK OF CANADA, )
                                                                              13
      a Canadian corporation; and      )
      ROYAL BANK OF CANADA US WEALTH )                                             3 11/1/2006 Amended and Restated Royal Bank of
      ACCUMULATION PLAN, an employee )
                                                                              14     Canada US Wealth Accumulation Plan and
      benefit plan,              )                                                   Prospectus, RBC-PAUL000000043 - RBC-PAUL000000060             58
                           )                                                  15
               Defendants.         )                                               4 11/1/2007 Amended and Restated Royal Bank of
                           )                                                  16     Canada US Wealth Accumulation Plan and
      ____________________________________________________________                   Prospectus, RBC-PAUL000000061 - RBC-PAUL000000079             59
                                                                              17
            DEPOSITION UPON ORAL EXAMINATION                                       5 11/1/2008 Amended and Restated Royal Bank of
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                 GABRIELA SIKICH                                                   6 11/1/2009 Amended and Restated Royal Bank of
      ____________________________________________________________            20     Canada US Wealth Accumulation Plan and
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                                                                              21
             Taken at 50 South Sixth Street                                        7 11/1/2010 Amended and Restated Royal Bank of
               Minneapolis, Minnesota                                         22     Canada US Wealth Accumulation Plan and Prospectus 62
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                                                                                     Canada US Wealth Accumulation Plan and
                                                                              24     Prospectus, RBC-PAUL000003341 - RBC-PAUL000003362 63
      DATE TAKEN: July 11, 2017                                               25
      REPORTED BY: Ryan Ziegler, RPR, CCR 3348


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  1                                                                            1   EXHIBITS FOR IDENTIFICATION (cont.)             PAGE
                APPEARANCES                                                    2    9 12/6/2011 Amended and Restated Royal Bank of
  2                                                                                   Canada US Wealth Accumulation Plan and
  3   FOR PLAINTIFFS:                                                          3      Prospectus, RBC-PAUL000003386 - RBC-PAUL000003408            64
  4            JEREMY E. ROLLER                                                4   10 5/17/2006 Letter from Janet M. Den Uyl to
               Yarmuth Wilsdon, PLLC                                                  Gabriela Sikich, with enclosure,
  5            1420 Fifth Avenue                                               5      TOLBERT0001384-TOLBERT0001394                 84
               Suite 1400                                                      6   11 2011 RBC U.S. Wealth Accumulation Plan,
  6            Seattle, Washington 98101                                              TOLBERT0000633-TOLBERT0000635                 89
               206.516.3800                                                    7
  7            jroller@yarmuth.com                                                 12 RBC U.S. Wealth Accumulation Plan, FC Select
  8                                                                            8     Participants, TOLBERT0000636-TOLBERT0000639              91
      FOR DEFENDANTS:                                                          9   13 RBC U.S. Wealth Accumulation Plan for Financial
  9                                                                                  Consultants & Branch Directors, TOLBERT0000640-
                MATTHEW A. RUSSELL                                            10     TOLBERT0000645                               95
 10             Morgan, Lewis & Bockius, LLP                                  11   14 RBC U.S. Wealth Accumulation Plan for Regional
                77 West Wacker Drive                                                 Directors & Complex Directors, TOLBERT0000646-
 11             Fifth Floor                                                   12     TOLBERT0000651                               97
                Chicago, Illinois 60601                                       13   15 11/30/2011 Letter from Geoffrey H. Bracken to
 12             312.324.1771                                                         the Honorable Keith P. Ellison, with enclosure,
                matthew.russell@morganlewis.com                               14     RBC-PAUL000010363 - RBC-PAUL000010373                   98
 13                                                                           15   16 Document Excerpt: "Tab 2011 WAP-Eligible"          115
                CASEY E. JARCHOW                                              16   17 Document Excerpt: Spreadsheet                  116
 14             Senior Counsel - Employment                                   17   18 Document Excerpt: "2008 WAP-Eligible"            120
                RBC Wealth Management                                         18   19 4/8/2005 2006 FC Compensation Planning
 15             RBC Plaza                                                            Meeting #1, TOLBERT0000772-TOLBERT0000788                128
                60 South Sixth Street                                         19
 16             Minneapolis, Minnesota 55402                                       20 3/23/2006 RBC US Wealth Accumulation Plan ("WAP")
                612.371.7672                                                  20     Strategy and Planning Session, TOLBERT0001347-
 17             casey.jarchow@rbc.com                                                TOLBERT0001368                         133
 18                                                                           21
 19                                                                                21 3/31/2006 E-mail re: "Update on WAP Strategy &
                 * * * * *                                                    22     Planning Session," TOLBERT0002295               150
 20                                                                           23   22 4/19/2006 E-mail re: "WAP Initiative,"
 21                                                                                  TOLBERT0001072                           153
 22                                                                           24
 23                                                                                23 4/23/2008 Meeting Invite, TOLBERT0002118             158
 24                                                                           25
 25



                                                                                                                            1 (Pages 1 to 4)
                         BUELL REALTIME REPORTING, LLC
SEATTLE 206.287.9066 OLYMPIA 360.534.9066 SPOKANE 509.624.3261 NATIONAL 800.846.6989
                 Case 3:16-cv-05616-RBL Document 25 Filed 09/28/17 Page 27 of 219

Paul, et ano. v. RBC Capital Markets, LLC, et al.                                                                  Gabriela Sikich
                                                      Page 17                                                             Page 19
  1       Q. Anything in it was inaccurate?                          1          So what we have done is, over the course of the
  2       A. Correct.                                                2   years, since this is such a key, instrumental recruiting
  3       Q. You testified truthfully and accurately in all          3   and retention tool, is that we wanted to ensure the fact
  4    three of those depositions?                                   4   that A, No. 1, it was competitive; No. 2, that -- that it
  5       A. Yes, I did.                                             5   was -- the participants that were participating really
  6       Q. Ms. Sikich, when did you begin working at -- well,      6   appreciated the fact of "this is such an elite program."
  7    let me back up.                                               7          And so with that, as strategies changed as far as
  8          Who is your employer?                                   8   recruiting and retention, along with that came plan design
  9       A. RBC. Royal Bank of Canada.                              9   changes to mirr- -- to mirror up to that.
 10       Q. So it's RBC, not RBC Capital Markets?                  10      Q. We'll get into those plan design changes a bit
 11       A. RBC Ca- -- would be probably RBC Capital Markets.      11   later.
 12    I work, actually, in the HR department.                      12         When you were talking about your responsibilities
 13       Q. Do you get a paystub?                                  13   a few moments ago, I thought that you were referring to
 14       A. It just says "RBC."                                    14   your current responsibilities as opposed to how those
 15       Q. What is your position at RBC --                        15   responsibilities may have looked when you assumed your
 16       A. Currently --                                           16   current position back in 2005. Have your responsibilities
 17       Q. -- currently?                                          17   changed from 2005 to the present?
 18       A. -- I'm the senior manager of the U.S. deferred         18      A. The responsibilities haven't changed.
 19    compensation plans.                                          19      Q. It's just kind of what you've done and what you
 20       Q. When did you take that position?                       20   described about making changes to the WAP over time that
 21       A. I believe it was probably back in 2005.                21   have changed?
 22       Q. We're going to talk a little bit more about your       22      A. Right. Basically, my responsibilities and my
 23    job duties later, but can you briefly just tell me what      23   duties are the same as they were back in 2005. There was
 24    your responsibilities are in that position?                  24   just a lot more activity prior to, you know, the evolution
 25       A. Currently?                                             25   of 409A --


                                                      Page 18                                                             Page 20
   1      Q. Yes.                                                    1     Q. Yeah.
   2      A. Currently, what I do is I'm -- I'm the senior           2     A. -- where you had a lot more flexibility as far as
   3   manager of the U.S. deferred compensation plans, so my        3   changing your plan; whereas now, we're very -- we're
   4   main -- my main role is to ensure governance of the -- of     4   somewhat locked in, and so I don't do as many plan design
   5   the programs.                                                 5   changes since I really can't at this point in time.
   6         We now currently have, actually, two deferred comp      6     Q. Who do you report to?
   7   plans. We have, as you -- as you referred earlier, the new    7     A. My manager is Dan Szabo.
   8   wealth accumulation plan, and then we've also rolled out      8     Q. And that's S-Z-A-B-O?
   9   what we refer to as the U.S. deferred advantage plan,         9     A. That's correct.
  10   otherwise known as DAP.                                      10     Q. What is Mr. Szabo's position?
  11         So I handle the governance. I own all of the           11     A. He is the director of compensation for the U.S.
  12   communications. I provide -- ensure the fact that,           12   and Caribbean.
  13   administratively, the -- you know, the functions are         13     Q. And that's for RBC?
  14   carried out correctly, such as the annual distributions.     14     A. Correct.
  15   We have the annual enrollment.                               15     Q. Were you at RBC prior to taking your current
  16         I ensure also 409A compliance. I actually preside      16   position in 2005?
  17   as secretary to the WAP committee, which basically has --    17     A. Yes.
  18   they're mandated -- is the invest- -- oversight of the       18     Q. And what was your position prior to 2005?
  19   investment options offered in the plans.                     19     A. I actually worked in P- -- private clients group
  20      Q. Anything else?                                         20   as a retirement plan consultant.
  21      A. Plan design.                                           21     Q. What is private client group?
  22      Q. What do you mean by "plan design"?                     22     A. It supports wealth management. It's just
  23      A. Over -- over the course, like I said, as I've          23   basically all the services that -- for FAs, such as -- for
  24   mentioned, is -- is that the plan -- the WAP in particular   24   example, my role was, as a retirement plan consultant, is I
  25   has really kind of evolved over the years.                   25   would actually travel out to my specific region, and I


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  1          If you know, did Capital Markets have financial         1            (Exhibit No. 1 marked.)
  2    consultants working for it?                                   2   BY MR. ROLLER:
  3       A. They don't have commissioned finan- -- no.              3       Q. Ms. Sikich, you've been handed what's been marked
  4       Q. So that would all be staff? There wouldn't be           4   Exhibit 1. Do you recognize this?
  5    financial consultants under Capital Markets?                  5       A. No, I do not.
  6       A. Correct. The only one that have commissioned            6       Q. Have you ever seen this before?
  7    financial consultants would be wealth management.             7       A. No.
  8       Q. Okay. I understand.                                     8           I take that back. This was where I -- there's an
  9          We went down a little detour talking about the WAP      9   old file that talked about the top-hat exemp- -- exemption
 10    committee and then the operating committee. You're not a     10   filing for the WAP.
 11    member of the WAP committee; is that correct?                11       Q. And this document's dated March 13, 2001. Do you
 12       A. I -- the old WAP committee?                            12   see that?
 13       Q. Yes.                                                   13       A. Yes, I do.
 14       A. I was not a member.                                    14       Q. Was that prior to RBC's acquisition of Dain?
 15       Q. Were you an adviser to the old WAP committee?          15       A. It was right around the -- the -- what prompted
 16       A. Yes.                                                   16   this was RBC's acquisition of Dain. I'm not sure of,
 17       Q. And what did you do in the context of that             17   specifically, the time frame.
 18    advisory role?                                               18       Q. Now that you've had -- had a moment to -- to
 19       A. I would help actually -- they would meet on a          19   review it, do you have any further understanding of what
 20    quarterly basis, and I would actually help prepare the --    20   this is?
 21    the meeting agendas and meeting materials.                   21       A. What this is, is that -- that, basically, the --
 22       Q. And to meet on a quarterly basis, in those             22   prior to the acquisition, the old deferred compensation was
 23    quarterly meetings, was it dealing with -- was one of the    23   actually distributed to all plan participants, so we were
 24    things they dealt with appeals from plan participants?       24   establishing basically a brand-new WAP in 2001.
 25       A. Correct.                                               25           And it is my understanding that -- is -- is that


                                                      Page 50                                                             Page 52
  1      Q. Was another thing they dealt with restatement of         1   Brent Sabin, who was the VP of be- -- manager actually then
  2   the -- the WAP document?                                       2   requested a top-hat exemption for this newly created WAP.
  3      A. Correct.                                                 3       Q. And by this letter, he was informing the
  4      Q. Were there other things they dealt with at those         4   Department of Labor of the intention that this newly
  5   quarterly meetings?                                            5   created WAP would be top-hat --
  6      A. The investment review and monitoring.                    6       A. Correct.
  7      Q. In addition to dealing with the claims, the              7       Q. -- exempt?
  8   changes to the plan document, and the investment review and    8          Do you know if any similar letter has ever been
  9   monitoring, were there other things that the WAP committee     9   sent by anyone at RBC to the Department of Labor?
 10   did back in that pre-2013 time period?                        10       A. No, I do not.
 11      A. No.                                                     11       Q. Given your position, would you be in a position to
 12      Q. Now we're going to go even further back in time,        12   know if that happened?
 13   so we're going to have to cast our minds back way -- I        13       A. Yes, I would.
 14   think back toward the turn of the century, and I want to      14       Q. So given that you would be in a position to know
 15   talk a little bit -- or ask you a little bit about the        15   whether this happened and you don't know if it happened, is
 16   origins of the WAP.                                           16   it fair to conclude that it did not happen?
 17         Can you tell me when the WAP started? And here,         17       A. I would agree.
 18   again, as throughout this deposition, unless I specify        18       Q. We touched on this a little bit earlier, but I
 19   otherwise, I'm talking about the old WAP.                     19   want to talk a little bit about what your and RBC's views
 20      A. I don't know when it actually started. I do know        20   are of the purpose of the WAP. Why does it exist?
 21   it was in place at the time of the acquisition of -- RBC      21       A. Purpose of the WAP is primarily for recruiting and
 22   acquired Dain Rauscher. And at that point in time -- so       22   retention. It is -- even though it -- we do offer it
 23   that was 2001. I do know that Dain Rauscher had a deferred    23   across all U.S. business lines, it is basically the most
 24   compensation plan known as WAP prior to that. I cannot        24   premier plan for recruiting and retention for wealth
 25   state for how long. I can say it was more than ten years.     25   management for FAs and BDs.


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  1       Q. And when you say it's the premier plan, you're           1   the ability to develop their own investment strategy within
  2    referring to "premier" in relation to what is offered by       2   their deferred compensation.
  3    RBC or "premier" as far as the industry goes?                  3          And then, additionally, I think that we have the
  4       A. Both.                                                    4   ability for a participant to then also elect the timing of
  5       Q. Why do you say that?                                     5   when those distributions are paid out, and they can earmark
  6       A. This plan has been very near and dear to, you            6   that based on their own personal needs, whether it be
  7    know, the -- the top-of-the-house wealth management as far     7   in-service or post employment.
  8    as making sure that we offer the best and best of deferred     8          I think the key thing is flexibility and the fact
  9    compensation within the industry. And, again, this goes        9   that it had very generous company contributions.
 10    right back to the recruiting and retention.                   10      Q. And you mentioned that one of the really
 11           And so I think that it has always been touted to       11   attractive features of the WAP is that there were an array
 12    our population, our FA and BD population, the benefit of      12   of choices, a broader array, in your view, than offered by
 13    this program, primarily because it is so rich with company    13   many competitors; is that correct?
 14    contributions and bonuses.                                    14      A. I would say historically we were kind of -- that
 15       Q. So you think the reason that it's the best -- best      15   we -- we provide more investment flexibility. Over the
 16    of the best is that the company makes contributions to the    16   course of time, that -- that competitive edge -- I mean, I
 17    WAP on behalf of participating -- it would only be            17   think that now it's very commonplace that you're going to
 18    participating FCs; correct? Today --                          18   find our competitors offering the same type of investment
 19              MR. RUSSELL: Objection --                           19   flexibility.
 20    BY MR. ROLLER:                                                20      Q. So others have caught up to some extent?
 21       Q. -- versus -- I'm sorry. Not today. Under the old        21      A. Yes.
 22    WAP, the company contributions would only be to FCs; is       22      Q. And let's say back ten years ago or so, there was
 23    that right? Or am I wrong on that?                            23   more separation between RBC and competitors in that regard;
 24       A. Old WAP or new WAP, the only company                    24   is that correct?
 25    contributions -- well, I take that back. The only company     25      A. I would say that that was correct.


                                                         Page 54                                                            Page 56
  1    contributions were for our commissioned group in wealth        1      Q. And is one of the reasons that it was hard to --
  2    management.                                                    2   harder to hedge against hypothetical investments, the more
  3           Historically, though, there was a group of what we      3   there are, as opposed to just having it be company stock?
  4    referred to as the fixed income group, and they also did       4              MR. RUSSELL: Objection to form.
  5    have some type of company contribution. I don't recall.        5      A. Define "harder to hedge."
  6    It's been many, many years, but it has evolved over the        6   BY MR. ROLLER:
  7    years. So, today, the only company contributions are for       7      Q. Well, if you offer 20 different mutual funds and
  8    our commissioned group.                                        8   need to take steps to ensure that RBC doesn't suffer a loss
  9        Q. And tell me how it is a recruiting tool.                9   when one of those mutual funds goes through the roof and
 10        A. I -- the recruiting tool is the fact that we have      10   the -- the participant then takes a distribution, RBC would
 11    a plan that not only has very generous company                11   have to do things internally so that those -- those dollars
 12    contributions, but also a plan that, over the course of       12   would be there to -- to pay out when Mutual Fund A tripled
 13    many years, a lot of these deferred compensation plans have   13   in value; right?
 14    had a lot of restrictions as far as investment opportunity,   14              MR. RUSSELL: Objection to form.
 15    is one.                                                       15      A. The decision in how a company hedges is -- is
 16           And so I think that we -- we became center stage       16   really a corporate decision. And so for RBC, we have taken
 17    at the fact that, No. 1, we provided an array of mutual       17   the position that we hedge it based on holding the same
 18    fund investment choices, which typically, maybe, in a         18   type of assets or mutual funds as the participants.
 19    deferred compensation plan, you wouldn't find. You'd          19          Is it more difficult to hedge 5 funds versus 20
 20    typically find maybe that they were handcuffed into the       20   funds? I wouldn't say more difficult. I would say that
 21    company stock.                                                21   you're just going to have to realign a transaction over
 22           And then over time too, I think just the whole         22   mult- -- more funds. I wouldn't say that makes it more
 23    concept of having the experience where they can go in and     23   difficult.
 24    they can earmark these hypothetical investments; right?       24   BY MR. ROLLER:
 25    But it gives them investment flexibility. It gives them       25      Q. Okay. I'd like to talk a little bit about the


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  1    retention aspect. What makes the WAP -- "the WAP," again,       1   BY MR. ROLLER:
  2    speaking of the old WAP -- a good retention device?             2     Q. Ms. Sikich, you've been marked exhibit -- handed
  3        A. For the fact that it has generous company                3   what's been marked Exhibit 3. Do you recognize this?
  4    contributions and that we handcuff them through a vesting       4     A. Yes, I do.
  5    schedule. So other -- you know, it basically retains them       5     Q. And what is it?
  6    to say that, "We're going to give you this company              6     A. The amended, restated plan document, slash,
  7    contribution, but it's not going to vest until the end of       7   prospectus.
  8    this period."                                                   8     Q. When's this document dated?
  9        Q. And so when you say handcuffing them, it means, if       9     A. November 1st, 2006.
 10    I'm thinking of leaving, I may need to stay around. I'll       10     Q. And can you tell from paragraph 1.1 when this
 11    maybe think twice if there's a quarter million dollars         11   document went into effect?
 12    that's going to vest, say, four years from now?                12     A. It became effective January 1st of 2007.
 13        A. Correct.                                                13     Q. And is it -- is it RBC's position that this is an
 14            (Exhibit No. 2 marked.)                                14   amendment and restatement of the plan that was set forth at
 15    BY MR. ROLLER:                                                 15   Exhibit 2?
 16        Q. Ms. Sikich, you've been handed what's been marked       16     A. Correct.
 17    Exhibit 2. What I'd like to do now is go through a number      17            MR. RUSSELL: I'm going to object to form,
 18    of plan documents and prospectuses for -- for the WAP over     18   and the witness is speaking on her own behalf and not on
 19    time, some of which may or may not be at issue in this         19   behalf of RBC.
 20    litigation.                                                    20   BY MR. ROLLER:
 21           I don't think I'm going to ask you a lot of             21     Q. Subject to that objection?
 22    questions about the exact terms of these documents. It's       22            MR. RUSSELL: You can answer.
 23    a -- there's a lot of -- a lot of print in there, but I        23     A. Yes.
 24    just want to identify them and do ask a handful of             24         (Exhibit No. 4 marked.)
 25    questions.                                                     25


                                                        Page 58                                                             Page 60
   1           So you've been marked Exhibit 2. Do you recognize       1   BY MR. ROLLER:
   2    this?                                                          2     Q. Ms. Sikich, you've been handed what's been marked
   3       A. Yes, I do.                                               3   Exhibit 4. Do you recognize this document?
   4       Q. And what is this?                                        4      A. Yes, I do.
   5       A. This is the plan document, amended and restated          5     Q. What is it?
   6    plan document, prospectus.                                     6      A. Amended and restated plan document, slash,
   7       Q. And the document is dated November 30, 2004, on          7   prospectus.
   8    the front page; correct?                                       8     Q. And it's dated November 1, 2007; correct?
   9       A. Correct.                                                 9      A. That's correct.
  10       Q. And just directing your attention to the end of         10     Q. And then again I'd like to direct your attention
  11    Section 1.1, looking at that, can you tell when this plan     11   to paragraph 1.1, particularly the -- the bolded clause of
  12    is effective for?                                             12   the very last sentence in 1.1, which states, "And was
  13       A. The plan is effective starting January 1st of           13   further amended and restated effective for the plan year
  14    2005.                                                         14   beginning on January 1, 2007." Do you see that?
  15       Q. And you see that in the very last sentence of           15      A. I do.
  16    Section 1.1?                                                  16     Q. Can you tell me why the date of the document is
  17       A. Yes.                                                    17   chronologically after the effective date of the document?
  18       Q. And in the first part of that sentence, the plan        18             MR. RUSSELL: Objection to form.
  19    reads, "The plan was formerly known as the RBC Dain           19      A. I don't recollect why. I would probably surmise
  20    Rauscher wealth accumulation plan." Do you see that?          20   that it was -- there were no plan changes or amendments to
  21       A. Yes.                                                    21   the actual document.
  22       Q. And is it your understanding that that reference        22   BY MR. ROLLER:
  23    is to the plan referenced in Exhibit 1, Mr. Sabin's letter?   23     Q. If there were no plan changes and amend- -- or
  24       A. Yes.                                                    24   amendments to the actual document, why create a new
  25           (Exhibit No. 3 marked.)                                25   document?


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  1    2006 what her actual title and position was, but she           1   plan, it has -- and, again, this is not my area of
  2    definitely was what I would consider an executive.             2   expertise, but it has -- it comes with a cost. And it
  3            (Exhibit No. 22 marked.)                               3   comes with a cost -- it -- it totally impacts your P&L,
  4    BY MR. ROLLER:                                                 4   because of the volatility of the various different
  5       Q. Ms. Sikich, do you remember -- sorry. Do you             5   investments that you have offered.
  6    recognize Exhibit 22?                                          6           So with an equity-based type of investment lineup,
  7       A. Yes, I do.                                               7   you're going to have more volatility, and it's going to
  8       Q. What is it?                                              8   impact your P&L, and then there's also the cost of capital.
  9       A. It is an e-mail memo from John Taft, who is our          9           Again, this is not my area of expertise, but I've
 10    CEO. And after having multiple discussions, his goal --       10   been privy to some of these conversations, because as WAP
 11    discussions with myself, his goal was to basically try        11   had grown significantly over a period of time, there was a
 12    to -- this was to enhance and -- and create, you know,        12   greater impact to the P&L, and there was a greater, you
 13    the -- the best FA -- FA-recruiting tool as WAP.              13   know, cost component.
 14           And looking at -- he basically pointed to me to        14           So part of this conversation is, yes, we want to
 15    basically go through and provide -- and support some of       15   have the richest plan out there, the best plan out there
 16    these enhancements that he wanted to introduce to the -- to   16   for attracting -- attracting and retaining top-performing
 17    the -- to the program.                                        17   financial advisers, but the flip side, it does come with
 18       Q. And Mr. Taft references an all-hands-on-deck            18   the cost.
 19    briefing. Do you know what he's referring to there?           19           So the question is, is there a way that we can
 20       A. The all-hands-on-deck briefing was -- again, I'm        20   still have this premier program and still try to mitigate
 21    not necessarily sure specifically who was in the room. I      21   some of the volatility and the cost component?
 22    was in the room. And John had, at that time -- had a real     22      Q. And is the volatility mitigated by a better
 23    fixation on the branding of "finishing well."                 23   hedging strategy, or are there other ways, if you know?
 24           And part of that "finishing well" is that he           24       A. Yes. There are some other hedging tools such
 25    really looked at the WAP program as being kind of his         25   as -- you could do a COLI, corporate-owned life insurance,


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  1   "finishing well" top product. And so it just became a very      1   but that has some negatives.
  2   strong mission for him back at that -- that time that he        2          I mean, there's other different vehicles you could
  3   wanted to have the premier deferred compensation program        3   use, but at the -- but at the end, you have
  4   out on the street.                                              4   counter-initiatives: one where you want to have the most
  5      Q. I want to come back around to the "finishing well"        5   robust plan, and one where you want to maintain -- or
  6   in a moment, but do you know whether the all-hands-on-deck      6   flatten out the volatility and reduce the cost. Those
  7   briefing was different than the March 23 presentation we've     7   don't mesh well.
  8   been discussing?                                                8      Q. I get it.
  9      A. My recollection is that it was a separate meeting,        9         Mr. Taft goes on and mentions concerns on the
 10   because I -- it was a conversation versus a presentation.      10   top-hat status of the plan. Do you know what he was
 11         So in other words, this was a presentation on            11   referring to there?
 12   the -- March 23rd versus this was myself, I know John was      12      A. It's conversations that I've had with John in the
 13   there, and maybe several other individuals just having this    13   past and basically said that we wanted to get -- be
 14   conversation of really "finishing well," using WAP as          14   proactive.
 15   really the key kind of arsenal in this "finishing well,"       15          Because even though there wasn't any guidance per
 16   you know, strategy.                                            16   se out there, we need to ensure the fact that -- even
 17      Q. Do you know whether it was before or after the           17   though there was no definition of what constitutes a select
 18   March 23 presentation?                                         18   group of employees, the flip side is -- working with
 19      A. That, I can't say.                                       19   outside counsel is we just -- we just need to monitor this
 20      Q. Mr. Taft, in the second paragraph, references the        20   so that we don't get to a place where we feel that this --
 21   "growing size of the WAP, which creates a material impact      21   that our deferred compensation was not considered to be
 22   on our financials." Do you know what he's talking about        22   offered to your true top producers and a select group.
 23   there where he talks about material impact on the              23          It was -- we'd had multiple conversations on this
 24   financials?                                                    24   as far as -- because such a considerable part of the -- of
 25      A. Yes. Having any type of deferred compensation            25   the FAs' compensation was in the form of a bonus which was


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   1      Q. -- do you know what their job responsibilities          1              CERTIFICATE
   2   are? I know it's a very broad question.                       2
   3      A. I would say that they would be considered -- and,       3   STATE OF MINNESOTA
   4   again, since eligibility is compensation-driven, if I were    4   COUNTY OF DAKOTA
   5   to look at that population, I would say that they were in     5
   6   executive, high-level, managerial-type of positions.          6          I, Ryan Ziegler, a Certified Shorthand Reporter in
   7      Q. If I were to ask, for example, what the job             7   and for the State of Washington, do hereby certify that the
   8   responsibilities of an individual with a position title       8   foregoing transcript of the deposition of Gabriela Sikich,
   9   "Head U.S. Wholesale Infrastructure," could you tell me       9   having been duly sworn, on July 11, 2017, is true and
                                                                    10   accurate to the best of my knowledge, skill, and ability.
  10   what that person does?
                                                                    11          I do further certify that I am a disinterested
  11      A. No, I cannot.
                                                                    12   person in this cause of action and that I am not a relative
  12      Q. Who could I talk to that could tell me that?
                                                                    13   of the attorneys for any of the parties.
  13      A. You'd have to go to the business line and              14          IN WITNESS WHEREOF, I have hereunto set my hand
  14   identify -- or even compensation for that.                   15   and seal this July 18, 2017.
  15      Q. They would -- compensation would -- Tammy might        16
  16   know?                                                        17
  17      A. Yes.                                                   18
  18             MR. ROLLER: That's all I have.                     19                     ____________________________
  19             MR. RUSSELL: All right.                                                   RYAN ZIEGLER, RPR, CCR
  20             MR. ROLLER: Thank you.                             20
  21             MR. RUSSELL: Maybe give me five minutes to         21
  22   look at my notes --                                          22
  23             MR. ROLLER: Sure.                                  23
  24             MR. RUSSELL: -- and make sure I don't have         24
  25   any follow-up --                                             25


                                                    Page 218
   1            MR. ROLLER: Of course.
   2            MR. RUSSELL: -- but I don't think I will.
   3         (Pause in the proceedings.)
   4            MR. RUSSELL: I have no questions for the
   5   witness, so.
   6            MR. ROLLER: Great. Thank you very much.
   7            MR. RUSSELL: And we'll reserve signature.
   8         (Deposition concluded at 5:07 p.m.)
   9         (Signature was reserved.)
  10
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                                                             · ·   · · · · · · · · ·Attorney's Eyes Only.· Bates
·4·   ·   ·   ·   ·Yarmuth Wilsdon, PLLC                     ·5·   · · · · · · · · ·Nos. TOLBERT0000862-868
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· ·   ·   ·   ·   ·Seattle, WA· 98101                        ·7·   · · · · · · · · ·12/11/06.· Confidential.
·6·   ·   ·   ·   ·206.516.3800                              · ·   · · · · · · · · ·Bates Nos. RBC 000314-315
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·1· · · · A.· -- so I would say in some cases no.                       ·1· · · · Q.· And to Concert and then Sowell?
·2· · · · Q.· Which --                                                  ·2· · · · A.· Yes.
·3· · · · · · THE COURT REPORTER:· I'm going to ask you to              ·3· · · · Q.· Did you -- who was it that first went to
·4· ·keep your voice up, please.                                        ·4· ·Northwest Asset Management from RBC?· Was that you?
·5· · · · · · THE WITNESS:· Oh.· Sure.                                  ·5· · · · · · MR. ROLLER:· Object to the form, but you can
·6· · · · · · THE COURT REPORTER:· Thanks.                              ·6· ·answer.
·7· · · · · · THE WITNESS:· Okay.                                       ·7· · · · A.· Yes, that was me.
·8· · · · Q.· (By Mr. Alamuddin)· Which are the documents               ·8· · · · Q.· (By Mr. Alamuddin)· And did you recruit these
·9· ·that helped refresh your memory as to the events?                  ·9· ·individuals to come with you?
10· · · · A.· I couldn't separate in a conversation, without            10· · · · · · MR. ROLLER:· Same objection, but you can
11· ·seeing them, which ones I -- helped me remember events             11· ·answer.
12· ·and which ones seemed cloudy or don't really recall.               12· · · · A.· Yes.
13· · · · Q.· Can you give me a thumbnail sketch of your                13· · · · Q.· (By Mr. Alamuddin)· And why did you do that?
14· ·professional history following graduation from college.            14· · · · A.· Well, we -- I had recruited them all to RBC,
15· · · · A.· Well, I've pretty much been a financial advisor           15· ·and we all enjoyed working together.
16· ·for 23 years and started at RBC.· Well, at the time it             16· · · · Q.· (By Mr. Alamuddin)· Did you -- when you
17· ·was called Dain Bosworth.· Graduated from University of            17· ·recruited them to RBC, did you recruit them all -- all at
18· ·Washington, was hired by Dain Bosworth August 1st, 1994, 18· ·once, or did you recruit them one at a time?
19· ·and have been either a registered Series 7 advisor or a            19· · · · A.· One at a time.
20· ·registered IAR advisor ever since.                                 20· · · · Q.· And how -- how was it that you were able to
21· · · · Q.· After your tenure with RBC ended, where did you           21· ·recruit them to RBC?
22· ·go next?                                                           22· · · · A.· I don't know what you mean by "how."
23· · · · A.· I went to Northwest Asset Management.                     23· · · · Q.· What did you do to induce them to leave
24· · · · Q.· So that would have been 2011 till when?                   24· ·wherever they were working to join RBC?
25· · · · A.· Until 2014.                                               25· · · · A.· Well, I always -- I was the branch manager at

                                                              Page 14                                                               Page 16
·1· · · · Q.· And where did you go after that?                          ·1· ·RBC, but I was a producing advisor.· And I think they
·2· · · · A.· I've went to Concert -- I think it was called             ·2· ·were drawn to working with me as the way I ran my own
·3· ·Concert Wealth Management or Concert Advisor Services;             ·3· ·business and the culture I created within the office.
·4· ·I'm not quite sure.                                                ·4· · · · Q.· What kind of culture did you create?
·5· · · · Q.· Are you still there?                                      ·5· · · · A.· You know, I think the work ethic, fairness,
·6· · · · A.· No.· We are now using an RIA called Sowell                ·6· ·respect, leadership.· I think I was a humble leader and
·7· ·Asset Management.· We still use Concert Advisor Services ·7· ·led by example.
·8· ·for our technology as a third party but not as our RIA.            ·8· · · · Q.· And who was it that you first recruited?
·9· · · · Q.· When you say "we," who are you referring to               ·9· · · · A.· Well, Brian and I worked together at RBC, so
10· ·besides yourself?                                                  10· ·Brian was actually my first mentor when I first got out
11· · · · A.· There are four other advisors.                            11· ·of college.· So I guess the first person that joined me
12· · · · Q.· And those are...?                                         12· ·in Gig Harbor -- well, in Gig Harbor, Kim Taurman was my
13· · · · A.· Kim Taurman, George Bonney, Brady Buskirk, and            13· ·sales assistant originally.· We opened the office
14· ·Brian Buskirk.                                                     14· ·together in 1997, but I joined RBC in 1994 and that was
15· · · · Q.· What is the relationship, if any, between the             15· ·in Bremerton, Washington, and that's where I met Brian
16· ·two Buskirks?                                                      16· ·Buskirk.
17· · · · A.· Father and son.                                           17· · · · Q.· I see.
18· · · · Q.· Did any of these four other advisors besides              18· · · · A.· So Brian joined me in Gig Harbor in 2004, but
19· ·Brian Buskirk work with you at RBC?                                19· ·he was already at RBC.· We just had a working
20· · · · A.· Yes.                                                      20· ·relationship for ten years.· Then George Bonney, and then
21· · · · Q.· Who?                                                      21· ·I hired Brady.· So I think in that chronological order.
22· · · · A.· All of them.                                              22· · · · Q.· So for Ms. Taurman or Mr. Bonney or Brady
23· · · · Q.· Did they all go with you to Northwest Asset               23· ·Buskirk, did you provide them with any signing bonus or
24· ·Management as well?                                                24· ·promissory note to --
25· · · · A.· Yes.                                                      25· · · · A.· No.
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·1· ·elect that, then yes.                                         ·1· ·through number five in detail, but I obviously signed it,
·2· · · · Q.· Sitting here today, do you remember why you          ·2· ·so there were parts that I read.· I don't -- I don't ever
·3· ·elected a distribution date of 2005?                          ·3· ·recall having training on it or seminars on it or -- no.
·4· · · · A.· I don't.· I don't recall why I chose that.           ·4· · · · Q.· If you look at the penultimate paragraph in the
·5· · · · Q.· Do you recall that the WAP allowed you to, as        ·5· ·document, the one that reads, I agree that my deferred
·6· ·an investment option -- not -- excuse me.· Let me             ·6· ·compensation shall be reflected only in unfunded
·7· ·rephrase that.                                                ·7· ·accounts.
·8· · · · · · Do you recall that the WAP allowed you to elect      ·8· · · · · · Do you recall reading that particular
·9· ·either an in-service distribution or defer compensation       ·9· ·paragraph?
10· ·until following termination?                                  10· · · · A.· Where is it?
11· · · · · · Do you recall that being an option?                  11· · · · Q.· It's the penultimate paragraph, so --
12· · · · A.· Following termination?                               12· · · · A.· I don't know what you mean --
13· · · · Q.· Yeah.                                                13· · · · · · MR. ROLLER:· Second to last.
14· · · · A.· No, I don't recall that being an option.             14· · · · A.· -- "penultimate."
15· · · · Q.· Do you recall in-service distribution being an       15· · · · Q.· (By Mr. Alamuddin)· Second to last.· Sorry.
16· ·option under the WAP?                                         16· · · · A.· Sorry.· Okay.· Let me read it real --
17· · · · A.· I recall a portion of the WAP being allowed          17· · · · Q.· Yeah.
18· ·during service, but I also recall the bulk of it being        18· · · · A.· -- quick again.
19· ·for retirement.                                               19· · · · Q.· Sure.
20· · · · Q.· Which portion do you recall being allowed in         20· · · · A.· (Witness peruses document.)
21· ·service?                                                      21· · · · · · No, I do not recall reading that.
22· · · · A.· I think whenever it was eligible.· I don't           22· · · · Q.· Separate and apart from whether you recall
23· ·really recall what portion that was.                          23· ·reading this particular paragraph, did you know that the
24· · · · Q.· Did you make in-service distribution elections       24· ·WAP was an unfunded plan?
25· ·while you were a participant in the WAP?                      25· · · · A.· No.· I don't even know what "unfunded" means.

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·1· · · · A.· I think I made some.· I don't remember how       ·1· · · · · · MR. ALAMUDDIN:· Let's mark this as Exhibit 2.
·2· ·many.                                                         ·2· · · · · · · · · · · · · · · (Exhibit No. 2 marked for
·3· · · · Q.· And can you tell me the reasons why you made         ·3· · · · · · · · · · · · · · · ·identification.)
·4· ·some in-service distribution elections?                       ·4· · · · · · THE WITNESS:· Thank you.
·5· · · · A.· I don't really remember having a reason, so I        ·5· · · · Q.· (By Mr. Alamuddin)· Mr. Paul, I'm showing you
·6· ·don't -- I don't know what the reason would have been.        ·6· ·what we marked as Defendants' Exhibit 2, which is a
·7· · · · Q.· You just selected them by happenstance or            ·7· ·multipage document entitled Royal Bank of Canada, Summary
·8· ·chance?                                                       ·8· ·Description of 2003 RBC Dain Rauscher Wealth Accumulation
·9· · · · A.· Well, I don't think I selected them every time.      ·9· ·Plan.
10· · · · Q.· Right.                                               10· · · · · · First question is:· Have you seen this document
11· · · · A.· So, you know, I have four kids, so I don't know      11· ·before?
12· ·if there was a life event going on.· And, again, I was --     12· · · · A.· Not that I remember.
13· ·each time, if you did, you didn't even get it when you        13· · · · Q.· Do you recall receiving, on an annual basis,
14· ·elected it for several years into the future, so I            14· ·summary descriptions of the wealth accumulation plan?
15· ·don't -- I mean, there was no event-driven reason, and -- 15· · · · A.· Not that I remember.
16· ·so no, I don't recall a specific reason.                      16· · · · Q.· It could have happened; you just don't
17· · · · Q.· You mentioned four kids.· Did you elect              17· ·remember?
18· ·in-service distributions, for example, to fund -- help        18· · · · A.· Yeah.
19· ·fund education?                                               19· · · · Q.· Have you ever, throughout your -- did you ever,
20· · · · A.· No.                                                  20· ·throughout your tenure at RBC, read the wealth
21· · · · Q.· Did you read this enrollment form before you         21· ·accumulation plan document?
22· ·signed it?                                                    22· · · · A.· Not that I remember.
23· · · · A.· The one that's in front of me?                       23· · · · Q.· Did you read any documents that describe the
24· · · · Q.· Yes, sir.                                            24· ·wealth accumulation plan?
25· · · · A.· I don't know if I ever read it from number one       25· · · · A.· No, not that I remember.
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·1· · · · A.· I have no idea.                                             ·1· ·they're saying.
·2· · · · Q.· -- dollars?                                                 ·2· · · · Q.· All right.· Well, let's -- let's take a look at
·3· · · · · · And you said that your -- your definition of                ·3· ·RBC-PAUL 5073, which is the last page in the document.
·4· ·"highly compensated" is somebody that's paid                         ·4· ·This looks to be a pay statement for 2010 pay period
·5· ·substantially more.                                                  ·5· ·ending 12/20/2010; do you see that?
·6· · · · · · What -- how do you define "substantially"                   ·6· · · · A.· I do.
·7· ·there?                                                               ·7· · · · Q.· And it says that year-to-date your gross pay
·8· · · · A.· Well, I think where you have a significant                  ·8· ·was somewhere slightly over $1.3 million; am I right?
·9· ·difference in lifestyle.· You know, somebody that makes              ·9· · · · A.· Correct.
10· ·$500,000 versus somebody that makes $80,000, that's a                10· · · · Q.· And is that -- does that accurately reflect
11· ·substantial difference to me.                                        11· ·approximately what you made in 2010 in terms of gross
12· · · · Q.· Do you -- do you believe that somebody who                  12· ·pay?
13· ·makes $500,000 a year is highly compensated?                         13· · · · A.· I believe so.
14· · · · A.· In some industries they are.· I -- I think that             14· · · · Q.· Would you --
15· ·by the time I left, no, I would not consider somebody                15· · · · A.· Based on this, yes.
16· ·that makes $500,000 highly compensated, again, because I 16· · · · Q.· Separate and apart from this, do you recall
17· ·feel like highly compensated means, you know, top                    17· ·making somewhere around $1.32 million in 2010?
18· ·performer.· Top performers were making, you know, in                 18· · · · A.· I don't know what the exact dollar amount was,
19· ·excess of a million to $2 million a year.                            19· ·but this appears to be some form of an employment summary
20· · · · Q.· That would have included you, correct?                      20· ·for that year from RBC.
21· · · · A.· Um --                                                       21· · · · Q.· Do you have any reason to dispute the accuracy
22· · · · Q.· You were a top performer?                                   22· ·of this pay statement?
23· · · · A.· I was a chairman's council producer.                        23· · · · A.· No.
24· · · · Q.· That -- you wouldn't consider yourself a top                24· · · · Q.· Would you agree that $1.3 million -- someone
25· ·performer?                                                           25· ·who makes $1.3 million dollars is highly compensated?

                                                       Page 54                                                                            Page 56
·1· · · · A.· I would consider -- there was a few years where  ·1· · · · A.· In this industry, at that time, I think that
·2· ·I was a top performer, if a top performer's maybe the top ·2· ·was a highly compensated person.
·3· ·75.                                                                  ·3· · · · Q.· If you turn to 5072, this is a pay statement
·4· · · · Q.· And you were making over a million dollars a                ·4· ·for 2006.· Pay period end date's 12/20/2006; do you see
·5· ·year at RBC, correct?                                                ·5· ·that?
·6· · · · A.· I think there were a couple years that I made               ·6· · · · A.· Yes.
·7· ·over a million dollars a year.                                       ·7· · · · Q.· And it indicates that your gross pay
·8· · · · Q.· Well, let's see if we can...                                ·8· ·year-to-date 2006 was $1.132 million.· Again, do you have
·9· · · · · · · · · · · · · · · (Exhibit No. 3 marked for                 ·9· ·any reason to dispute that statement?
10· · · · · · · · · · · · · · · ·identification.)                         10· · · · A.· No.
11· · · · · · THE WITNESS:· Thank you.                                    11· · · · Q.· Would you agree with me that as -- somebody who
12· · · · Q.· (By Mr. Alamuddin)· Mr. Paul, I'm showing you               12· ·makes -- who made $1.1 million in 2006 was a highly
13· ·what we've marked as Exhibit -- Exhibit 3.                           13· ·compensated employee?
14· · · · · · Do you recognize these documents?                           14· · · · A.· Yes.
15· · · · A.· I don't recognize them because I've only had                15· · · · Q.· Let's go to 5071.· This is a pay statement for
16· ·them in front of me for a minute --                                  16· ·2009; do you see that?
17· · · · Q.· Please take --                                              17· · · · A.· Yes.
18· · · · A.· -- a few seconds.                                           18· · · · Q.· And it indicates that year-to-date you have
19· · · · Q.· -- whatever time you need.                                  19· ·made slightly over $1.1 million in gross pay, correct?
20· · · · A.· (Witness peruses document.)                                 20· · · · A.· Correct.
21· · · · · · Okay.                                                       21· · · · Q.· And, again, do you have any reason to dispute
22· · · · Q.· Have you had a chance to review Exhibit 3?                  22· ·the accuracy of that?
23· · · · A.· Yes.                                                        23· · · · A.· No.
24· · · · Q.· Do you recognize these documents?                           24· · · · Q.· Would you agree with me that somebody who made
25· · · · A.· I don't recognize the documents, but I see what             25· ·$1.1 million in 2009 was a highly compensated employee?
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·1· · · · A.· Yes.                                                       ·1· · · · A.· Yeah.
·2· · · · Q.· If you turn to 5070, this is a pay payment for             ·2· · · · Q.· Assuming you had finished at around
·3· ·2007.· And it indicates you made in gross pay slightly              ·3· ·$1.2 million, would you agree that somebody who made
·4· ·over $1.8 million in 2007.· Am I reading that correctly?            ·4· ·$1.2 million in 2011 would be a highly compensated
·5· · · · A.· Yes.                                                       ·5· ·employee?
·6· · · · Q.· Any reason to dispute the accuracy of that                 ·6· · · · A.· Yes.
·7· ·number?                                                             ·7· · · · · · MR. ALAMUDDIN:· Okay.· Let's take a look at --
·8· · · · A.· No.                                                        ·8· ·let's make this 4.
·9· · · · Q.· Would you agree with me that somebody who made             ·9· · · · · · · · · · · · · · · (Exhibit No. 4 marked for
10· ·$1.8 million in 2007 was a highly compensated employee? 10· · · · · · · · · · · · · · · ·identification.)
11· · · · A.· Yes.                                                       11· · · · · · THE WITNESS:· Thank you.
12· · · · Q.· And if you turn to the next page, 5069, this is            12· · · · Q.· (By Mr. Alamuddin)· And this is a document
13· ·2011.· And this is a -- through the pay period of                   13· ·marked RBC 3576.· It is a pay statement for calendar year
14· ·6/30/2011, and it indicates gross pay $322,000.                     14· ·2008.
15· · · · · · And, of course, in 2011 that's when your                   15· · · · · · Do you see that?
16· ·employment was terminated, correct?                                 16· · · · A.· Yes, I do.
17· · · · A.· Correct.                                                   17· · · · Q.· And it indicates that in calendar year 2008,
18· · · · Q.· And it was terminated in March?                            18· ·your gross pay was slightly over $1.4 million.
19· · · · A.· Correct.                                                   19· · · · · · Do you have any reason to dispute the accuracy
20· · · · Q.· And so, just doing the math, three months in,              20· ·of that statement -- of that number?
21· ·you were probably annualizing to somewhere around                   21· · · · A.· No, I do not.
22· ·$1.2 million in gross pay.· Would that be accurate?                 22· · · · Q.· Would you agree with me that in -- somebody who
23· · · · · · MR. ROLLER:· Object to the form.                           23· ·was making $1.4 million in 2008 was a highly compensated
24· · · · · · THE WITNESS:· I don't know if I'm supposed to              24· ·employee?
25· ·answer when he says that.                                           25· · · · A.· Yes, I would.

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·1· · · · · · MR. ALAMUDDIN:· You can answer unless he                   ·1· · · · · · MR. ALAMUDDIN:· Why don't we go off.· We've
·2· ·instructs you not to answer.                                        ·2· ·been going for a while.· Let's take a break for five
·3· · · · · · THE WITNESS:· Okay.                                        ·3· ·minutes or so.
·4· · · · · · MR. ROLLER:· Can you read back the question?               ·4· · · · · · THE VIDEOGRAPHER:· The time is 9:19 a.m.· This
·5· · · · · · MR. ALAMUDDIN:· Sure.                                      ·5· ·is the end of Disc 1.· We're now off the record.
·6· · · · · · MR. ROLLER:· I just want to make sure...                   ·6· · · · · · · · · · · · · · · (Recess from 9:19 a.m. to
·7· · · · · · · · · · · · · · · (The record was read.)                   ·7· · · · · · · · · · · · · · · ·9:30 a.m.)
·8· · · · · · MR. ROLLER:· Can we go off the record for a                ·8
·9· ·second?                                                             ·9· · · · · · THE VIDEOGRAPHER:· The time is 9:31 a.m.· This
10· · · · · · MR. ALAMUDDIN:· Sure.                                      10· ·is the beginning of Disc 2 in the deposition of Marty
11· · · · · · THE VIDEOGRAPHER:· The time is 9:17 a.m.· We're            11· ·Paul.· We're now on the record.
12· ·off the record.                                                     12
13· · · · · · · · · · · · · · · (Discussion off the record.)             13· · · · · · · · · · EXAMINATION (Continuing)
14· · · · · · THE VIDEOGRAPHER:· The time is 9:18 a.m.· We're            14· ·BY MR. ALAMUDDIN:
15· ·now on the record.                                                  15· · · · Q.· Mr. Paul, I'd like you to go back and take a
16· · · · · · MR. ROLLER:· Why don't you read back --                    16· ·look at Exhibit 3.· Sorry.· Exhibit 2, I think it is.
17· · · · · · THE COURT REPORTER:· You want me to read again? 17· ·Yeah.
18· · · · · · MR. ROLLER:· -- the question.                              18· · · · · · I want to ask you about some other provisions
19· · · · · · Marty, go ahead and answer.                                19· ·of that document.· Again, go to RBC 001066.
20· · · · · · THE WITNESS:· Okay.                                        20· · · · A.· Okay.
21· · · · · · · · · · · · · · · (The record was read.)                   21· · · · Q.· Section B, Material Terms of the Plan.· There's
22· · · · A.· I think it's accurate that I was annualizing               22· ·an eligibility paragraph there.· Do you see that?
23· ·that.· I don't know I would have finished there or not,             23· · · · A.· Under General Nature and Purpose of the Plan?
24· ·but...                                                              24· · · · Q.· Actually under Section B, Material Terms of the
25· · · · Q.· (By Mr. Alamuddin)· Fair enough.                           25· ·Plan.
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                                                             Page 65                                                            Page 67
·1· ·you received annually from RBC a document of some kind            ·1· · · · A.· I don't recall deferred compensation being a
·2· ·describing what the financial compens- -- consultant              ·2· ·topic.· I think everybody in the industry kind of
·3· ·compensation would be?                                            ·3· ·understood that everybody's pay was about the same. I
·4· · · · A.· You know, I don't remember it being this                 ·4· ·don't know if any one firm really stood out as having
·5· ·formal, so no.                                                    ·5· ·something better or different than the other.
·6· · · · Q.· My question was a little different.· Would you           ·6· · · · Q.· Did you ever -- when you were recruiting
·7· ·--                                                                ·7· ·financial consultants to join RBC, did you ever provide
·8· · · · A.· Oh, sorry.                                               ·8· ·them with a promissory note?
·9· · · · · · MR. ALAMUDDIN:· Would you repeat it, please?             ·9· · · · A.· Yes.
10· · · · · · · · · · · · · · · (The record was read.)                 10· · · · Q.· What percentage of the time would you provide
11· · · · A.· No.                                                      11· ·financial consultants joining RBC with a promissory note?
12· · · · Q.· (By Mr. Alamuddin)· All right.· Let's take a             12· · · · A.· Well, that changed a lot over 17 years.
13· ·look at this document.                                            13· · · · Q.· Sure.
14· · · · · · If you turn to RBC-PAUL 0006618, there's a -- a          14· · · · A.· Early in the days -- I opened the office in
15· ·sort of introductory letter titled Our Compensation               15· ·1997 -- you might pay 30 percent upfront bonus.· Then
16· ·Philosophy signed by Jim Chapman and Karl Leaverton; do 16· ·over time, eventually it got to a hundred percent. I
17· ·you see that?                                                     17· ·don't know if I recruited anybody higher than that, but I
18· · · · A.· I do.                                                    18· ·know the industry kept going higher.· I haven't been
19· · · · Q.· In the first paragraph, the letter reads, At             19· ·there for six years.· So those -- those ranges.
20· ·RBC Wealth Management, we believe that the strong                 20· · · · Q.· And just to be clear, you're talking -- when
21· ·relationships between our financial consultants and               21· ·you talk 30 percent and a hundred percent, you're talking
22· ·clients are the key to long-term success.                         22· ·dollars, right?
23· · · · · · Would you agree with that statement?                     23· · · · A.· The dollars they received in the promissory
24· · · · A.· Yes.                                                     24· ·note were reflective of the production they did of the
25· · · · Q.· It goes on to read, In order to provide our              25· ·firm they left.

                                                         Page 66                                                         Page 68
·1· ·clients with the quality advice and financial services to   ·1· · · · Q.· Correct.· But that's what the 30 to a hundred
·2· ·which they are accustomed, one of our top priorities is           ·2· ·percent is you're referring --
·3· ·attracting and retaining the top financial consultants in         ·3· · · · A.· Correct.
·4· ·the industry.                                                     ·4· · · · Q.· -- to?
·5· · · · · · Would you agree that that was a top priority of          ·5· · · · A.· Correct.
·6· ·RBC's when you worked there?                                      ·6· · · · Q.· All right.· So my question was a little
·7· · · · A.· I don't know what top -- top three, top five --          ·7· ·different, which is --
·8· ·but I think it was important to retain employees.                 ·8· · · · A.· Oh, sorry.
·9· · · · Q.· And to attract employees as well, attract                ·9· · · · Q.· That's okay.· -- what percentage of FCs that
10· ·financial consultants?                                            10· ·you recruited received a promissory note to join RBC?
11· · · · A.· Yeah.· In order to grow a company, you need to           11· · · · A.· I don't know if any didn't, but I don't know if
12· ·attract and retain.                                               12· ·it's a hundred percent.· I would say it's a high
13· · · · Q.· And -- and what did you use when you were a              13· ·percentage.
14· ·branch manager to attract financial consultants to join           14· · · · Q.· And what was the purpose of providing them with
15· ·RBC?· What tools did you use?                                     15· ·a promissory note?
16· · · · A.· I used the culture in my office.· I actually             16· · · · A.· The purpose was to mitigate the risk of moving
17· ·didn't use RBC as a brand or Merrill Lynch or Morgan              17· ·their business, predominantly.
18· ·Stanley or Smith Barney, because I recruited people from 18· · · · Q.· Can you elaborate on that?· What does that
19· ·every firm.                                                       19· ·mean?
20· · · · Q.· When you were recruiting individuals to join             20· · · · A.· Well, when a broker moves, they risk their
21· ·RBC, did the topic of deferred compensation come up at            21· ·clients not coming with them, and that would affect their
22· ·all?                                                              22· ·income.· And that wasn't unique to RBC.· You know, all
23· · · · A.· No.                                                      23· ·firms would compensate somebody in some form of a
24· · · · Q.· Nobody ever asked you what -- whether there was 24· ·promissory note or bonus to move their business.
25· ·a deferred compensation option at RBC?                            25· · · · Q.· Was there any other purpose behind the
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                                                          Page 73                                                                  Page 75
·1· ·being a $300,000 production requirement at some point in       ·1· · · · A.· I don't know.
·2· ·time?                                                          ·2· · · · Q.· Did you receive any bonuses, whether
·3· · · · A.· No, because it seems very low to me because           ·3· ·production, loyalty or otherwise, that were not paid into
·4· ·I -- I know by 2009 -- or I think I know by 2009 they          ·4· ·the WAP?
·5· ·were lowering the payout of production levels.· And a          ·5· · · · A.· I don't know.· I -- I don't know because I know
·6· ·$300,000 producer in 2009 I don't think was above              ·6· ·there was a period of time where I had -- like I
·7· ·30 percent.· I would have assumed it to be higher.             ·7· ·mentioned earlier, where I had voluntary and mandatory.
·8· · · · Q.· My question was a little different, which was         ·8· ·And I think it was a percentage of my income.· I don't
·9· ·--                                                             ·9· ·know whether one was -- one was paid into the WAP or one
10· · · · A.· Sorry.                                                10· ·was paid out to me.· It just -- it was...
11· · · · Q.· -- did you -- does that refresh your                  11· · · · Q.· Well, except I'm not asking --
12· ·recollection as to the -- as to 300,000 production being       12· · · · A.· I'm trying to answer --
13· ·the qualifying criteria for the WAP at any point in time?      13· · · · Q.· -- about your --
14· · · · A.· No.                                                   14· · · · A.· -- your question.
15· · · · Q.· Turn to Page 6619.                                    15· · · · Q.· -- your -- your contributions.
16· · · · A.· Okay.                                                 16· · · · A.· Yeah.
17· · · · Q.· This is a page entitled Total FC Compensation         17· · · · Q.· I'm asking about bonuses that were paid to you.
18· ·Overview; do you see that?                                     18· · · · · · And the question was whether there was any
19· · · · A.· I do.                                                 19· ·bonus that you received that was not paid into the WAP?
20· · · · Q.· And it indicates an annual production of              20· · · · A.· Like I said, I think that when I elect 10
21· ·300,000 equates to a 39 percent base commission rate; do 21· ·percent, it wouldn't matter whether it was a bonus or
22· ·you see that?                                                  22· ·whether it was commission or whether it was branch
23· · · · A.· I do.                                                 23· ·manager pay or -- or whatever.· It would just be 10
24· · · · Q.· Does that refresh your recollection as to             24· ·percent of my pay.· So I -- I'm trying to answer your
25· ·39 percent instead of 30 percent being the base pay rate       25· ·question.· I don't recall whether they segregated a style

                                                          Page 74                                                                  Page 76
·1· ·for 300,000 production as of fiscal year 2010?                 ·1· ·of a bonus to be eligible or not eligible to contribute
·2· · · · A.· No.· I just remember brokers always complaining       ·2· ·that portion of it to the WAP.
·3· ·they weren't paid enough.                                      ·3· · · · Q.· I'm trying to find out whether there's any
·4· · · · Q.· Did you complain you weren't paid enough?             ·4· ·bonus payout that you received that -- that was not paid
·5· · · · A.· No.· I just always felt that if I worked hard,        ·5· ·into the WAP.
·6· ·pay would take care of itself.                                 ·6· · · · A.· Not that I can remember.
·7· · · · Q.· Did you become aware that at some point in time ·7· · · · Q.· Did you receive annually rankings of FCs in
·8· ·there was what was called a loyalty bonus that was also ·8· ·terms of production?· Is that something the company
·9· ·called into the WAP by the company?                     ·9· ·provided its brokers?
10· · · · A.· I remember a loyalty bonus.                           10· · · · A.· I think they posted it.· I don't know if they
11· · · · Q.· And what do you remember about the loyalty            11· ·provided it.· I think if you went to find it, you could
12· ·bonus?                                                         12· ·probably find it, but I don't remember them posting it.
13· · · · A.· I just remember the longer you were there, you        13· · · · Q.· Were you aware where you stood in terms of
14· ·eventually qualified for it.                                   14· ·production in the company?
15· · · · Q.· And that loyalty bonus, was it paid into the          15· · · · A.· Not exactly.· I mean, I knew -- no, not
16· ·WAP?                                                           16· ·exactly, because there was various times, you know, from
17· · · · A.· I don't remember.· I didn't really pay much           17· ·the time 1994 when I started to, you know, 2011 when I --
18· ·attention to my pay stubs.· They were electronic, or at        18· ·2011 when I was terminated.
19· ·least at some point in technology time they were               19· · · · · · · · · · · · · · · (Exhibit No. 7 marked for
20· ·electronic, so I never even saw a pay stub.                    20· · · · · · · · · · · · · · · ·identification.)
21· · · · · · And my point is there was multiple ways I got         21· · · · · · MR. ALAMUDDIN:· We at 7?
22· ·paid on -- in my total compensation.· I never took the         22· · · · · · THE COURT REPORTER:· Yes.
23· ·time to look at every single line item, so...                  23· · · · Q.· (By Mr. Alamuddin)· All right.· Mr. Paul, I'm
24· · · · Q.· Do you know if the loyalty bonus pay-ins were         24· ·showing you what we've marked as Defendants' Exhibit 7,
25· ·contingent on making voluntary WAP distributions?              25· ·which is a multipage document, Bates labeled RBC-PAUL 410
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                                                            Page 105                                                                Page 107
·1· · · · A.· Okay.                                                    ·1· · · · A.· I think it was shrinking.
·2· · · · Q.· All right.· If you turn to Page 6618 of the              ·2· · · · Q.· In what sense?
·3· ·document, again, that's that letter entitled Compensation         ·3· · · · A.· Just the -- the fail rate was high.· The
·4· ·Philosophy.                                                       ·4· ·retention rate was low.· Costs were rising.
·5· · · · A.· What number was it?                                      ·5· · · · Q.· By "shrinking," do you mean that the -- the
·6· · · · Q.· 6618.                                                    ·6· ·number of qualified FCs being available was being
·7· · · · · · MR. ROLLER:· I think we're in --                         ·7· ·reduced?
·8· · · · · · THE WITNESS:· In 7?                                      ·8· · · · A.· No.· I think it tended -- mostly was influenced
·9· · · · · · MR. ROLLER:· That's not Exhibit 7.                       ·9· ·by the hiring -- hiring behavior of the companies.· You
10· · · · · · MR. RUSSELL:· Yeah, 6.                                   10· ·know, they're just -- they hire a lot when times are good
11· · · · · · MR. ALAMUDDIN:· Oh, is it 6?· Sorry.· Sorry.             11· ·and they don't hire when times are bad, and they probably
12· ·My fault.                                                         12· ·should reverse their behavior.
13· · · · · · THE WITNESS:· It started with 4s here.· That's           13· · · · Q.· I guess I'm not following why that would make
14· ·why I knew it was probably not right.                             14· ·the market competitive for FCs.
15· · · · · · So it's Exhibit 6?                                       15· · · · A.· Well, you asked why the market was -- was
16· · · · · · MR. ALAMUDDIN:· Yes, Exhibit 6, the 2009                 16· ·shrinking.
17· ·Financial Consultant Compensation Plan.                           17· · · · Q.· No.· I asked you --
18· · · · · · THE WITNESS:· And what number?                           18· · · · A.· Oh, sorry.
19· · · · · · MR. ALAMUDDIN:· 6618.                                    19· · · · Q.· -- whether there were --
20· · · · · · THE WITNESS:· Okay.                                      20· · · · A.· Sorry.
21· · · · Q.· (By Mr. Alamuddin)· The last paragraph reads,            21· · · · Q.· -- other reasons why the market was competi- --
22· ·We are pleased to be able to offer you this compensation 22· ·you mentioned revenue was important.· I was asking why in
23· ·plan, because we believe it is one of the very best -- if         23· ·your opinion there were other reasons why the market for
24· ·not the best -- plan on the street.                               24· ·FCs was competitive.
25· · · · · · Did you agree with that statement, meaning that          25· · · · A.· Why there was other -- I think revenue was the

                                                            Page 106                                                                Page 108
·1· ·the FC compensation plan at RBC was one of the very best, ·1· ·primary reason why it was competitive.
·2· ·if not the best, plan on the street?                              ·2· · · · Q.· Were there any other reasons in your opinion?
·3· · · · A.· Well, I didn't really know much about what               ·3· · · · A.· Well, I think it was important to have enough
·4· ·other plans were.· I think everybody was trying to                ·4· ·FCs to have a brand.· You know, certainly numbers played
·5· ·compete with a similar fashion.· And I don't remember             ·5· ·a role in that.· That probably led to my comment about
·6· ·anybody having the secret sauce as far as everybody went          ·6· ·the number of hires and attrition and -- yeah.· So I
·7· ·to work there because Merrill Lynch's plan was the best           ·7· ·think just sheer numbers was important.
·8· ·or everybody went to work at RBC because it was the best.         ·8· · · · Q.· Any other reasons in your opinion that made the
·9· ·So no, I don't -- I don't remember ever seeing facts of           ·9· ·market competitive?
10· ·that, and I don't -- I think this is an opinion.                  10· · · · A.· Well, you had to have sheer numbers and you had
11· · · · Q.· My question is, do you share it?                         11· ·to have revenue in order to be in certain locations.· If
12· · · · A.· No.                                                      12· ·you didn't have enough numbers, you didn't have very --
13· · · · Q.· Earlier you told me when I asked you whether             13· ·you didn't have as many offices, and that would reduce
14· ·the -- the -- the market for high-producing FCs was               14· ·the visibility of your brand.· So I guess those are my
15· ·competitive, you -- you responded by telling me the               15· ·two or three reasons.
16· ·market for all FCs was competitive.                               16· · · · · · MR. ALAMUDDIN:· Why don't we take a quick
17· · · · A.· Mm-hm.                                                   17· ·break.
18· · · · Q.· Why was it so competitive in your opinion?               18· · · · · · THE VIDEOGRAPHER:· The time is 10:49 a.m.
19· · · · A.· Well, because revenue was important.                     19· ·We're now going off the record.
20· · · · Q.· What do you mean?                                        20· · · · · · · · · · · · · · · (Recess from 10:49 a.m. to
21· · · · A.· Whether you were a $200,000 or a $5 million              21· · · · · · · · · · · · · · · ·10:57 a.m.)
22· ·producer, revenue was important to the profitability of           22
23· ·the company.                                                      23· · · · · · THE VIDEOGRAPHER:· The time is 10:57 a.m.· This
24· · · · Q.· Were there any other reasons in your opinion             24· ·is the beginning of Disc 3 in the deposition of Marty
25· ·that made the FC market competitive?                              25· ·Paul.· We're now on the record.
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·1                                                                 ·1
·2· ·Date:· May 9, 2017                                            · · ·Date:· · ·May 9, 2017
·3                                                                 ·2
·4                                                                 ·3
·5                                                                 ·4· ·To:· · · ·MARTY PAUL
·6· ·To:· Sari M. Alamuddin                                        · · · · · · · ·c/o Jeremy E. Roller
· · · · · Morgan Lewis                                             ·5· · · · · · ·Yarmuth Wilsdon, PLLC
·7· · · · 77 West Wacker Dr                                        · · · · · · · ·1420 Fifth Avenue, Suite 1400
· · · · · Chicago, IL· 60601                                       ·6· · · · · · ·Seattle, WA· 98101
·8                                                                 ·7· ·Case:· · ·PAUL, ET AL. vs. RBC CAPITAL MARKETS, LLC, ET AL.
·9· ·Case:· PAUL, ET AL. V RBC CAPITAL MARKETS, LLC, ET AL.        · · ·Deposition of: MARTY PAUL
· · ·Cause No.:· 3:16-cv-05616-RBL                                 ·8· ·Date Taken:· · April 27, 2017
10                                                                 ·9
11                                                                 10· · · · The above transcript must be read and the Correction
12· · · · YOU ARE HEREBY NOTIFIED that the following original      · · ·Sheet signed within 30 days of this notice or before the
· · ·transcript has been sealed and served upon you for filing:    11· ·trial date.· If the Correction Sheet is not signed within
13                                                                 · · ·that time period, signature will be deemed waived for all
· · ·Deposition of: MARTY PAUL                                     12· ·purposes.
14                                                                 13· ·__X__Following the instructions given on the Correction
· · ·Taken:· · · · ·April 27, 2017                                 · · ·Sheet, please read the enclosed transcript, sign the
15                                                                 14· ·Correction sheet, and mail the signed Correction Sheet to
· · ·Signature:· · ·Waived· · _____                                · · ·our office at 701 Fifth Avenue, Suite 6630, Seattle,
16                                                                 15· ·Washington 98104.
· · · · · · · · · · Reserved· __X__                                16· ·_____Please contact our office and make an appointment to
17                                                                 · · ·come in and read your deposition transcript.· Office hours
· · · · · Within 30 days or before the trial date, the witness     17· ·are 8:00 a.m. to 5:00 p.m., Monday through Friday.· Without
18· ·should forward to you the original signed correction sheet,   · · ·a scheduled appointment, the transcript will not be
· · ·which can be filed separately at the time of trial.           18· ·available.
19                                                                 19· ·Other:
20· · · · · · · · Do not open the sealed transcript.               20
21                                                                 21· ·Reporter: Eva P. Jankovits, CCR
22                                                                 · · ·License No.:· 1915
· · ·cc:· Jeremy E. Roller                                         22
23                                                                 23
24                                                                 24· ·cc: Sari M. Alamuddin, Jeremy E. Roller
25                                                                 25

                                                     Page 154
·1· ·Date: May 9, 2017
·2
· · ·To:· ·Jeremy E. Roller
·3· · · · ·Yarmuth Wilsdon, PLLC
· · · · · ·1420 Fifth Avenue, Suite 1400
·4· · · · ·Seattle, WA· 98101
·5· ·Case:· · ·PAUL, ET AL. vs. RBC CAPITAL MARKETS, LLC, ET AL.
· · ·Cause No.:· · ·3:16-cv-05616-RBL
·6· ·Deposition of: MARTY PAUL
· · ·Date Taken:· · April 27, 2017
·7
· · · · · The above transcript must be read and the Correction
·8· ·Sheet signed within 30 days of this notice or before the
· · ·trial date.· If the Correction Sheet is not signed within
·9· ·that time period, signature will be deemed waived for all
· · ·purposes.
10
· · · · · Please contact the witness and arrange a convenient
11· ·time and place for reading and signing.
12· · · · After the Correction Sheet is signed, please mail the
· · ·signed original Correction Sheet to:
13
· · · · · · · · · · · · · Sari M. Alamuddin
14· · · · · · · · · · · · · Morgan Lewis
· · · · · · · · · · · · · 77 West Wacker Dr
15· · · · · · · · · · · · Chicago, IL· 60601
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20· ·cc: Sari M. Alamuddin
21
22
23
24
25
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                Exhibit E
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                                                            ·7·   · · · · · · · · · · INDEX TO EXHIBITS
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·1· ·construction and sailed commercially off the beach there             ·1· ·deposition yesterday?
·2· ·in Waikiki and also in Maui and Kaanapali.                           ·2· · · · A.· Yes.
·3· · · · · · And then after my second tour of duty in                    ·3· · · · Q.· Did you speak with Mr. Paul?
·4· ·Alaska, I went -- moved to back to Maui from 1973 until              ·4· · · · A.· Briefly.· Yeah.· Briefly.
·5· ·the end of 1979.                                                     ·5· · · · Q.· And when was that?
·6· · · · Q.· Okay.· And was there a period where you worked              ·6· · · · A.· Yesterday, last night.
·7· ·for an entity called G. Buskirk & Associates?                        ·7· · · · Q.· What did you guys discuss?
·8· · · · A.· Yeah.· Real estate.· That's my mom.                         ·8· · · · A.· Kind of the traffic, the time to get here.
·9· · · · Q.· Okay.                                                       ·9· ·Where to park.· And a bit about the deposition yesterday,
10· · · · A.· I did -- sold real estate.· I was a real estate             10· ·though I had a meeting I had to go to and so it was
11· ·broker from 1980 until I joined Bettcher & Company in                11· ·short.· We really didn't talk more than three or four
12· ·'83, so for two and a half, three years.                             12· ·minutes.
13· · · · Q.· Okay.· We'll walk through a little bit of your              13· · · · Q.· · Was this is a phone call or in person?
14· ·-- the details of that.· One of the other you mentioned              14· · · · A.· Phone call.
15· ·you went to Northwest Asset Management following RBC? 15· · · · Q.· What about the deposition in particular about
16· · · · A.· RBC.                                                        16· ·his deposition did you discuss?
17· · · · Q.· After that did you go directly to Lighthouse?               17· · · · A.· Just pretty much how it went for him and not
18· ·Did I get that?                                                      18· ·really anything specific about what he had gotten into or
19· · · · A.· Actually, we went to Concert.· And in the                   19· ·what you were talking about.
20· ·process, Concert is still in charge of our technology.               20· · · · Q.· What generally?
21· ·But we formed our own 1099, which is Lighthouse Wealth               21· · · · A.· Compensation.
22· ·Strategies, and now we also work with a group called                 22· · · · Q.· And can you expand on that?
23· ·Sowell Management, S-o-w-e-l-l, and they do our                      23· · · · A.· I think probably about highly compensated
24· ·compliance and our -- our billing.                                   24· ·versus not highly compensated.
25· · · · Q.· When you say "we" there, what do you mean by                25· · · · Q.· What did Mr. Paul say about that topic?

                                                                Page 14                                                                   Page 16
·1· ·"we"?                                                                ·1· · · · A.· Just that you'd asked him if he thought he was
·2· · · · A.· There's a group of five brokers.· I'm one of                ·2· ·highly compensated.
·3· ·five.                                                                ·3· · · · Q.· That you would be -- "you" meaning me, that I
·4· · · · Q.· And who are the other four?                                 ·4· ·would ask --
·5· · · · A.· Marty Paul, Kim Taurman, George Bonney, Brady               ·5· · · · A.· I'm sorry.· Yes.
·6· ·Buskirk, and myself.                                                 ·6· · · · Q.· Had asked him?
·7· · · · Q.· Brady Buskirk, is that a relation of yours?                 ·7· · · · A.· Mm-hm.
·8· · · · A.· My son.                                                     ·8· · · · Q.· And did he expand beyond that?
·9· · · · Q.· Your son.                                                   ·9· · · · A.· No, not really.
10· · · · · · And did all of those -- or which -- maybe I                 10· · · · Q.· Did he reveal his testimony about what you
11· ·should ask which of those folks also worked at RBC when 11· ·thought was, kind of, highly compensated?
12· ·you were there?                                                      12· · · · A.· No, he didn't.
13· · · · A.· All of them.                                                13· · · · Q.· Was there anything else you can recall
14· · · · Q.· All five?· And which of those folks also came               14· ·discussing with him?
15· ·to Northwest Asset Management?                                       15· · · · A.· No, not really.· It was really a short -- I was
16· · · · A.· All of them.                                                16· ·in the car on the way to another program.· And I had to
17· · · · Q.· And did they also -- did you travel as a group              17· ·cut him off, and I picked him up just as we were leaving
18· ·to the -- I think you said Concert?                                  18· ·-- as I was getting closer, so really didn't have a
19· · · · A.· We did.· Marty was always kind of leading the               19· ·chance to get into it at all.· Then I got here so early
20· ·pack, and we didn't go as a group, but we went                       20· ·this morning that I haven't talked to him since.
21· ·individually and eventually ended up together again.                 21· · · · · · I did truly, though, ask him how long it took
22· · · · Q.· You mentioned Marty Paul.· He's also a                      22· ·him to get here and where he had parked, and he -- he
23· ·plaintiff in this case; right?                                       23· ·just had a very few minutes to just kind of talk about
24· · · · A.· Yes.                                                        24· ·his day and how long it took and how long he was here and
25· · · · Q.· Did you -- you're aware he was -- had his                   25· ·that he had taken a break during the middle of the day.
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·1· · · · Q.· -- or branch?                                            ·1· ·office.
·2· · · · · · And why did you do that?                                 ·2· · · · Q.· When you say you were recruited a lot, can you
·3· · · · A.· As simple as a commute.                                  ·3· ·elaborate on that?· You mean by other -- other firms?
·4· · · · Q.· That's the only reason?                                  ·4· · · · A.· Yes.
·5· · · · A.· Well, Marty Paul was the manager at the Gig              ·5· · · · Q.· Was that true throughout your time at RBC/Dain?
·6· ·Harbor office.                                                    ·6· · · · A.· It's really all to do with production.· As your
·7· · · · Q.· And what did the --                                      ·7· ·production ramps up, your recruitment also ramps up.
·8· · · · A.· They built a new -- I'm sorry.· They built a             ·8· · · · Q.· How often would another firm, for example,
·9· ·new building and they were closer to my home.                     ·9· ·reach out to you?
10· · · · Q.· What about Marty Paul being the manager there            10· · · · A.· Couple times a year.
11· ·was a reason for you to change branches?                          11· · · · Q.· And recognizing they might all be different,
12· · · · A.· I was Marty's mentor when he started in the              12· ·what's their -- what do they say?· I mean, do they give
13· ·business, and we formed a good relationship and it made 13· ·you a pitch?· Do they just sort of test your interest?
14· ·it easy to make the move.                               14· · · · A.· Well, the last one was when I was in Gig
15· · · · Q.· Why -- why was that easy then?                           15· ·Harbor, Merrill Lynch of Tacoma called and wanted to know
16· · · · A.· Well, the commute for one.· Plus, the people in          16· ·if I wanted to manage that office because I had the
17· ·Marty's office I thought were all exceptional.                    17· ·management license.· And then they tell you, you know,
18· · · · Q.· You mentioned you were Marty's mentor.· Do you           18· ·they'll pay you upfront money.· In this case it was two
19· ·recall about what time he joined RBC?                             19· ·times following 12 months' production.· But it never felt
20· · · · A.· I really don't.· Probably the middle '90s                20· ·right moving for me or for my clients.· And I never did
21· ·maybe.                                                            21· ·it.
22· · · · Q.· How did you come to know him initially?                  22· · · · Q.· I want to take a couple -- first of all, do you
23· · · · A.· He was recruited by Pat Elliot, who was the              23· ·recall when that particular conversation was or overture?
24· ·manager at the time.· I met him through the office.· RBC          24· · · · A.· That had to be in 2011.
25· ·had a -- Dain had a mentor program that for all new               25· · · · Q.· You mentioned a license to manage, I think, or

                                                          Page 42                                                                      Page 44
·1· ·brokers they asked an existing producing broker to be             ·1· ·something similar?
·2· ·their mentors, and they asked me to be Marty's mentor.            ·2· · · · A.· Series 8.
·3· · · · Q.· And so I take it at that time he was at the --           ·3· · · · Q.· And that was one reason why you were
·4· ·wherever you were -- I guess it was --                            ·4· ·attractive, to your understanding, to Merrill Lynch?
·5· · · · A.· Silverdale.                                              ·5· · · · A.· One reason, yeah.
·6· · · · Q.· -- Silverdale at that point?                             ·6· · · · Q.· What other reasons do you think?
·7· · · · A.· Yes.                                                     ·7· · · · A.· Production.
·8· · · · Q.· And at some point then I gather he left to               ·8· · · · Q.· Do you recall in 2011, at the time of that
·9· ·start the Gig Harbor office?                                      ·9· ·conversation, what your production might have been?
10· · · · A.· He did.                                                  10· · · · A.· I really don't recall, but I'd have to think it
11· · · · Q.· Do you remember when that was?                           11· ·was around 800,000.
12· · · · A.· Oh, I would think it was probably 2000, though           12· · · · Q.· You mentioned an offer of upfront money, I
13· ·I'm not exactly sure.                                             13· ·think is how you phrased it; two times...?
14· · · · Q.· And just practically speaking, how did it come           14· · · · A.· Trailing.
15· ·to be that you decided to go to Gig Harbor?· There's a            15· · · · Q.· I missed what you said.· Trailing 12-month
16· ·four-year gap there.· Was there a reason?                         16· ·production?
17· · · · A.· Well, we moved up to Bainbridge I think in               17· · · · A.· Yes.
18· ·2002, and practically speaking, they built a new                  18· · · · Q.· So if my math is right, that's 1.6 million if
19· ·building, which created space for my business.· And it            19· ·the 800,000 --
20· ·just made a lot of sense to me.                                   20· · · · A.· If --
21· · · · Q.· Did Mr. Paul reach out to you or recruit you in          21· · · · Q.· -- is accurate?
22· ·any way to come?                                                  22· · · · A.· And that number is always moving.· And that was
23· · · · A.· I think -- I'm sure he did.· But I say that              23· ·negotiable, but I never negotiated.· But they're paying
24· ·because I got recruited a lot.· And it was an easy                24· ·three times now.
25· ·transition.· I didn't move firms.· I just moved my                25· · · · Q.· Three times trailing months?
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·1· · · · A.· Yeah.· It continues to ramp up.                             ·1· ·is that if you were to leave yourself, that your clients
·2· · · · Q.· Why do you think that is?                                   ·2· ·would -- would go with you?
·3· · · · A.· Competition.                                                ·3· · · · A.· Yes.
·4· · · · Q.· I take it you understand it's now up to three               ·4· · · · Q.· And is that usual or unusual for the industry?
·5· ·times.· Is that sort of a number that's known in the                 ·5· · · · A.· No.
·6· ·industry what the other competitors are paying?                      ·6· · · · Q.· No to which?
·7· · · · A.· Yes.                                                        ·7· · · · A.· No, it's not unusual.· I know broker-dealers
·8· · · · Q.· I'm circling back now.· You mentioned a                     ·8· ·think differently, but most clients are the broker's
·9· ·Series 8, the production.· Were there any other reasons              ·9· ·clients and the broker-dealer believes it's their --
10· ·why Merrill Lynch might have found you to be an                      10· ·their clients.· But we got -- I think most brokers get a
11· ·attractive candidate?                                                11· ·fairly large percentage of their clients following them.
12· · · · A.· Not to my knowledge.                                        12· · · · Q.· When you ultimately did leave RBC in 2012,
13· · · · Q.· That you can think of.· Okay.                               13· ·estimate what percentage of your clients moved with you?
14· · · · · · Now, I want to ask, you said "upfront money."               14· · · · A.· 97.
15· ·Is that just a straight cash bonus?· How was that paid?              15· · · · Q.· Sounds like not much of an estimate.
16· · · · A.· It's an -- on a contract.· They pay you the                 16· · · · A.· We tracked that pretty carefully.
17· ·money to come over.· And that's negotiable how you take 17· · · · Q.· I'm going to show you another document here.
18· ·it, but you can in fact take it all up front.· The                   18· · · · A.· Do you want me to hold these?
19· ·contracts have extended in length of time.· Initially                19· · · · Q.· You can leave them there.
20· ·when I first started being recruited it was three years.             20· · · · A.· Okay.
21· ·And I think now it's all the way up to eight, that if you            21· · · · Q.· There's a few we might come back to.
22· ·don't stay eight years, then you pay back the bonus.                 22· · · · A.· Okay.
23· · · · Q.· So you -- in those -- when you call it a                    23· · · · Q.· Probably not those exactly, but give me one
24· ·contract, you receive a lump sum and it's paid back over             24· ·second.
25· ·time, or do you -- would you lose it all --                          25· · · · · · Don't let this pile of papers scare you.· I'm

                                                                Page 46                                                         Page 48
·1· · · · A.· No.                                                         ·1· ·not going to show you every one.· I promise.· We'd be
·2· · · · Q.· -- at the end of eight years?                               ·2· ·here for three days.
·3· · · · A.· They forgive it over time.· It's not paid back.             ·3· · · · · · · · · · · · · · · (Exhibit No. 22 marked for
·4· · · · Q.· It's a promissory --                                        ·4· · · · · · · · · · · · · · · ·identification.)
·5· · · · A.· Yes.                                                        ·5· · · · · · THE WITNESS:· Thank you.
·6· · · · Q.· -- note that --                                             ·6· · · · Q.· (By Mr. Russell)· So you've been handed what I
·7· · · · · · In your discussions -- or maybe discussion,                 ·7· ·believe is Exhibit -- Defense Exhibit 22.· Take a moment
·8· ·conversation, with Merrill Lynch that you've been talking            ·8· ·to look at that, if you would.
·9· ·about, was there ever any discussion of your deferred                ·9· · · · · · Is this a document you recognize?
10· ·comp that you might lose from RBC if you were to leave? 10· · · · A.· Not really.
11· · · · A.· No.                                                         11· · · · Q.· So it's Bates labeled -- the first page is
12· · · · Q.· You then said -- I think one of the things you              12· ·RBC-PAUL 9931.· For some reason it appears that it was
13· ·said, It just never really felt right to -- to leave to              13· ·produced -- the first three pages are -- look, to me at
14· ·Merrill Lynch in this instance, but in other instances I             14· ·least, to be identical.· But it appears to be a letter
15· ·assume?                                                              15· ·dated August 10th, 2012, from someone named Todd
16· · · · A.· Yes.                                                        16· ·Schwartz.
17· · · · Q.· And it didn't feel right for your clients, is               17· · · · · · Do you see that?
18· ·what I thought you said.                                             18· · · · A.· I do.
19· · · · A.· That's true.                                                19· · · · Q.· And the subject line is:· Brian Buskirk
20· · · · Q.· Can you explain why you felt that way?                      20· ·resignation letter.
21· · · · A.· New account numbers, new statements, new                    21· · · · A.· I do.· It is.
22· ·checking accounts.· I'm a firm believer that people that             22· · · · Q.· Did you ever see this letter?
23· ·change firms do it for all the wrong reasons.· And it's              23· · · · A.· Oh, I'm sure I did.
24· ·simply selfish.                                                      24· · · · Q.· So in the text of the letter, it reflects that
25· · · · Q.· I take it it's sort of implicit in your answer,             25· ·you're resigning your position at RBC Capital Markets
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·1· · · · Q.· (By Mr. Russell)· Just the execs in Canada or               ·1· ·from your commissions versus your salary, collectively
·2· ·where?· I mean...                                                    ·2· ·did you consider yourself to be a highly compensated
·3· · · · A.· Not even so much the execs in Canada because                ·3· ·employee?
·4· ·for years it wasn't the execs in Canada.· I mean, we were            ·4· · · · · · MR. ROLLER:· Object to the form.
·5· ·based in Minneapolis, though the bank is based, but I'm              ·5· · · · · · You can answer.
·6· ·talking about the people that ran the broker side of RBC.            ·6· · · · A.· I made a good living.
·7· ·I mean, you know, as brokers, we would talk all the time             ·7· · · · Q.· (By Mr. Russell)· What -- if you can recall,
·8· ·about what Irv Weiser was being paid or Ron Tschetter was            ·8· ·and I recognize because it was commission-based it might
·9· ·being paid or...                                                     ·9· ·have varied, what would you think your average annual
10· · · · · · But you know, it's -- it's ludicrous to sit                 10· ·income, compensation, whichever term you want to use, was
11· ·there and think that I'm not -- or didn't make good                  11· ·for the time period that you were -- let's say 2006 till
12· ·money.· But it's -- I just never felt like I was being               12· ·the time you left in 2012?
13· ·compensated by RBC.· If anything, I thought they should              13· · · · A.· 350 to 400.· You know, there were obviously
14· ·pay me more.                                                         14· ·some years where it was more than that.· For instance,
15· · · · Q.· To that point, you mentioned earlier that                   15· ·okay, so when RBC bought Dain Bosworth, we had a
16· ·each -- each year there was a grid, right, with a                    16· ·three-year retention bonus from RBC.· And mine, I think,
17· ·percentage of a payout and that was set by RBC; right?               17· ·was about $150,000 a year.· I was -- I was highly
18· · · · A.· Yes.                                                        18· ·compensated by RBC for that retention bonus because that
19· · · · Q.· Do you think Marty Paul was a highly                        19· ·was given to me just because I chose to stay with RBC
20· ·compensated employee?                                                20· ·based on my longevity and production at the company, at
21· · · · A.· You know, once again, Marty was a manager.· And             21· ·Dain.
22· ·the only compensation I -- I would even relate to as far             22· · · · · · So then yes, I felt that I was being highly
23· ·as being highly compensated was his management fee that 23· ·compensated for staying.· But that went away in three
24· ·he got from RBC.· You know, he made a good living, but               24· ·years.
25· ·it's hard for me to say that he was being compensated by             25· · · · Q.· In years -- in years you didn't have that

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·1· ·RBC because he was earning what he was making.    ·1· ·bonus?
·2· · · · Q.· Well, and that's not quite my question.                     ·2· · · · A.· Yeah.
·3· · · · · · I mean, it's still compensation, is it not, the             ·3· · · · Q.· When you were earning the 350 to 400 -- I may
·4· ·commissions that you would receive?                                  ·4· ·have asked this, so I apologize, but that's what we're
·5· · · · A.· I suppose define "compensation."                            ·5· ·talking about -- did you consider that to be highly
·6· · · · Q.· Money paid for work performed, for example.                 ·6· ·compensated?
·7· · · · A.· Money paid or money earned?                                 ·7· · · · A.· You know, I never thought about it.· It was
·8· · · · Q.· Well, what would you -- how would you define                ·8· ·just what I earned and what I made.· But I -- I think
·9· ·"compensation" in your own opinion?                                  ·9· ·that I have felt for the last 20 years I've made a good
10· · · · A.· I would say compensation is money paid. I                   10· ·living.· And if you want to take that as me saying I was
11· ·think what we did was money earned.                                  11· ·highly compensated, then that's fine.
12· · · · Q.· Were you given a W-2 for the years that you                 12· · · · Q.· I want to check one -- show you one document
13· ·worked at RBC?                                                       13· ·real quick here.
14· · · · A.· I was.                                                      14· · · · · · · · · · · · · · · (Exhibit No. 23 marked for
15· · · · Q.· Did that reflect compensation?                              15· · · · · · · · · · · · · · · ·identification.)
16· · · · A.· It did, but it -- it reflected it through                   16· · · · · · THE WITNESS:· Thanks.
17· ·commissions.                                                         17· · · · Q.· (By Mr. Russell)· So you've been handed what's
18· · · · Q.· Who was on your -- who was the provider of your 18· ·been marked Defendants' Exhibit 23.· It's Bates labeled
19· ·W-2?                                                                 19· ·RBC-PAUL 4374.· Do you recognize this document?
20· · · · A.· RBC or Dain.                                                20· · · · A.· I don't, but I mean, I'm sure I got it.
21· · · · Q.· Do you believe that your total compensation in              21· · · · Q.· Well, let's walk through.· It's dated February
22· ·a year paid by Dain or RBC falls within the definition of            22· ·of 2001.· It's your name there.· I think that might be
23· ·compensation?                                                        23· ·the same address that you said is no longer current, but
24· · · · A.· In the general sense, yes.                                  24· ·was that a former address?
25· · · · Q.· So putting aside the source of it, whether it's             25· · · · A.· Yes, it was.
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·1· · · · A.· Yes.                                                      ·1· ·established?· 2006?
·2· · · · Q.· The third -- well, I guess it's more than a               ·2· · · · Q.· No.· I just offered you that one as an example
·3· ·third, but the next column is Retirement Plan Matches?             ·3· ·--
·4· · · · A.· Same.                                                     ·4· · · · A.· Oh.
·5· · · · Q.· And --                                                    ·5· · · · Q.· -- of the compensation plan.
·6· · · · A.· Based on maximum length of service, full                  ·6· · · · A.· Yeah, I qualified for it every year.
·7· ·participation.                                                     ·7· · · · Q.· And did you opt to use it every year?
·8· · · · Q.· And then the last is a total, which appears to            ·8· · · · A.· I did.
·9· ·tally up the various percentages?                                  ·9· · · · Q.· Why?
10· · · · A.· It does.                                                  10· · · · A.· Be able to defer income and participate in the
11· · · · Q.· Do you recall receiving this type of plan?                11· ·bonus.
12· · · · A.· I do.                                                     12· · · · Q.· This might seem like a dumb question, but in --
13· · · · Q.· Was that an annual publication?                           13· ·why was it a benefit to be able to defer income?
14· · · · A.· I -- I think it was.                                      14· · · · A.· Don't pay taxes on earnings, capital gains,
15· · · · Q.· And would this change year to year?· "This"               15· ·dividends, income, interest.· It's a qualified plan.
16· ·being the compensation plan?                                       16· · · · Q.· What does that mean?
17· · · · A.· Not -- not every year, but, you know, usually             17· · · · A.· It defers taxes.· Doesn't forgive them, but it
18· ·there were a little -- a few changes every other year or           18· ·defers them.
19· ·things like that, but no, not every year.                          19· · · · Q.· And as you said, dividends, gains, whereas in a
20· · · · Q.· Yeah.· Since we're already on this one, I'm               20· ·regular brokerage, you transfer or make a trade, you're
21· ·jumping -- jumping ahead a little bit, but if you'll go a          21· ·going to get a capital gains tax; that's all deferred?
22· ·few pages in, the bottom right is RBC 6466.                        22· · · · A.· That's all deferred.
23· · · · A.· Okay.                                                     23· · · · Q.· When you said "qualified," I think I asked what
24· · · · Q.· And this is titled RBC US Wealth Accumulation             24· ·that meant.· You said it means it defers taxes.· Is there
25· ·Plan Overview; do you see that?                                    25· ·anything else that you mean by "a qualified plan"?

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·1· · · · A.· I do.                                                     ·1· · · · A.· No.
·2· · · · Q.· First sentence, The -- the WAP allows you to              ·2· · · · Q.· You -- I think you said this, but -- so if I
·3· ·share in the ongoing prosperity of the company while               ·3· ·asked it, I apologize.· I know you said you qualified
·4· ·providing you with an excellent opportunity to defer               ·4· ·every year, and then did you participate in every year
·5· ·compensation and build long-term wealth.                           ·5· ·you qualified?
·6· · · · · · Would you agree with that statement?                      ·6· · · · A.· I did.
·7· · · · A.· I would.                                                  ·7· · · · Q.· You've mentioned the bonuses are paid into the
·8· · · · Q.· Maybe we'll just take a step back.                        ·8· ·WAP.· There's also matching.
·9· · · · · · Can you tell me today what your recollection is           ·9· · · · · · Did you make your own voluntary contributions?
10· ·of the WAP and how it worked?· I know that's broad, but            10· · · · A.· I did.· You had to get the bonus and the
11· ·what -- how did it operate?· How did you use it, for               11· ·matching.
12· ·example?                                                           12· · · · Q.· Right.· I was going to say, "voluntary" seems
13· · · · A.· Well, I think it's important to realize -- or             13· ·like you didn't have to, but you're saying in order to
14· ·clarify you didn't have to use it.· I mean, you qualified          14· ·get --
15· ·and you had the choice of using it or not.· It was based           15· · · · A.· Yes.· No, you didn't have to, but if you wanted
16· ·on production.· It was a bonus.· You could fund it                 16· ·to participate in the plan to get the bonus and the
17· ·personally out of your own income as another deferral,             17· ·matching, you had to fund yourself.
18· ·and based on longevity and production, the company would 18· · · · Q.· And to be clear, the bonus and matching, that's
19· ·match that referral [sic] percentage.                              19· ·contributions from RBC?
20· · · · Q.· Anything else that you remember?                          20· · · · A.· Yeah, exactly.
21· · · · A.· No.                                                       21· · · · Q.· We can look at some documents here in a second,
22· · · · Q.· And I take it -- well, I know, because we're              22· ·but what were your options with respect to distributions
23· ·sitting here, you qualified for the WAP at least in some           23· ·of the money you put into the WAP?
24· ·years?                                                             24· · · · A.· I'm not sure I understand the question.
25· · · · A.· I qualified -- so is this when it was                     25· · · · Q.· When you deferred money, when did you defer it
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                                                            Page 89                                                                   Page 91
·1· ·to?                                                               ·1· · · · Q.· -- second, but...
·2· · · · A.· That's a good question.· I think you had an              ·2· · · · · · We talked about the -- the vesting period on
·3· ·option of deferring it to after 55 years old or 59 and a          ·3· ·the retention unit program earlier where -- whereby if
·4· ·half.· I'm not sure what the year.· Or there was a                ·4· ·you left the company before four years, you -- you lose
·5· ·five-year period I think you could take it.· I never              ·5· ·whatever's left.
·6· ·really gave that much thought because I never planned on ·6· · · · · · Do you recall the WAP deferral being subject to
·7· ·taking it early.                                                  ·7· ·any vesting?
·8· · · · Q.· Okay.· I want to back up there.· So to your              ·8· · · · A.· My contribution was -- I think it had a
·9· ·recollection, the two options were what is essentially            ·9· ·five-year vesting sched- -- no.· I think my contribution
10· ·retirement age?                                                   10· ·was not.· It was immediately vested, but the matching and
11· · · · A.· Yes.                                                     11· ·the bonus were at a five-year vesting schedule.
12· · · · Q.· Close to retirement age?                                 12· · · · Q.· Again, probably simple because we talked about
13· · · · A.· Yeah.· Take them at retirement --                        13· ·it, but meaning that if you left the company before the
14· · · · Q.· Or --                                                    14· ·five years were up, whatever's not vested, what happened
15· · · · A.· -- or if, after 55, they allowed you to take a           15· ·to it?
16· ·certain percentage if you've been with the company for a          16· · · · A.· Goes away.
17· ·period of time.· I don't remember really how it was               17· · · · Q.· Where did you obtain this understanding of the
18· ·structured in regards to distribution, but there were a           18· ·plan and how it worked?
19· ·couple of different options which I don't really recall           19· · · · A.· I think in documents like this (indicating).
20· ·specifically.                                                     20· ·And it's probably in here somewhere.
21· · · · Q.· You did mention there's a five-year period that          21· · · · Q.· We can look at it in a -- in a second.
22· ·you could take it.· What did you mean by that?                    22· · · · · · To -- to your knowledge today, was it -- did it
23· · · · A.· I -- you know, I'm not really quite sure, but I          23· ·operate this way throughout the time you participated?
24· ·think that, once again, that the options were retirement          24· · · · A.· It did.
25· ·age or at 55.· If you had been in it for five years, you          25· · · · Q.· Let's take a look.· So you were on the page.

                                                             Page 90                                                                  Page 92
·1· ·could take -- start taking some distributions.· If you've         ·1· ·It's -- it's 6466.· As I -- I think you probably hit on
·2· ·been --                                                           ·2· ·most of these, actually.
·3· · · · Q.· While you were still employed?                           ·3· · · · · · I'm looking at the table there.· Sort of
·4· · · · A.· Yeah.· If you've been with the company for a             ·4· ·gives -- it's titled At A Glance.· You've got the
·5· ·long enough period of time.                                       ·5· ·component of the WAP, which the first one is the
·6· · · · Q.· It's your recollection that -- that -- well, I           ·6· ·productivity bonus; the second one is voluntary deferral.
·7· ·think what you said was you never planned to take it              ·7· ·I understand that to be what you mentioned, your
·8· ·early?                                                            ·8· ·voluntarily deferral; is that right?
·9· · · · A.· No.                                                      ·9· · · · A.· That is right.
10· · · · Q.· So do you recall that you deferred it all until          10· · · · Q.· There's a production requirement there in the
11· ·--                                                                11· ·second column, so to qualify for the WAP productivity
12· · · · A.· I --                                                     12· ·bonus, you had to produce at least 300,000 in fiscal year
13· · · · Q.· -- until when?                                           13· ·2006.
14· · · · A.· -- still deferred it.· When I left RBC and what          14· · · · · · Do you see that?
15· ·I ended up getting, it's been deferred into my IRA.               15· · · · A.· I do.
16· · · · Q.· You said what you "ended up getting."· So you            16· · · · Q.· We've already talked a little bit about your
17· ·received a payout from the WAP?                                   17· ·production, but it was fairly -- well, nearly double
18· · · · A.· I did.                                                   18· ·that, in most of your years at least?
19· · · · Q.· At what time?· Upon your departure from RBC?             19· · · · A.· It was.
20· · · · A.· Yes.· I think three or four months later.                20· · · · Q.· The second, it's still 300,000 to -- to be
21· · · · Q.· And how much -- do you recall now how much               21· ·eligible for the voluntary deferral in fiscal year 2005.
22· ·it -- it was?                                                     22· · · · · · Do you see that?
23· · · · A.· I don't.                                                 23· · · · A.· I do.
24· · · · Q.· Well, we can look at it in a --                          24· · · · Q.· And then it's got the amounts that you're
25· · · · A.· Yeah.                                                    25· ·allowed -- well, for the bonus that you might receive or
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·1· ·the -- the voluntary deferral that you're allowed to --     ·1· · · · Q.· Okay.· Do you recall whether you had to elect
·2· ·to defer.                                                          ·2· ·your distribution choice each year?
·3· · · · · · The voluntary deferral says up to 30 percent of           ·3· · · · A.· Yes.
·4· ·your 2006 calendar year cash compensation.· Do you see ·4· · · · Q.· How did you go about doing that?
·5· ·that?                                                              ·5· · · · A.· They give you the parameters.· They give you
·6· · · · A.· I do.                                                     ·6· ·the options.· And I don't remember what the options were,
·7· · · · Q.· Do you recall what percentage of your                     ·7· ·but I remember having the ability every year.· And you
·8· ·compensation you elected to defer?                                 ·8· ·could change one year to the next.
·9· · · · A.· I don't.                                                  ·9· · · · Q.· So if we're in 2017, I could take my WAP
10· · · · Q.· And then I think, as you noted, there's a                 10· ·deferral five years from now, but my next year's I could
11· ·company match column.· They would match the first                  11· ·take at retirement or --
12· ·15 percent of your cash compensation of your voluntary             12· · · · A.· Yeah.· I mean, you -- you could change.· And I
13· ·deferral.                                                          13· ·always basically just ran mine out to the five-year
14· · · · · · See that?                                                 14· ·vesting.
15· · · · A.· Mm-hm.                                                    15· · · · Q.· And what do you mean by that?· You would take
16· · · · Q.· Just below that, there's matches on voluntary             16· ·it when it became vested at five years?
17· ·deferral; do you see that?                                         17· · · · A.· Yeah.· Or -- or you had the ability to take it
18· · · · A.· I do.                                                     18· ·at retirement.
19· · · · Q.· There's a premium match that says 5 to                    19· · · · Q.· How did you typically elect yours?
20· ·40 percent match depending on production and years of              20· · · · A.· I took it at retirement.
21· ·service on the first 15 percent of cash compensation               21· · · · Q.· Did you make different elections for the RBC
22· ·deferred.                                                          22· ·contributions and your voluntary contributions?
23· · · · · · Do you know what that means beyond what's                 23· · · · A.· No.
24· ·written there?                                                     24· · · · Q.· Are you aware of any other WAP participants?
25· · · · A.· No, other -- it's pretty self-explanatory. I              25· ·Do you know other people that participated?

                                                              Page 94                                                                Page 96
·1· ·think the premium match, the 5 to 40 percent range, was            ·1· · · · A.· Sure.
·2· ·based on production and years of service.                          ·2· · · · Q.· Do you happen to know whether they elected
·3· · · · Q.· The -- then the last box there, Vesting:· The             ·3· ·in-service as opposed to retirement?
·4· ·2006 WAP productivity bonus and company matches are                ·4· · · · A.· No.· No idea.
·5· ·credited to your WAP account in February of 2007 and               ·5· · · · Q.· Wasn't something you talked about?
·6· ·become fully vested five years later in January of 2017.           ·6· · · · A.· No.
·7· ·See that?                                                          ·7· · · · Q.· Okay.· There's a lot of pages to this one, but
·8· · · · A.· I do.                                                     ·8· ·we're not going to go through them all; don't worry.
·9· · · · Q.· And then as you have previously recalled, it              ·9· · · · · · · · · · · · · · · (Exhibit No. 25 marked for
10· ·says, Voluntary deferrals of cash compensation are always 10· · · · · · · · · · · · · · · ·identification.)
11· ·100 vested.                                                        11· · · · · · THE WITNESS:· This is good stuff.
12· · · · A.· That is correct.                                          12· · · · · · MR. RUSSELL:· Yeah.
13· · · · Q.· Okay.· The last sentence there says, See WAP              13· · · · · · THE WITNESS:· This just really takes me back.
14· ·enrollment information for complete details.                       14· · · · · · MR. RUSSELL:· Yeah.
15· · · · · · Do you recall getting an annual enrollment                15· · · · · · You can go ahead and take a look at that, but
16· ·package?                                                           16· ·I'm actually going to give you another one at the same
17· · · · A.· You know, I don't, not after I initially just             17· ·time and start with it.· I apologize for that.
18· ·started with the WAP, but I'm sure we got one, but I               18· · · · · · So I think you've been handed what's been
19· ·don't remember.· You know, I don't remember looking.               19· ·marked --
20· · · · Q.· Yeah.                                                     20· · · · · · THE COURT REPORTER:· Hold on a second.
21· · · · A.· The only reason that I would look, I suppose,             21· · · · · · MR. RUSSELL:· -- Exhibit 25.· And I'm also
22· ·is if I thought the percentages were changing, which they          22· ·going to be handing you what will be marked Exhibit 26.
23· ·really didn't.· But the productivity and length of                 23· · · · · · · · · · · · · · · (Exhibit No. 26 marked for
24· ·service time frames and numbers would change                       24· · · · · · · · · · · · · · · ·identification.)
25· ·periodically.                                                      25· · · · Q.· (By Mr. Russell)· So, yeah, if you don't mind
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·1· ·from the deferred compensation plan.                          ·1· · · · A.· Correct.
·2· · · · · · Would you agree at least with that?                  ·2· · · · Q.· The -- each of these is a fair number of pages,
·3· · · · A.· I would.                                             ·3· ·but if you go to 4592, that is the -- a similar statement
·4· · · · Q.· Do you recall whether you received account           ·4· ·for 2010.· See that?
·5· ·statements for your -- your WAP balance?                      ·5· · · · A.· I do.
·6· · · · A.· I did.· What a great year.                           ·6· · · · Q.· So jumping to the point:· Same line, there's a
·7· · · · Q.· I know.· I circled the --                            ·7· ·withdrawal line, and it's just over a $101,000.· Do you
·8· · · · A.· Up 50 percent.                                       ·8· ·see that?
·9· · · · Q.· I circled the 50 percent.· No, I wasn't going        ·9· · · · A.· I do.
10· ·to ask you about it, but that looked pretty good.             10· · · · Q.· Do you recall --
11· · · · A.· I did that every year.· Gee --                       11· · · · A.· I don't.
12· · · · Q.· We can show --                                       12· · · · Q.· And similar to the last year then, I take it
13· · · · A.· -- whiz.                                             13· ·you wouldn't have any reason to know why there's a
14· · · · Q.· -- you things that say the contrary.                 14· ·withdrawal?
15· · · · A.· Yeah.                                                15· · · · A.· Unless I was overspending.· I don't remember
16· · · · Q.· So you said you did receive these.                   16· ·withdrawing, but who knows?
17· · · · · · How did you receive WAP account statements?          17· · · · Q.· I don't need to go through every year, unless
18· · · · A.· In the mail to my address, 7646.                     18· ·you want to, but there are withdrawals in most years.
19· · · · Q.· But you don't recall seeing this one in              19· ·I'm -- what I'm wondering is whether those were
20· ·particular?                                                   20· ·distributions from the WAP while you were in service at
21· · · · A.· No, not this one in particular, but I know we        21· ·RBC?
22· ·got them.                                                     22· · · · A.· I -- I would have to say I don't really know.
23· · · · Q.· I wanted to ask you -- so the first page, we         23· · · · Q.· Okay.· Before we put this one away, if you go
24· ·can just start there I guess.· There's -- if you look at      24· ·to 4613, which is closer to the back, do you see that
25· ·this sort of summary right on the front, there's a --         25· ·one?

                                                      Page 102                                                                    Page 104
·1· ·one, two, three -- four lines down, a withdrawal of about ·1· · · · A.· I do.
·2· ·73,000 or so.· Do you see that?                               ·2· · · · Q.· So this is the statement for 2012.
·3· · · · A.· I do.                                                ·3· · · · · · First, there is a line for withdrawal again in
·4· · · · Q.· Do you happen to recall, I guess, first whether      ·4· ·2012.· See that?
·5· ·you made a withdrawal in 2009?                                ·5· · · · A.· I do.
·6· · · · A.· I don't.                                             ·6· · · · Q.· We -- I think we covered this, but 2012 was the
·7· · · · Q.· So I take it then you wouldn't know why there's      ·7· ·year that you left RBC?
·8· ·a withdrawal reflected?                                       ·8· · · · A.· Correct.
·9· · · · A.· I'm actually surprised there is.                     ·9· · · · Q.· There's a forfeiture line this year of
10· · · · Q.· So if we turn to -- each of these is -- well,        10· ·approximately 297,000.· Do you see that?
11· ·let's -- one more question there.· Your beginning balance 11· · · · A.· I do.
12· ·of the WAP that year was about 350,000.· Is that about        12· · · · Q.· What do you understand that to be?
13· ·right?· 353,000?                                              13· · · · A.· The part of the wealth accumulation that was
14· · · · A.· Correct.                                             14· ·forfeited to RBC.
15· · · · Q.· And your ending balance year end was 522,000.        15· · · · Q.· Why was it forfeited, to your understanding?
16· ·See that?                                                     16· · · · A.· Probably not vested.
17· · · · A.· That's right.                                        17· · · · Q.· When you decided to leave RBC in 2012, did you
18· · · · Q.· Just below that it shows Additional                  18· ·understand that one of the consequences would be that the
19· ·Information, Vested Balance.· See the 295,000?                19· ·unvested amount would be forfeited?
20· · · · A.· Correct.                                             20· · · · A.· I did.
21· · · · Q.· What -- what do you understand that to be?           21· · · · Q.· You did.
22· · · · A.· Money that has been put in either by me or my        22· · · · A.· I did.
23· ·employer that's fully vested.                                 23· · · · Q.· Did it play a role in your decision to leave?
24· · · · Q.· So with respect to the RBC side, it's been in        24· · · · A.· No.
25· ·there for more than five years most likely?                   25· · · · Q.· No.· Why's that?
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·1· · · · A.· Because the benefits of leaving were so much                 ·1· ·they're only making $40,000 a year for three years, with
·2· ·greater than staying.                                                 ·2· ·the risk of my book not being successful or not being
·3· · · · · · I -- I do want you to know that I -- I drank                 ·3· ·able to monetize the business, where now, because the
·4· ·the Kool Aid at RBC.· I really thought we were just the               ·4· ·payout is so much greater with where I'm at, I can go
·5· ·best thing going on the street, and I still do, and I                 ·5· ·ahead and step up and take that over a 10-year period and
·6· ·really appreciated my years there, but the succession                 ·6· ·the number doesn't really dissuade anybody buying my book
·7· ·agreement that RBC had was a three-year time frame.· And ·7· ·from making a good living while they're buying my book.
·8· ·I couldn't monetize my business fully through RBC's                   ·8· · · · Q.· I see.· If I could summarize, so because you
·9· ·succession plan.· In other words, they allowed me to sell             ·9· ·can stretch it over 10 years, you can earn more yourself
10· ·my business for a hundred percent of my trailing 12, or               10· ·over that time period?
11· ·one time my trailing 12.· And if you were to do that, the             11· · · · A.· Yeah.
12· ·person buying my business wouldn't have the opportunity               12· · · · Q.· And the person purchasing your book can spread
13· ·to make any money really themselves for three years                   13· ·that amount over 10 years instead of three?
14· ·because they would be paying me.                                      14· · · · A.· Yeah.· For instance, you know, after all costs,
15· · · · · · What I've agreed to now is a 10-year payout but              15· ·my payout's probably 73 percent.· And on 800,000 -- let's
16· ·two times trailing 12.· And it's a lot more amenable to               16· ·just round it out and say it's $575,000.· That money is
17· ·anybody by buying my book.· Also, my payout is so much                17· ·in my business with my Buskirk Wealth.· He has the
18· ·greater today than it was at RBC that I probably will                 18· ·ability to pay me a certain amount of money on an annual
19· ·make up the loss of the 300,000 in a couple years.                    19· ·basis and still make a very good living himself.· I mean,
20· · · · Q.· When you say the payout in both instances, you               20· ·the minute I retire and go into our succession agreement,
21· ·mean the money that will still accrue to you from your                21· ·his income will double.· Probably more than double --
22· ·clients once you are in --                                            22· · · · Q.· Mm-hm.
23· · · · A.· My payouts --                                                23· · · · A.· -- so he can't wait.
24· · · · Q.· -- in succession?                                            24· · · · Q.· He's begging for the early --
25· · · · A.· If we're -- I'm sorry.                                       25· · · · A.· No, he's not.· He's not really, but I'm sure

                                                                Page 106                                                                Page 108
·1· · · · Q.· It's okay.· I do it too.                                     ·1· ·he's totally aware of it.
·2· · · · A.· My payout out at RBC was 43 or 44 percent, the               ·2· · · · Q.· So circling back to the -- when you left RBC,
·3· ·payout.· Today it's 90.· So I'm really monetizing my book             ·3· ·on this 2012 account, there does remain a vested balance,
·4· ·at a very more substantial rate than I was at RBC.                    ·4· ·if you look at 4613, of $215,330.
·5· · · · Q.· And that was important to you as you near the                ·5· · · · A.· They paid that out.
·6· ·end of your career?                                                   ·6· · · · Q.· That was my next question.· So that -- you
·7· · · · A.· You know, that wasn't as important to me as the              ·7· ·received that.· I think you referred to that earlier
·8· ·ability to have a better succession plan.· And I                      ·8· ·when -- a few months after you left?
·9· ·guarantee you that myself, as well as numerous other                  ·9· · · · A.· Yeah.
10· ·people, had the conversation with RBC that they had to do             10· · · · Q.· Okay.· We've seen a few places the eligibility
11· ·something about their succession plan product, that it                11· ·to participate in the WAP, so for the one year I think we
12· ·wasn't amenable.                                                      12· ·looked at, it was $300,000.
13· · · · Q.· Can you explain a little bit more why?· You                  13· · · · · · Do you recall over time whether that changed,
14· ·mentioned the difference in the hundred percent of your               14· ·$300,000 production?
15· ·trailing 12 versus two times.                                         15· · · · A.· I -- I don't exactly, but I know it changed.
16· · · · A.· So -- so, for instance, if -- if I got one-time              16· ·And -- and part of that is inflation.· I mean, the market
17· ·book value, my payment would have been 800,000.· They                 17· ·itself -- I mean, when I started with the market, Dow was
18· ·gave that time frame three years to get paid out.· So                 18· ·at a thousand.· And nobody was -- very few people were
19· ·whoever bought my book was going to have to come up with, 19· ·doing a hundred thousand gross a year.· And they had to
20· ·you know, 400,000 -- 300- -- 280,000, whatever the number             20· ·be flexible in the amounts on the wealth accumulation
21· ·is, on an annual basis.· Because of RBC's payout, they                21· ·because if they -- if they left it at the numbers that
22· ·can't really monetize the business themselves and pay me              22· ·they maybe originally started with, you know, 10 years
23· ·also.                                                                 23· ·later everybody qualified.
24· · · · · · So whoever bought my book is going to be paying              24· · · · Q.· Right, because the production is correlated
25· ·me 280,000, but the book's only generating 320.· So                   25· ·with the performance?
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·1· · · · · · Do you remember whether they would forfeit       ·1· ·was there.· And it was part of --
·2· ·their WAP benefits that are invested when they left?      ·2· · · · · · · · · · · · · · · (Cell phone interruption.)
·3· · · · A.· I don't, but I'm sure they did.                  ·3· · · · · · THE WITNESS:· I'm sorry.
·4· · · · Q.· But it wasn't something you ever discussed with  ·4· · · · · · Part of the structure.
·5· ·them?                                                     ·5· · · · · · MR. RUSSELL:· You want to grab it?
·6· · · · A.· No, no.                                          ·6· · · · · · THE WITNESS:· No, I would just silence it, but
·7· · · · Q.· How about when you left RBC in 2012 and you had  ·7· ·if you don't mind it ringing for a second --
·8· ·been recruited by Mr. Paul; did the two of you discuss    ·8· · · · · · MR. RUSSELL:· Okay.
·9· ·what would happen with your WAP benefits when you left?   ·9· · · · · · THE WITNESS:· -- or two.
10· · · · A.· I knew what was going to happen with my          10· · · · · · MR. RUSSELL:· Sure.
11· ·benefits.· And, yeah, we discussed it and -- you know, we 11· · · · Q.· (By Mr. Russell)· I guess my question probably
12· ·ran the numbers, and I didn't agree with it.· And a part  12· ·wasn't very clear, but when do you recall being told
13· ·of it is because when you look at some of this            13· ·formally that you were going to be forfeiting the --
14· ·documentation, it was always RBC's pitch that your        14· · · · A.· No.
15· ·payouts were greater than 50 percent because of the WAP.  15· · · · Q.· -- unvested amount?
16· ·And I always figured that that was part of my             16· · · · A.· No.· Other than this document that you showed
17· ·compensation.· And I knew, though, that I would lose what 17· ·earlier that showed the forfeiture.
18· ·I lost, but I didn't agree with it.                       18· · · · Q.· Your account statement?
19· · · · Q.· Mm-hm.· Assuming you qualified, or anyone, a     19· · · · A.· Yeah.· I didn't really know what that number
20· ·broker, qualified every year and contributed into the     20· ·would be in a finalization, but I knew it was probably
21· ·WAP, there always would have been some amount unvested, 21· ·somewhere around 300,000.
22· ·right, because each year's would have been subject to the 22· · · · Q.· Well, if we could pull out your -- your
23· ·next five years' vesting period?                          23· ·resignation letter again, it was Exhibit 22, I believe.
24· · · · A.· But if you retired, you got the fully --         24· · · · A.· (Witness complies.)
25· ·fully -- the full amount.                                 25· · · · Q.· Okay.· Did you find that?

                                                           Page 138                                                          Page 140
·1· · · · Q.· Okay.· So yes to the first question?                    ·1· · · · A.· I did.
·2· · · · A.· Yes to the first question.                              ·2· · · · Q.· This is on the letterhead and -- and signed
·3· · · · Q.· The vesting accelerated if you --                       ·3· ·by -- letterhead of Schwartz Law Group and the attorney
·4· · · · A.· Retired.                                                ·4· ·is Todd Schwartz.
·5· · · · Q.· -- met qualifications --                                ·5· · · · · · So I take it you retained an attorney at some
·6· · · · A.· Yeah.                                                   ·6· ·point?
·7· · · · Q.· -- for retirement?                                      ·7· · · · A.· No, I didn't.· That was -- came from Northwest.
·8· · · · A.· Yeah.                                                   ·8· · · · Q.· And can you describe what you mean by that?
·9· · · · Q.· Okay.· When you had the discussions with                ·9· · · · A.· He -- I'm sure he was employed by Northwest as
10· ·Mr. Paul about the WAP, what -- what did those entail?           10· ·their legal counsel, and they -- they sent out the letter
11· ·What did you talk about?                                         11· ·of resign-- -- resignation.· I didn't see it or they let
12· · · · A.· Just the fact that I -- I knew what I was               12· ·me know they were going to do it.
13· ·losing and just that what I was getting would more than          13· · · · Q.· Okay.· And it says here in this paragraph, the
14· ·make up for what I was losing.                           14· ·last full paragraph, The investment advisory firm he will
15· · · · Q.· And that's what you meant by "ran the numbers"? 15· ·be joining is a member of the protocol.
16· · · · A.· Yeah.                                                   16· · · · · · That firm would be Northwest then --
17· · · · Q.· When you say what you were getting, what does           17· · · · A.· Yes.
18· ·that mean?                                                       18· · · · Q.· -- to your understanding?
19· · · · A.· Increased payout, ability to run our own firm.          19· · · · A.· Yes.
20· · · · Q.· Okay.· Anything else that you remember?                 20· · · · Q.· Okay.
21· · · · A.· No.                                                     21· · · · A.· This was a sad day for me.· It really was.
22· · · · Q.· At some point -- well, I should back up.                22· · · · Q.· Yeah.
23· · · · · · When -- when did you learn about your WAP               23· · · · A.· I'd been with them for a very long time, and
24· ·forfeiture?                                                      24· ·I'd been intimately involved with everybody at RBC and
25· · · · A.· I think most people already -- always knew it           25· ·the growing of RBC and Dain, and I didn't do it lightly.
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·1· ·We're now back on the record.
·2
·3· · · · · · MR. RUSSELL:· I don't have any more questions.
·4· · · · · · MR. ROLLER:· No questions.
·5· · · · · · THE VIDEOGRAPHER:· This concludes today's
·6· ·proceedings.· The time is 12:52 p.m.· And we're going off
·7· ·the record.
·8· · · · · · · · · · · · · · · (Signature reserved.)
·9· · · · · · · · · · · · · · · (Deposition concluded at
10· · · · · · · · · · · · · · · ·12:52 p.m.)
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                                                                      25· · · · · · · · · · BRIAN W. BUSKIRK
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                              Amended and Restated
                                 Royal Bank of Canada

                              US Wealth Accumulation Plan


                                    And Prospectus




                  The date of this document is NOVEMBER 1, 2010




                           This document constitutes part of
                            a prospectus covering securities
                            that have been registered under
                               The Securities Act of 1933




                                                                    RBC Financial Group




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                                                SECTION 1
                                              INTRODUCTION

              1.1    General Nature and Purpose of the Plan. The Royal Bank of Canada US
      Wealth Accumulation Plan (the "Plan") is a nonqualified, deferred compensation plan pursuant to
      which a select group of management or highly compensated employees of the Royal Bank of
      Canada (the "Company") and its Participating Subsidiaries (collectively, the "Employers") may
      be offered the opportunity to elect to defer receipt of a portion of their compensation to be earned
      with respect to the upcoming Plan Year. The Plan is designed to provide an opportunity for such
      employees to invest a portion of their compensation in tax-deferred savings and investment
      options in an effort to support long-term savings and allow such employees to share in the
      Company's growth and profitability, if any. The Plan was formerly known as the RBC Dain
      Rauscher Wealth Accumulation Plan, was amended and restated effective for the Plan Year
      beginning on January 1, 2005, was further amended and restated effective for the Plan Year
      beginning on January 1, 2007, was further amended and restated effective for the Plan Year
      beginning on January 1, 2008, was further amended and restated effective for the Plan Year
      beginning on January 1, 2010 and is hereby further amended and restated effective for the
      Plan Year beginning on January 1, 2011. This Plan restatement supersedes all prior versions of
      the Plan and any deferrals or contributions made pursuant to a prior version of the Plan will be
      governed by this Plan.

             1.2     Definitions.

                     "Account Balance" means, for any given date, a Participant's Deferred
       Compensation and Company Contributions, plus or minus the hypothetical investment
       performance thereon.

                      "Adverse Benefit Determination" means a claim for benefits by a Participant,
       beneficiary or personal representative that has been denied in whole or in part.

                      "Affiliate" of any specified Person means any other Person directly or indirectly
       controlling or controlled by or under direct or indirect common control with such specified
       Person. For the purposes of this definition, "control" when used with respect to any specified
       Person means the power to direct the management and policies of such Person, directly or
       indirectly, whether through the ownership of voting securities, by contract or otherwise; the
       terms "controlling" and "controlled" have meanings correlative to the foregoing.

                       "Cause" means, as determined by the Committee or its assignee, the occurrence
       of any one of the following: (a) any act of dishonesty, willful misconduct, negligence, gross
       negligence, intentional or conscious abandonment or neglect of duty; (b) any failure by the
       Employee to comply with any written policy, rule or code, including but not limited to an
       Employer's Code of Conduct or Code of Ethics, as applicable; (c) commission of a criminal
       activity, fraud or embezzlement; (d) violation of any rule or regulation of any self-regulatory
       agency with which the Employee is licensed, regardless of whether such agency takes
       disciplinary action against the Employee; (e) the loss or suspension of any license necessary to
       perform in the occupation for which Employee was hired, or the commission of any action that
       would cause Employee to become unbondable; (f) a failure to reasonably cooperate in any




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       investigation or proceeding concerning an Employer or any Employer Affiliate; (g) any
       unauthorized disclosure or use of confidential information or trade secrets; (h) any violation of
       any restrictive covenant, such as a non-compete, non-solicit or non-disclosure agreement,
       between the Participant and an Employer or any Employer Affiliate; (i) personal or professional
       conduct of Employee which, in the reasonable and good faith judgment of the Committee or its
       assignee, injures or tends to injure the reputation of an Employer or otherwise adversely effects
       the interests of an Employer; (j) failure to perform Employee's duties and obligations to a level
       required by an Employer; or (k) any other act as determined by the Committee in good faith;
       provided, however, that in the event an Employee is party to an employment agreement with an
       Employer that contains a different definition of Cause, the definition of Cause contained in such
       employment agreement will be controlling.

                       "Change in Control" means the Company's sale of (a) at least 75% of the equity
       or (b) all or substantially all of the assets of a Participating Subsidiary to a person or entity (or a
       collection of Persons or entities acting as a group) that is not a Company Affiliate, other
       Employer or Employer Affiliate. A Change in Control will be deemed to have occurred only if
       such transaction meets the requirements of a "change in control" (as described in Treasury
       Regulation § 1.409A-3(i)(5)) with respect to the Participating Subsidiary.

                      "Code" means the U.S. Internal Revenue Code of 1986, as amended, and includes
       the regulations and guidance in effect thereunder.

                     "Committee" means the Head of Human Resources, or those executives
       designated by the Head of Human Resources to administer this Plan. The members of the
       Committee, if any, serve at the pleasure of the Head of Human Resources, who has the power to
       appoint and remove members from time to time.

                    "Company" means Royal Bank of Canada, a Schedule I bank under the Bank Act
       (Canada) with its corporate headquarters in Toronto, Ontario, Canada, and any successor or
       assign.

                    "Company Contribution" means additional contributions that may be made by
       the Company in the form of a Matching Contribution or a Discretionary Contribution.

                      "Deferred Compensation" means, with respect to each Participant, the sum of
       his or her Voluntary Deferred Compensation and Mandatory Deferred Compensation.

                       "Disability" means the Participant's injury or illness that both (a) qualifies him or
       her for benefits under a long-term disability plan covering eligible employees of the Participant's
       Employer and (b) causes the Participant to be absent from his or her employment with his or her
       Employer for a continuous period of not less than 12 months.

                         "Discretionary Contribution" means a Company Contribution described in
       Section 2.6(b).

                      "Election Form" means the eligible Employee's written election setting forth
       (a) the percentage of an Employee's Gross Cash Compensation he or she elects to defer, (b) the


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       distribution dates for his or her Deferred Compensation and Company Contributions, and
       (c) such other information as determined by the Committee.

                      "Employee" means an individual classified as a common law employee by, and
       on the payroll of, an Employer.

                      "Employers" means the Company and Participating Subsidiaries.

                     "ERISA" means the Employee Retirement Income Security Act of 1974, as
       amended, and includes the regulations and guidance in effect thereunder.

                      "FICA" means the Federal Insurance Contribution Act.

                       "Fund Addition Date" means such times as interest or dividends are paid or
       other distributions are made in connection with a Mutual Fund.

                      "Gross Cash Compensation" has the meaning ascribed to "Recognized
       Compensation" under the Qualified Plan on the first day of each Plan Year to which an election
       to defer compensation relates. Gross Cash Compensation is Recognized Compensation that is
       earned by an Employee for services rendered during a Plan Year, whether or not paid in such
       Plan Year, and includes any amounts an Employee contributes to the Qualified Plan or an
       employer-sponsored cafeteria plan from his or her total compensation. If an Employee so elects
       at the time of entering into a business transition plan with an Employer, payments from a
       business transition plan are included in Gross Cash Compensation. The preceding sentence is
       applicable only for business transition plans entered into on or after January 1, 2007.

                     "In-Service Payment Date" means a distribution date, as elected by the
       Employee on his or her Election Form, that occurs while the Participant is an Employee (or an
       employee of an Employer Affiliate).

                       "Mandatory Deferred Compensation" means the percentage of an Employee's
       Gross Compensation that the Committee may, from time to time and in its sole and absolute
       discretion, designate as a required deferral to the Plan for such Employee.

                      "Matching Contribution" means a Company Contribution described in Section
       2.6(a).

                      "Matching Threshold Amount" means an amount of Deferred Compensation, as
       determined by the Committee with respect to each Plan Year, that is credited to a Participant's
       account during such Plan Year that may be eligible for a Matching Contribution in accordance
       with standards and guidelines determined annually by the Committee.

                    "Mutual Funds" means any of the mutual funds that have been selected by the
       Committee, as supplemented, replaced or eliminated from time-to-time at the discretion of the
       Committee.

                      "Mutual Fund Price" means, unless otherwise determined by the Committee, the
       daily reported closing price of an interest in, or units of, the Mutual Funds.


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                     "NYSE" means the New York Stock Exchange.

                     "Participant" means an individual who has an Account Balance.

                      "Participating Subsidiary" means a corporation, now or in the future, affiliated
       with the Company that adopts, or has adopted, the Plan. No corporation may become a
       Participating Subsidiary without prior consent of the Committee. Such participation is subject to
       such limitations as the Committee may impose and will cease upon a Change in Control of such
       Participating Subsidiary.

                       "Person" means any individual, sole proprietorship, corporation, partnership,
       joint venture, limited liability company, association, joint-stock company, trust, unincorporated
       organization, institution, public benefit corporation, entity or government instrumentality,
       division, agency, body or department.

                       "Plan" means the Royal Bank of Canada US Wealth Accumulation Plan, as set
       forth in this document and as amended from time to time.

                     "Plan Interest Rate" means an interest rate determined from time to time by the
       Committee.

                      "Plan Obligor" means the party that is responsible for satisfaction of amounts
       payable to Participants.

                     "Plan Year" means, with respect to a particular year, the 12-month period
       beginning January 1 and ending December 31 of such year.

                    "Qualified Plan" means the RBC-U.S.A. Retirement and Savings Plan, as
       amended from time to time.

                   "Retirement" means the Separation of a Participant whose age and years of
       employment (as determined using the service rules set forth in the Qualified Plan) with the
       Employers when combined equals 60.

                      "Separation" means the separation of employment from the Employers or any
       Employer Affiliate, as the case may be, of a Participant, other than due to such Participant's
       death, Disability or termination for Cause pursuant to the terms set forth herein. Transfers of
       employment among the Employers and their Affiliates will not be a "Separation" for purposes of
       this Plan, and any Separation must constitute a "separation from service" under Code Section
       409A.

                       "Valuation Date" means the business day that falls on or immediately after
       July 1 of each year that a distribution is due a Participant.

                      "Voluntary Deferred Compensation" means the portion or percentage of an
       Employee's Gross Compensation that the Employee elects to defer to the Plan in accordance
       with Section 2.2.



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              1.3     Rules of Interpretation. Whenever appropriate, words used herein in the singular
      may be read in the plural, or words used herein in the plural may be read in the singular; the
      masculine may include the feminine and the words "hereof," "herein" or "hereunder" or other
      similar compounds of the word "here" mean and refer to this entire Plan and not to any particular
      paragraph or section of this Plan unless the context clearly indicates to the contrary. The titles
      given to the various sections of this Plan are inserted for convenience of reference only and are
      not part of this Plan and they will not be considered in determining the purpose, meaning or intent
      of any provision hereof. Any reference in this Plan to a statute or regulation will be considered
      also to mean and refer to any subsequent amendment or replacement of that statute or regulation.

                                          SECTION 2
                              DEFERRALS AND DEEMED INVESTMENTS

             2.1     Eligibility.

                       (a)    Employees eligible to participate in the Plan are any of the select group of
               management or highly compensated employees of an Employer whose compensation or
               production otherwise exceeds a level deemed appropriate by the Committee and who are
               invited to become Participants by the Committee.

                      (b)     No deferrals, Company Contributions or other benefits are available under
               the Plan, other than deferrals, Company Contributions or other benefits in respect of
               services rendered to the Employers by an Employee:

                             (i)    who is a non-resident of Canada for purposes of the Income Tax
                      Act (Canada) throughout the period during which the services were rendered; or

                              (ii)   other than services that were primarily (A) rendered in Canada;
                      (B) rendered in connection with a business carried on by an Employer in Canada;
                      or (C) a combination of services described in (A) and (B).

                       (c)     Notwithstanding anything in the Plan to the contrary, individuals who are
               employees of a "nonqualified entity," as that term is described under Code Section 457A,
               are not eligible to participate in the Plan. No deferrals, Company Contributions or other
               benefits are available under the Plan with respect to compensation for services rendered
               by such an employee.

             2.2    Election to Voluntarily Defer Compensation. Eligible Employees may enroll in
      the Plan by electing to make Voluntary Deferred Compensation contributions for the next
      succeeding Plan Year. The Committee has the discretion to limit the amount of Voluntary
      Deferred Compensation or the amount of Gross Compensation that may be taken into account for
      making Voluntary Deferred Compensation contributions. Elections must be made no later than
      December 31 of the year immediately preceding the year in which such Voluntary Deferred
      Compensation will be earned; provided, however, that subject to such changes as may be
      determined by the Committee, a new Employee who is eligible to participate in the Plan has 30
      days from such Employee's hiring date to submit an Election Form for such Plan Year. For a
      given Plan Year, an election to defer compensation is irrevocable after it is accepted by the
      Committee. An election by an Employee who is first eligible to participate in the Plan during a

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      given year becomes effective beginning the first day of the month following the date such
      Election Form is submitted and accepted by the Committee.

               The Committee will from time to time establish the maximum percentage of a
       Participant's Gross Cash Compensation that he or she may elect to defer under the Plan.
       Voluntary Deferred Compensation will be deferred by payroll reduction.

             2.3     Mandatory Deferral of Compensation. On each payroll date, the Employers will
      reduce each eligible Employee's Gross Compensation by any Mandatory Deferred Compensation
      and contribute it to the Plan on such Employee's behalf.

              2.4    Election of Investments. On each Plan Year's Election Form, a Participant (or
      Employee for the first Election Form) may choose the form of the hypothetical investment of his
      or her Deferred Compensation by electing to credit such deferrals for any Plan Year to one or
      more of the hypothetical investments established by the Committee. The available hypothetical
      investments are described in SECTION 3. If a Participant fails to elect how deferrals are deemed
      to be invested, such Deferred Compensation will be deemed to be invested at the Plan Interest
      Rate.

               Accounts for Participants will be established for bookkeeping purposes only and will not
       be considered as, or as evidence of the creation of, a trust fund or a transfer or other segregation
       of assets for the benefit of the Participants or their estates. Such accounts will be established and
       credited with the appropriate amounts as provided for in the Plan as of the end of each business
       day, or in the case of any Company Contributions determined after the end of the Plan Year, on
       or around the last day of February following the end of the Plan Year. Amounts deemed credited
       to a Participant's account in cash will not be credited with interest, and will not be deemed to be
       invested in any interest-bearing item.

              2.5     Intra-Plan Transfers. Subject to such rules as the Committee, from time to time
      and in its sole and absolute discretion, may impose, a Participant may elect to have all or a portion
      of his or her Account Balance transferred to any other type of hypothetical investment.
      Participants may initiate an intra-Plan transfer by submitting a request in writing to the Company
      in such form as the Committee determines. Requests made during any month to transfer Account
      Balances into another hypothetical investment will be honored at the time/times determined by
      the Committee.

             2.6     Company Contributions. The Committee will establish whether and the extent to
      which a Participant is eligible for one or more of the following types of Company Contributions:

                       (a)   Matching Contributions. The Company may make Matching
               Contributions equal to a percentage of a Participant's Voluntary Deferred Compensation
               up to the Matching Threshold Amount, subject to the following:

                             (i)      The Matching Threshold Amount and related Matching
                      Contributions may vary with certain performance-based measures established by
                      the Participating Subsidiary, or such other performance factors as determined by
                      the Committee. The Matching Threshold Amount will be based on a performance
                      grid approved annually by the Committee and distributed to each Participant.

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                             (ii)   If a Participant is entitled to a Matching Contribution, after the end
                      of the Plan Year (or at such other time as the Committee, in its sole discretion,
                      determines) his or her account will be deemed to have been allocated the number
                      of Company common shares, including fractional shares, resulting from dividing
                      the amount of such Matching Contribution by the closing price per Company
                      common share on the NYSE as reported on the day of crediting.

                              (iii)   The Participant may diversify his or her Matching Contributions
                      and related investment returns from a deemed investment in Company common
                      shares at any time after the Participant reaches age 55 or, if earlier, upon the
                      Participant's Separation, provided that the applicable Employer classifies such
                      Separation as "retirement" on the applicable separation from service forms. For
                      this purpose, classification as "retirement" is not necessarily a "Retirement," as
                      used in this Plan.

                   (b)    Discretionary Contributions. The Company may make Discretionary
           Contributions in such other amount as determined by the Committee in its sole discretion.
           The Discretionary Contribution amount may vary from Participant to Participant and may
           be made based on any criteria, including recommendations from a Participating
           Subsidiary, as determined by the Committee. If a Participant is entitled to a Discretionary
           Contribution, his or her account will be deemed to have been allocated the amount of
           such Discretionary Contribution on the date determined by the Committee. Such
           Discretionary Contribution will be invested as determined by the Committee in its
           discretion, but may be based on any election by such eligible Participant, and may be
           changed by the Participant at any time.

                                     SECTION 3
                   INFORMATION CONCERNING INVESTMENT ALTERNATIVES

           3.1       Company Common Shares.

                       (a)    Company Common Shares. For any Plan Year, in connection with a
               Participant's election to have a portion of his or her Deferred Compensation credited
               toward Company common shares, such Participant's account will be deemed to have
               been allocated the number of Company common shares, including fractional shares,
               resulting from dividing such portion of the Participant's Deferred Compensation and
               Company Contributions allocated to the investment in Company common shares by the
               closing price per Company common share on the NYSE as reported on the day of
               crediting.

                       (b)    Dividends on Company Common Shares. At such times as the Company
               declares dividends on its common shares, an amount equal to the number of Company
               common shares credited to a Participant's account on the record date multiplied by the
               declared dividend per share in U.S. dollars (such dividend to be calculated without taking
               into account any and all Canadian withholding taxes to which such dividend might be
               subject, if actually paid) will be credited, on the payment date, to such Participant's
               account in cash (if dividends are paid in cash) or in Company common shares (if


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               dividends are declared in common shares), or in such other property determined by the
               Committee.

                       (c)     Additional Purchases of Company Common Shares. All amounts credited
               to a Participant's account as a result of cash dividends will be used on a daily basis (or on
               such other date as determined by the Committee in its sole discretion) to purchase
               hypothetical Company common shares. The number of additional Company common
               shares credited to each Participant's account after the end of each day due to the
               hypothetical purchases described in this paragraph will be equal to the number of
               Company common shares, including fractional shares, derived by dividing the total
               amount of cash credited to the Participant's account as described in this Section 3.1 by
               the closing price per Company common share on the NYSE as reported on the date of the
               hypothetical purchase of the Company common shares credited to such Participant's
               account under this Section 3.1.

             3.2  Plan Interest Rate. Participants may elect to have all or a portion of their
      Deferred Compensation invested at the Plan Interest Rate.

             3.3     Mutual Funds.

                      (a)    Mutual Funds. A Participant who is eligible to diversify their Account
               under Section 2.6(a)(iii) may elect to have all or a portion of their Deferred
               Compensation, Discretionary Contributions, and Matching Contributions deemed
               invested in one or more Mutual Funds. A Participant's account will be allocated the
               number of units (including fractional units) of a Mutual Fund equal to the portion of his
               or her Account Balance allocated to investments in Mutual Funds divided by the Mutual
               Fund Price.

                      (b)    Interest or Dividends on Mutual Funds. On each Fund Addition Date, a
              determination will be made as to the number of units (including fractional units) of the
              Mutual Fund that will be credited to a Participant's account as of the Fund Addition Date.
              On the Fund Addition Date, an amount equal to the number of units of the Mutual Fund
              credited to a Participant's account multiplied by the amount of the interest or dividend per
              unit of the Mutual Fund will be credited to such Participant's account, or other fund
              determined by the Committee. Interest payments or other distributions will be deemed
              reinvested in additional units of the Mutual Fund at prevailing market prices on the Fund
              Addition Date.

             3.4     Valuation. Except for changes resulting from intra-Plan transfers described in
      Section 2.5, the notional value of a Participant's accounts will be updated daily to reflect any
      increases or decreases in the value of the Participant's hypothetical investment.

              The account of a Participant with a hypothetical investment in Mutual Funds will be
       debited by an amount representing a quarterly fee. The amount of the quarterly fee will be
       determined by multiplying the value of the Participant's hypothetical investment in Mutual
       Funds, as described above, by a decimal determined by the Committee, which for 2009 is



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       0.000625. The Committee will from time to time review this calculation and may change the
       decimal factor used in this calculation.

                                                 SECTION 4
                                                  VESTING

           4.1     Vesting of Voluntary Deferred Compensation.                 All Voluntary Deferred
      Compensation recorded in a Participant's account will be fully vested at all times.

              4.2    Vesting of Mandatory Deferred Compensation and Company Contributions.
      Mandatory Deferred Compensation and Company Contributions in a Participant's account will
      vest on the date or dates determined by the Committee, in its sole discretion. The Committee will
      announce any prospective change in the vesting schedule with respect to Mandatory Deferred
      Compensation and Company Contributions (and the related investment returns, if any) prior to
      December 31 of the year preceding each new Plan Year. Unless otherwise amended by the
      Committee, all time period measurements for the vesting schedules established by the Committee
      will begin on January 1 of the Plan Year following the Plan Year to which a Company
      Contribution relates. Notwithstanding the foregoing, a Participant's Mandatory Deferred
      Compensation and Company Contributions will immediately vest in full upon:

                     (a)     the death or Disability of such Participant while an employee of an
               Employer or an Employer Affiliate; or

                      (b)    the Separation of a Participant, who prior to Separation and with the
              consent of his or her Employer, has (i) entered into a business transition agreement with
              the Private Client Group or (ii) met the requirements under the Plan for Retirement and
              who has entered into a non-competition, non-solicitation and related agreement at the
              request of the Participant's employer in the form then approved by the Committee. The
              non-competition agreement will require a Participant, for at least a one-year period, to
              refrain from participating, directly or indirectly, in any business in which an Employer is
              engaged at the time of such Participant's Separation in any geographic area in which the
              Employer, as appropriate, is competing at such time.

              4.3     Termination For Cause. Notwithstanding anything to the contrary in this
      SECTION 4, if a Participant is involuntarily terminated for Cause from an Employer or an
      Employer Affiliate at any time prior to the distribution of his or her Account Balance, upon such
      Participant's Separation, all of his or her Mandatory Deferred Compensation and Company
      Contributions will be forfeited, regardless of whether the vesting schedule has otherwise been
      satisfied with respect to such shares or assets, and the proceeds thereof will be deemed returned to
      the Company. The Committee has full discretionary authority to determine whether a Participant
      was terminated for Cause, and, if (a) a Participant has a voluntary Separation, and (b) the
      Committee thereafter determines that the Participant could have been involuntary terminated by
      an Employer or Employer Affiliate for Cause, then the Participant will be treated as though he or
      she was involuntarily terminated for Cause for all purposes of this Plan.

            4.4   Terminations Due to Restructuring. In the event a Participant ceases to be
      employed by the Employers and their Affiliates due to an organizational restructuring (as


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      determined in the sole discretion of the Committee), all Mandatory Deferred Compensation in
      such Participant's account will become vested, but all unvested Company Contributions will be
      forfeited.

              4.5    Change in Control. In the event of a Change in Control of a Participating
      Subsidiary, each Participant who is employed by such Participating Subsidiary immediately prior
      to the date on which the Change in Control is consummated and who, due to the Change in
      Control (as determined by the Committee), is no longer employed by an Employer immediately
      after the Change in Control will become vested in his or her Mandatory Deferred Compensation
      and Company Contributions as follows:

                     (a)    Minimum Vesting. The unvested portion of each affected Participant's
              Mandatory Deferred Compensation and Company Contributions will be vested pro rata,
              based on the period of time that has elapsed from the effective date of the contribution to
              the date of the Change in Control relative to the total vesting period related to such
              contribution. Before a Change in Control event, the Committee will establish a
              reasonable method for calculating the pro rata portion of each affected Participant's
              Account Balance.

                       (b)    Discretionary Vesting. The Board has the discretionary authority to vest
               any amount held in an affected Participant's account that remains unvested after the
               application of paragraph (a) above. In making its determination, the Board may consider
               the terms of the transaction governing the Change in Control, the financial impact on the
               Employers, and any other factors it deems relevant to its determination.

              4.6     Forfeitures. Except as otherwise specifically set forth herein, all Company
      Contributions and Mandatory Deferred Compensation and related deemed investment returns that
      are not vested on the Participant's Separation date will be deemed forfeited, and such
      Participant's account will be appropriately reduced.

                                                 SECTION 5
                                               DISTRIBUTIONS

              5.1    Distributions. Except as otherwise described below, upon electing to participate
      in the Plan for a Plan Year, a Participant will also make an election with respect to the timing of
      the payment of the amounts credited to such Participant's account for such Plan Year.

             5.2     Distribution Dates.

                        (a)   Distribution Pursuant to the In-Service Payment Date. If the Participant
               selected an In-Service Payment Date, then subject to this SECTION 5 and any other
               terms and conditions the Committee may impose, distributions will be made in a single
               payment in the specified year promptly after, but in no event after the 90th day following,
               July 1 of such year. With the consent of the Committee, a Participant may change the In-
               Service Payment Date pursuant to the procedures established by the Committee and the
               restrictions under Code Section 409A, which generally require making a written request
               more than 12 months in advance of the In-Service Payment Date and selecting a new In-
               Service Payment Date that will occur at least five years after the originally selected date.

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                  (b)    Distribution on Separation or Retirement.

                          (i)    If (A) the Participant elected payment on Separation on his or her
                  Election Form or (B) if such Separation occurs prior to the otherwise scheduled
                  In-Service Payment Date, then subject to this SECTION 5 and any other terms
                  and conditions the Committee may impose, the Participant's Account Balance will
                  be distributed due to Separation, less any amount owed by the Participant to an
                  Employer at the time of Separation pursuant to a promissory note or otherwise
                  incurred in the normal course of business; provided, however, that any offset is
                  limited to $5,000 and will occur at the same time and in the same amount as the
                  debt otherwise would have been paid by the Participant.

                          (ii)   If distribution is made due to Separation, distributions will be
                  made in either a lump sum payment or in installments, as selected by the
                  Participant on his or her Election Form. Available forms of distribution include a
                  single lump sum or, if a Participant meets the requirements for Retirement at the
                  time of Separation, substantially equal annual installments for up to ten years.

                          (iii) Any single lump sum payment and the first installment of any
                  series of installment payments will be made promptly after, but in no event after
                  the 90th day following, the July 1 of the Plan Year that begins following the year
                  of Separation, and each annual installment will occur promptly after, but in no
                  event after the 90th day following, the July 1 of each year thereafter. Subject to
                  reduction as set forth in clause (i) above, each installment will be equal to a
                  fraction of all vested amounts deemed allocated to the Participant's account, the
                  numerator of such fraction being one and the denominator being the number of
                  installments remaining to be paid. For example, if the Participant has elected five
                  annual installments, the first installment will be equal to one-fifth of the
                  Participant's total vested Account Balance on the date such Account Balance is
                  valued for purposes of the first payment date and the second installment will be
                  equal to one-fourth of the Participant's account on the date such account is valued
                  for purposes of the second payment date, etc.

                          (iv)   If the Participant did not indicate a distribution date on his or her
                  Election Form, or if the Election Form was not timely filed, then distribution of
                  the Account Balance will be made promptly after, but in no event after the 90th
                  day following, the July 1 immediately after the date of vesting.

                          (v)    Distributions pursuant to this section will be made pro-rata from all
                  of a Participant's hypothetical investments.

                          (vi)    For purposes of Code Section 409A, each installment payment will
                  be treated as a separate single payment.

                  (c)     Distributions Following Death or Disability. Distributions following
           death will follow the procedures set forth in Section 5.5. Distributions following
           Disability will be made in a single payment to the Participant promptly after, but in no


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              event after the 90th day following, the date the Participant satisfies the definition of
              Disability.

                      (d)    Other .

                             (i)     The Committee reserves the right to distribute accounts and
                      terminate participation of Participants who transfer employment outside of the
                      United States; provided, however, that no acceleration of distribution will be
                      made in contravention of Code Section 409A.

                              (ii)    Notwithstanding anything to the contrary in this Section 5.2, but
                      subject to Section 5.3, all Deferred Compensation and Company Contributions
                      contributed to this Plan during a period when a Participant was deemed a "special
                      participant" under a prior version of this Plan will be distributed in full promptly
                      after, but in no event after the 90th day following, the July 1 of the sixth Plan Year
                      following the Plan Year for which the contribution is made. The Participant's
                      account will be valued as of the Valuation Date on or immediately preceding the
                      distribution date.

              5.3     Distribution Due to a Change In Control. If, as a result of a Change in Control,
      a Participant's employer that is a Participating Subsidiary ceases to be a Participating Subsidiary
      under the Plan, each Participant who is employed by such Participating Subsidiary immediately
      prior to the date on which the Change in Control is consummated and who, due to the Change in
      Control (at the determination of the Committee), is no longer employed by a Participating
      Subsidiary immediately after the Change in Control will receive his or her vested Account
      Balance on the date on or promptly after, but in no event after the 90th day following, the date the
      Change in Control is consummated.

             5.4     Form of Distributions.

                      (a)    Distributions of Company Common Shares.

                             (i)     All distributions of hypothetical investments in Company common
                      shares will be in the form of Company common shares, less the number of
                      common shares equal to the minimum amount necessary to satisfy withholding
                      requirements with respect to all applicable federal, state and local taxes. Any
                      Company common shares distributed under the Plan will be Company common
                      shares that have been previously issued and that are currently trading in the
                      market, or, subject to the approval of the Board of Directors of the Company and
                      any required regulatory and shareholder approvals, authorized but previously
                      unissued Company common shares;

                              (ii)   The value of each Company common share credited to a
                      Participant's account will be equal to the closing price per Company common
                      share on the NYSE as reported for the Valuation Date; and

                              (iii) All distributions will be in the form of whole Company common
                      shares. Fractional shares, if any, will be distributed in cash.

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                       (b)     Distributions of Investments in Mutual Funds. A Participant's hypothetical
               investment in mutual funds will be distributed in cash, less the amount of cash necessary
               to satisfy withholding requirements with respect to all applicable federal, state and local
               taxes. The value of a Participant's hypothetical investment in Mutual Funds will be
               determined by multiplying the total number of units of the Mutual Fund credited to the
               Participant's account by the Mutual Fund Price, in each case, measured as close as
               practicable to the Valuation Date.

                       (c)     Distributions of Investment in the Plan Interest Rate. A Participant's
               hypothetical investment in the Plan Interest Rate will be distributed in cash, less the
               amount of cash needed to satisfy withholding requirements with respect to all applicable
               federal, state and local taxes.

              Notwithstanding Section 5.4(b) or           as applicable, the Committee, in its sole and
       absolute discretion, may cause distributions with respect to a Participant's Account Balance to be
       made, at the Company's option, in Company common shares that have been previously issued
       and that are currently trading in the market, or, subject to the approval of the Board of Directors
       of the Company and any required regulatory and shareholder approvals, authorized but
       previously unissued shares; the value of all such shares will be equal to the closing price per
       Company common share on the NYSE as reported for the Valuation Date.

              5.5     Distributions to Beneficiaries. Distribution of the Account Balance of a
      Participant who dies before any payment to such Participant is made will be made to such
      Participant's beneficiary or the Participant's estate in a single lump sum as of the date of the
      Participant's death. If the Participant dies after payments have commenced but before distribution
      is completed, the Participant's remaining Account Balance will be distributed to the Participant's
      beneficiary in lump sum after the Participant's death. For purposes of complying with Code
      Section 409A, such distribution will occur by the end of the calendar year in which the death
      occurs or by the fifteenth day of the third month following the date of death, if later.
      Notwithstanding the foregoing sentence, if the Committee is not timely notified of the death of
      the Participant and therefore cannot reasonably begin or make payments by the distribution
      deadline required by Code Section 409A, a lump sum distribution will be made to the beneficiary
      as soon as possible following the Committee's receipt of the death notification, subject to any tax,
      interest, and penalties imposed by Section 409A.

             5.6     Designation of Beneficiary. Each Participant has the right to designate in writing,
      in form satisfactory to the Committee, one or more beneficiaries to receive the unpaid vested
      balance of the Participant's account in the event of such Participant's death, and may change or
      revoke any prior beneficiary designation by a similar instrument in writing. Any beneficiary
      designation must be received by the Committee before the Participant's death. Any beneficiary
      designation of a Participant's spouse will be made void in the event of a divorce, unless either a
      binding court order provides otherwise or the Participant redesignates his or her former spouse as
      the beneficiary. If a Participant fails to designate a beneficiary or, having revoked a prior
      beneficiary designation, fails to designate a new beneficiary, or in the event the Participant's
      beneficiary designation fails, in whole or in part, by reason of the prior death of a designated
      beneficiary, divorce or for any other cause, then the undistributed vested balance of the



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      Participant's account, or the portion thereof as to which such designation fails, as the case may be,
      will be paid to the Participant's estate.

              5.7     Disclaimers by Beneficiaries. A beneficiary entitled to a distribution of all or a
      portion of a deceased Participant's accounts may disclaim his or her interest therein subject to the
      following requirements. To be eligible to disclaim, a beneficiary must be a natural person, must
      not have received a distribution of all or any portion of such accounts at the time such disclaimer
      is executed and delivered, and must have attained at least 21 years of age as of the date of the
      Participant's death. Any disclaimer must be in writing and must be executed personally by the
      beneficiary before a notary public. A disclaimer will state that the beneficiary's entire interest in
      the undistributed accounts is disclaimed or will specify what portion thereof is disclaimed. To be
      effective, duplicate original executed copies of the disclaimer must be both executed and actually
      delivered to the Committee after the date of the Participant's death but not later than 180 days
      after the date of the Participant's death. A disclaimer will be irrevocable when delivered to the
      Committee. A disclaimer will be considered to be delivered to the Committee only when actually
      received by the Committee. The Committee will be the sole judge of the content, interpretation
      and validity of a purported disclaimer. Upon the filing of a valid disclaimer, the beneficiary will
      be considered not to have survived the Participant as to the interest disclaimed and any
      distribution made to the beneficiary will be reversed. A disclaimer by a beneficiary will not be
      considered to be a transfer of an interest in violation of the provisions of SECTION 6 and will not
      be considered to be an assignment or alienation of benefits in violation of any law prohibiting the
      assignment or alienation of benefits under this Plan. The Committee will not recognize any other
      form of attempted disclaimer.

             5.8     Federal Income Tax.

                      (a)    Tax Consequences of Participating in the Plan. The Plan provides that the
              election to defer any portion of a Participant's compensation, and the establishment of a
              fixed date or schedule for payment, is made prior to the performance of the personal
              services for an Employer to which the compensation relates. Accordingly, the Company
              believes that Participants are not expected to recognize either the deferred amounts or the
              Company Contributions as ordinary income for federal income tax purposes until such
              amounts are actually paid or distributed to them by the Company; provided, that, such
              amounts may still be subject to FICA taxes when deferred to the Plan. Similarly, the
              Company is not expected to be allowed any income tax deduction on account of the Plan
              until, and for its taxable year in which, a Participant recognizes ordinary income
              hereunder, to the extent such amount satisfies the general rules concerning deductibility
              of compensation. As described above and in Section 5.9 below, it is expected that the
              Company will be required to withhold or otherwise collect income and other payroll
              taxes upon such amounts as required under Code Section 3402 and certain other Code
              sections.

                      (b)     Compliance with Code Section      409A. Except as specifically provided in
               Section 5.5, it is intended that any income or payments to a Participant provided pursuant
               to this Plan will not be subject to the additional tax and interest under Code Section
               409A. The provisions of the Plan will be interpreted and construed in favor of complying



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              with any applicable requirements of Code Section 409A necessary to avoid the
              imposition of additional tax, interest or penalties under Code Section 409A.

                      (c)     Participants Should Consult Their Tax Advisors. Due to the complexity of
              the applicable provisions of the Code, this summary of certain federal income tax
              consequences sets forth only the general tax principles affecting the Plan. These general
              tax principles are subject to changes that may be brought about by subsequent legislation
              or by regulations and administrative rulings, which may be applied on a retroactive basis.
              Neither the Company nor any Participating Subsidiary has obtained, and as a result of
              various provisions the Plan is not eligible for, a ruling from the Internal Revenue Service
              regarding the federal income tax consequences associated with participation in the Plan.
              Participants may be subject to state or local income taxes as a result of their election to
              defer compensation pursuant to the Plan, and Participants should refer to the applicable
              laws in those jurisdictions. Accordingly, each Plan Participant should consult his or
              her own tax counsel on questions regarding tax liabilities arising upon any election
              to defer compensation pursuant to the Plan and any distributions made to such
              Participant pursuant to the Plan.

              5.9     Tax Withholding. All distribution payments will be treated as wages for tax
      purposes and therefore will be made net of all applicable income, FICA (to the extent not already
      withheld at the time of deferral), payroll and other taxes required to be withheld. In connection
      with any event that gives rise to a federal or other governmental tax withholding obligation on the
      part of the Company or any of its Affiliates relating to amounts under the Plan (including, without
      limitation, FICA tax), (a) a Participant's employer may deduct or withhold (or cause to be
      deducted or withheld) from any payment or distribution to a Participant, whether or not pursuant
      to the Plan, or (b) the Committee will be entitled to require that the Participant remit cash to the
      Company, his or her employer or any of its Affiliates (through payroll deductions or otherwise),
      in each case in an amount sufficient in the opinion of the Company to satisfy such withholding
      obligations.    Further, as permitted under Treasury Regulation § 1.409A-3(j)(4)(vi), the
      distribution of an Participant's account may be accelerated to satisfy employment taxes and wage
      withholding at the source.

              5.10 ERISA Matters. Although the Plan is not intended to be a tax-qualified plan
      under Code Section 401, the Plan might be determined to be an "employee pension benefit plan"
      as defined by ERISA. If the Plan is determined to be an "employee pension benefit plan," the
      Company believes that it constitutes an unfunded plan of deferred compensation maintained for a
      select group of management or highly compensated employees and, therefore, exempt from many
      ERISA requirements. A statement has been filed with the Department of Labor to comply with
      ERISA reporting and disclosure requirements.

                                             SECTION 6
                                       SPENDTHRIFT PROVISIONS

               Neither any Participant nor the personal representative of any Participant has any
       transferable interest in the Participant's account or any right to anticipate, alienate, dispose of,
       pledge or encumber the same prior to actual receipt of payments in accordance with the rules
       described in SECTION 4 and SECTION 5, nor will the same be subject to attachment,


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       garnishment, execution following judgment or other legal process instituted by creditors of the
       Participant or the personal representative of the Participant.

                                                SECTION 7
                                             ADMINISTRATION

              7.1     The Committee. The Plan will be administered by the Committee. The
      Committee has the full power and sole discretionary authority to make all determinations
      provided for in the Plan, including, without limitation, promulgating rules and regulations as the
      Committee considers necessary or appropriate for the implementation and management of the
      Plan as well as rules to address potential conflicts of interest and determination of a termination of
      employment due to Cause under Section 4.3; provided that the Board of Directors of the
      Company also has the full power and discretionary authority to make determinations with respect
      to the Plan having the effect of materially increasing the cost of the Plan to an Employer,
      including, without limitation, decisions regarding Company Contributions, eligibility to
      participate in the Plan, and discretionary vesting in the event of a Change in Control (as described
      in Section 4.5(b)).

             7.2    Claims Procedure. If any Participant or his or her estate is in disagreement with
      any determination that has been made for payment under this Plan, a claim may be presented to
      the Committee in accordance with procedures set forth in this SECTION 7.

               7.3    Making a Claim. The claim must be written and must be delivered to the
      Committee within 90 days the Participant or beneficiary knows or should have known of his or
      her claim for benefits. Within 90 days after the claim is delivered, the claimant will receive
      either: (a) a decision or (b) a notice describing special circumstances requiring a specified amount
      of additional time (but no more than 180 days from the day the claims as delivered) to reach a
      decision.

               In the event of an Adverse Benefit Determination, the claimant will receive a written or
       electronic notice specifying: (a) the reasons for the determination; (b) the Plan provisions on
       which the Adverse Benefit Determination is based; (c) any additional information needed in
       connection with the claim and the reason such information is needed; and (d) a description of the
       Plan's review procedures, including a statement of the Participant's right to bring a civil action
       under ERISA Section 502(a) following an Adverse Benefit Determination upon appeal. Notice
       of the claimant's right to request a review (as described in Section 7.4) will also be given to the
       claimant.

               7.4    Requesting Review of a Denied Claim. A claimant may request that a denied
      claim be reviewed. The request for review must be written and must be delivered to the
      Committee within 60 days after claimant's receipt of written or electronic Adverse Benefit
      Determination. A request for review may (but is not required to) include issues and comments
      that the claimant wants considered in the review, even if such information was not provided in the
      initial request for benefits. The claimant may examine pertinent Plan documents, including the
      records and other documentation, by asking the Committee for such documents. Within 60 days
      after delivery of a request for review, the claimant will receive either: (a) a decision; or (b) a



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      notice describing special circumstances requiring a specified amount of additional time (but no
      more than 120 days from the day the request for review was delivered) to reach a decision.

               The Committee may require the claimant to submit such additional facts, documents or
       other material as it deems necessary or advisable in making its review. The Committee will
       notify the claimant in writing or electronically of its decision. If the Adverse Benefit
       Determination is confirmed in whole or in part, the communication will set forth: (a) the specific
       reasons for the decision; (b) the specific references to the Plan provisions on which the decision
       is based; (c) a statement that the claimant is entitled to receive, upon request and free of charge,
       reasonable access to and copies of all documents, records, or other information relevant to the
       claim; and (d) a statement regarding the claimant's right to bring an action under ERISA Section
       502(a).

             7.5      In General. All decisions on claims and on reviews of denied claims will be made
      by the Committee. The Committee also reserves the right to delegate its authority to make
      decisions. The Committee may, in its discretion, hold one or more hearings. If a claimant does
      not receive a decision within the specified time, the claimant should assume the claim or appeal
      was denied on the date the specified time expired. The claimant may, at the claimant's own
      expense, have an attorney or other representative act on behalf of the claimant, but the Committee
      reserves the right to require a written authorization.

             No action at law or in equity may be brought to recover benefits or otherwise enforce the
      provisions of the Plan unless the Participant or beneficiary has exhausted all remedies under this
      SECTION 7. Any action brought after exhaustion of such remedies must be brought within
      ninety (90) days after the Participant or beneficiary has received final notice of an Adverse
      Benefit Determination under Section 7.4.

                                           SECTION 8
                                  OTHER ADMINISTRATIVE MATTERS

             8.1    Reporting. As soon as administratively feasible after each calendar quarter end,
      the Company will prepare and make available to each Participant a report showing (a) the
      amounts credited to the Participant's account since the last report from the Company, and (b) the
      amounts of any distributions made since the last report. At its discretion, the Company may
      prepare and make available more frequent reports to Participants.

             8.2     Plan Obligor; Status as Unsecured General Creditors.

                       (a)     The Company will be the Plan Obligor with respect to distributions from
               all accounts; provided, however, that the Participant's Participating Subsidiary will be the
               Plan Obligor with respect to investments of Mandatory Deferred Compensation and
               related Company Contributions thereon, except as set forth in Section 8.2(b) below.

                       (b)    The Company will be the Plan Obligor with respect to all accounts of
               Participants who are residents, for tax purposes, in California and Arizona during the Plan
               Year.



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                      (c)     All Participants are general unsecured creditors of the relevant Plan
               Obligor with respect to amounts payable pursuant to distributions from the accounts
               described in (a) and (b) above.

               As such, Participants and their estates will not have any secured or preferred interest by
       way of trust, escrow, lien or otherwise in any specific assets, of the Employers. The Plan does
       not require that any hypothetical investments under this Plan be funded by the Company. If a
       Plan Obligor, in fact, elects to set aside monies or other assets to meet its obligations under the
       Plan (there being no obligation to do so) through the creation of a trust or otherwise, such monies
       or other assets will be subject to the claims of its general creditors, and neither any Participant
       nor any beneficiary of any Participant will have a legal, beneficial or security interest therein.

              8.3    Disclaimer of Employment and Bonus Rights. The Plan is not a contract for
      employment and does not grant any employee the right to be retained in the employment of the
      Employers or to obtain any compensation. Upon dismissal or severance of employment, no
      Participant will have any right or interest under the Plan, other than as specifically provided
      herein.

              8.4     Administrative Expenses of the Plan. Participants will be responsible for all
      administrative expenses incurred with respect to this Plan and for all administrative expenses and
      other fees of this Plan (to the extent such expenses are not paid by the Company), including the
      costs of outsourced record-keeping (which expenses will be deducted proportionately among
      Participants' accounts).

              8.5    No Compensation Under the Qualified Plan. Unless the Qualified Plan
      specifically provides otherwise, no amounts of Deferred Compensation and related Company
      Contributions, if any, credited to any account of a Participant will constitute "Recognized
      Compensation" for purposes of the Qualified Plan, as such terms are defined in such plan, nor any
      other employee benefit plan of the Company or its Affiliates.

             8.6      Voting Rights. Participants' accounts under the Plan are bookkeeping accounts
      and, accordingly, Participants will not have any voting rights with respect to any common shares
      or any units or other interests in Mutual Funds deemed allocated to any Participant's account.

             8.7    Governing Law. This instrument has been executed and delivered in the State of
      Minnesota and has been drawn in conformity to the laws of that state to the extent not preempted
      by federal law and will be construed and enforced in accordance with the laws of the State of
      Minnesota.

                                           SECTION 9
                                    AMENDMENT OR TERMINATION

             9.1     Amendments to and Termination of Plan. While the Company intends for the
      Plan to continue indefinitely, it may be amended or terminated at any time by the Committee or
      the Board of Directors of the Company or by the Company, including, without limitation (a) to
      ensure that neither the Plan Obligors nor the Participants are subject to adverse Canadian or
      United States tax consequences and (b) to modify the form of distribution of Participants'
      accounts; provided, however, that no such amendment or termination will have the effect of

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      (i) reducing the vested portion of amounts already credited to a Participant's account;
      (ii) extending the time of distribution of such Participant's accounts, without the consent of such
      Participant and only in a manner permitted by Code Section 409A; or (iii) causing a violation of
      Code Section 409A. In the event of a termination of the Plan, all accounts will be deemed vested
      and amounts credited thereto will be distributed to Participants in accordance with the distribution
      guidelines under Code Section 409A.

             9.2     Merger. The Committee may cause all or part of this Plan to be merged with all
      or a part of any other nonqualified deferred compensation plan maintained by any company. If
      the Committee agrees to such a merger, the Committee will specify in writing the terms and
      conditions of such merger and may obtain such consents and agreements as it deems necessary or
      desirable.

              9.3     Applicability to Successors. This Plan will be binding upon and inure to the
      benefit of the Company and to the extent that the Company is a Plan Obligor under the Plan for
      any accounts, the Participating Subsidiaries, their successors and assigns, each Participant, his or
      her personal representatives and any beneficiaries. If the Company becomes a party to any
      merger, consolidation or reorganization, this Plan will remain in full force and effect as any
      obligation of the Company or its successors in interest.




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      BRIAN BUSKIRK, an individual, )                                          7                 * * * * *
                           )                                                   8
               Plaintiffs,    )                                                9                EXHIBIT INDEX
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 18
 19                                                                           20
                 * * * * *                                                    21
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  1       A. Mm-hmm.                                                  1   the 42 percent base commission rate; right? But for some
  2       Q. -- page 6. What are licensing fees?                      2   reason, I'm special. I want to be 45 percent"? Does that
  3       A. Every year, financial advisers have to be licensed       3   ever happen?
  4    in the state in which -- states in which they do business.     4       A. Yes.
  5    They're given an allowance based on their production level.    5      Q. And are those upward adjustments ever made?
  6           If they exceed that allowance, then they'll be          6       A. Yes.
  7    charged those licensing fees that are in excess of what the    7      Q. Why?
  8    allowance is.                                                  8       A. Whatever that special circumstance in your
  9       Q. And that -- that deduction would be made on a            9   example, executives in the -- so divisional directors,
 10    monthly basis or an annual basis?                             10   complex directors believed that that special circumstance
 11       A. The calculation is done annually, because of an         11   warranted an increase or warranted granting their request
 12    annual enrollment. I don't know if it is taken off of one     12   to have a higher payout rate.
 13    paycheck or several paychecks. I don't know.                  13      Q. And do you have any examples of what those special
 14       Q. And "client associate -- associate compensation         14   circumstances might be?
 15    sharing," does that have something to do where one client     15       A. I don't get involved in those discussions on those
 16    is shared by more than one financial adviser?                 16   decisions. I -- I'm trying to think if I have an example
 17       A. No.                                                     17   of one.
 18       Q. What is that?                                           18           An example might be, "I helped you, Divisional
 19       A. This is when we talked earlier, the CA sharing.         19   Director, with a significant recruiting effort, and I did
 20    This is a financial adviser choosing to pay $200 a month to   20   all of these things for the firm. I think for a year or
 21    their client associate. This is where that is. That's --      21   two" -- or whatever they are pitching -- "I should have a
 22    that calculation -- kind of the order of compensation, that   22   higher base rate for that." That'd be an example of an
 23    happens before we call it "commission-based earnings."        23   ex- -- a special circumstances I could see.
 24       Q. So that -- that client associate compensation           24      Q. Do you know how often that happens?
 25    sharing, that's -- that's taken off at the determination of   25              MR. RUSSELL: Object to form. You're


                                                       Page 74                                                              Page 76
  1   the commission-based earnings stage?                            1   referring to the example in the last answer or negotiations
  2      A. Yes.                                                      2   generally?
  3      Q. Let's turn to page 7, the -- where the header is          3            MR. ROLLER: I'm just -- I'm referring to
  4   "RBC U.S. Wealth Accumulation Plan Overview," and I note        4   negotiation of the base rate generally.
  5   that on the -- the bottom of that box, there's a provision      5      A. It happens -- how -- when you say "how often," I
  6   about vesting.                                                  6   can't give you a number of any point in time how many
  7          And for 2009, it reads, "The 2009 WAP productivity       7   people have it.
  8   bonus and company matches are credited to your WAP account      8          We do monitor that, and on a periodic basis, we
  9   in February of 2010 and become fully vested five years          9   would review that report of -- line by line of who has a
 10   later in January of 2015." Do you know why productivity        10   rate, when it is expiring, if it is expiring, to make sure
 11   bonuses and company matches in the WAP are vested sometime     11   that management who approved those continues to be aware of
 12   after they're credited to the account?                         12   those and is just apprized.
 13      A. I know it to be a fact. I don't know the                 13          You know, one of these could be made one year. A
 14   reasonings why.                                                14   year later, it's still there. We want to make sure that
 15      Q. Do you know, is it a retention device?                   15   they're aware that it's still there. So I can't -- I can't
 16      A. I believe so.                                            16   give you a number of how many it is. That report could be
 17      Q. And why would it be a retention device?                  17   several pages long.
 18      A. Because if somebody leaves RBC and they have money       18   BY MR. ROLLER:
 19   in the wealth accumulation plan that's subject to              19      Q. And do financial consultants coming to the firm
 20   forfeiture, they lose that -- lose those funds. So to me,      20   ever get a sign-on bonus?
 21   that's a retention advice -- a retention device to say,        21      A. Yes.
 22   "Stay with us."                                                22      Q. And how's -- how are those determined?
 23      Q. Do financial consultants have the ability to say,        23      A. There is a standard structure that our firm has
 24   "Okay. I'm -- I'm" -- let's just look at the grid on page      24   that involves a promissory note and potentially some
 25   3. "I'm a half-million dollar producer. That puts me in        25   contributions or additional notes after time. That's the


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                                                     1   almost a cover sheet for 21, but I'm not -- I'm not sure.
                                                     2      A. It is.
                                                     3      Q. So page 20 reads, "Revisit Hook Development
                                                     4   (Unvested WAP Balances)." What is "hook development"?
                                                     5      A. "Hook" is industry jargon for the retention -- a
                                                     6   retention measure of your deferred compensation plan.
                                                     7      Q. So can you tell me why the term "hook" is used?
                                                     8      A. I don't know. It's industry jargon.
                                                     9      Q. And what is the -- what is the concept?
                                                    10      A. That there is retention value in having unvested
                                                    11   WAP balances. Yeah. Retention value.
                                                    12      Q. Because if a participant leaves before vesting,
                                                    13   they don't get the balances?
                                                    14      A. Depending on the forfeiture provisions, yes.
                                                    15      Q. And on page 20, a question is posed. "When will
                                                    16   the full impact of WAP hook development be achieved for
                                                    17   Dain and TAS FCs?" Do you see that?
                                                    18      A. Mm-hmm. Yes.
                                                    19      Q. First of all, what is TAS?
                                                    20      A. Tucker Anthony Sutro. It's another wealth
                                                    21   management firm that we purchased, and close to the
                                                    22   acquisition time or just shortly after, we would still
                                                    23   measure things on who were original Dain Rauscher FAs and
                                                    24   who were those who were formerly Tucker Anthony Sutro FAs.
                                                    25         And so as they came on board, sometimes they're --


 28 (Pages 109 to 112)
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                                                     1      Q. The first comment says, "Goal - Improved Optics"?
                                                     2      A. Yes.
                                                     3      Q. Do you know what that means?
                                                     4      A. Yes.
                                                     5      Q. What does it mean?
                                                     6      A. Under the current plan -- labeled up here as
                                                     7   "current plan," so at that time -- we had a bonus,
                                                     8   productivity bonus, and we had matches on the voluntary
                                                     9   contributions. Optically, we found that financial advisers
                                                    10   thought very -- and they could very clearly understand, "My
                                                    11   productivity bonus is 5 percent," or whatever it may be.
                                                    12          It -- it wasn't optically easy for them to say,
                                                    13   "Oh, and I got another X percent of total production or,
                                                    14   you know, X percent of production in matches, things
                                                    15   that -- the other pieces the company gave to me." The
                                                    16   matches were significant, but they were, I'd say,
                                                    17   under-perceived by the field.
                                                    18          When -- when they would talk about how much our
                                                    19   plan pays a financial versus -- a financial adviser versus,
                                                    20   say, a competitor plan, they would quickly say, "Grid,
                                                    21   productivity bonus," and they would forget about trying to
                                                    22   estimate the value of these two matches.
                                                    23          So then if we changed how we paid this money by
                                                    24   saying, "We have a productivity bonus, we have an LOS --
                                                    25   length-of-service -- bonus, all based on grids that's very


                                         Page 130                                                      Page 132
                                                     1   easy to pick out a percentage," optically, the value,
                                                     2   whether it's the same amount of money, they can understand
                                                     3   better, "I'm getting X percent in commission grid, X
                                                     4   percent in a bonus, X percent in a bonus. Here's how much
                                                     5   RBC is paying me as a percent of production versus somebody
                                                     6   I might be looking at elsewhere."
                                                     7         So it's improved optics for an FA to understand
                                                     8   the total value of what they're receiving from the company.
                                                     9      Q. So is it fair to say that the -- the resources or
                                                    10   dollars, perhaps, that would have, under the -- what's
                                                    11   listed here as "Current FC" --
                                                    12      A. Mm-hmm.
                                                    13      Q. -- under the fixed match and premium match were
                                                    14   shifted over to the productivity bonus and the new
                                                    15   length-of-service bonus to boost the levels of the -- that
                                                    16   productivity bonus and add the length-of-service bonus?
                                                    17              MR. RUSSELL: Object to form.
                                                    18      A. I think the shift was primarily between moving
                                                    19   money from -- that we were paying out in the form of these
                                                    20   matches to this LOS bonus.
                                                    21   BY MR. ROLLER:
                                                    22      Q. To the length-of-service bonus?
                                                    23      A. Yes.
                                                    24      Q. And why do you say that as opposed to the
                                                    25   productivity bonus?


                                                                            33 (Pages 129 to 132)
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   1    questions. Mr. Russell may.
   2             MR. RUSSELL: I have no questions for the
   3    witness.
   4             MR. ROLLER: Thank you very much.
   5             THE WITNESS: You're welcome.
   6          (Deposition concluded at 3:00 p.m.)
   7          (Signature was reserved.)
   8
   9
  10                  * * * * *
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25

                                                      Page 146
  1               CERTIFICATE
  2
  3    STATE OF MINNESOTA
  4    COUNTY OF DAKOTA
  5
  6           I, Ryan Ziegler, a Certified Shorthand Reporter in
  7    and for the State of Washington, do hereby certify that the
  8    foregoing transcript of the deposition of Tammy Buchert,
  9    having been duly sworn, on July 12, 2017, is true and
 10    accurate to the best of my knowledge, skill, and ability.
 11           I do further certify that I am a disinterested
 12    person in this cause of action and that I am not a relative
 13    of the attorneys for any of the parties.
 14           IN WITNESS WHEREOF, I have hereunto set my hand
 15    and seal this July 21, 2017.
 16
 17
 18
 19                      ____________________________
                         RYAN ZIEGLER, RPR, CCR
 20
 21
 22
 23
 24
 25


                                                                     37 (Pages 145 to 146)
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                 Exhibit L
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                                                                                Honorable Ronald B. Leighton

 1

 2

 3

 4

 5                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 6
                                           AT TACOMA
 7

 8   MARTY PAUL, an individual; and
     BRIAN BUSKIRK, an individual,                            No. 3:16-cv-05616-RBL
 9
                                 Plaintiffs,                  STIPULATION OF FACTS
10                                                            REGARDING WAP ELIGIBILITY
               v.
11

12   RBC CAPITAL MARKETS, LLC, a
     Minnesota limited liability company;
13   ROYAL BANK OF CANADA, a
     Canadian corporation; and ROYAL
14   BANK OF CANADA US WEALTH
     ACCUMULATION PLAN, an employee
15   benefit plan,
16
                                 Defendants.
17
18

19            Plaintiffs Marty Paul and Brian Buskirk (“Plaintiffs”) and defendants RBC Capital

20   Markets, LLC, Royal Bank of Canada, and Royal Bank of Canada US Wealth

21   Accumulation Plan (“Defendants”) (Plaintiffs and Defendants collectively, the “Parties”),
22
     hereby stipulate to the following facts:1
23

24
     1
       Defendants do not by these stipulations concede that any stipulated fact is relevant in this case and reserve
25   the right in the future to dispute the relevance of such information.

26   STIPULATION OF FACTS                                                             MORGAN, LEWIS & BOCKIUS LLP
     REGARDING WAP ELIGIBILITY                                                              Attorneys at Law
     NO. 3:16-CV-05616-RBL – PAGE 1                                                       77 West Wacker Drive
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     1.      The eligibility requirements to participate in the Royal Bank of Canada U.S. Wealth

 1    Accumulation Plan (“WAP”) in 2003 were as follows:
 2
             (a)    General (“GENERAL”): 2002 Annualized Calendar Year Cash
 3                  Compensation greater than $150,000.

 4           (b)    Financial Consultants (“FINCONSULT”): 2002 Fiscal Year (“FY”)
                    Annualized Gross Production of greater than $300,000.
 5
             (c)    Fixed Income, Commissioned (“FICMCOMM”): 2002 Annualized
 6                  Calendar Year Cash Compensation of greater than $150,000.
 7           (d)    Fixed Income, Non-Commissioned (“FICMNONCOM”): 2002
 8                  Annualized Calendar Year Cash Compensation of greater than $150,000.

 9           (e)    Private Client Group (PCG) Branch Managers (“BRANCHMGR” ):
                    Title of PCG Branch Manager.
10
             (f)    SEG Directors (“DIRECTOR”): Title of SEG Director.
11
     2.      The eligibility requirements to participate in the WAP in 2004 were as follows:
12
             (a)    General (“GENERAL”): Eligible Pay 11/1/2002 through 10/31/2003 plus
13
                    FY 2003 Bonus totaling at least $150,000, or a New Hire in FY 2003 with a
14                  base salary of at least $150,000.

15           (b)    Financial Consultants (“FINCONSULT”): 2003 FY Production of greater
                    than $300,000.
16
             (c)    Fixed Income, Commissioned (“FICMCOMM”): Eligible Pay 11/1/2002
17                  through 10/31/2003 plus FY 2003 Bonus totaling at least $150,000, or a new
                    hire during FY 2003 with annualized paid compensation of at least
18
                    $150,000.
19
             (d)    Fixed Income, Non-Commissioned (“FICMNONCOM”): Eligible Pay
20                  11/1/2002 through 10/31/2003 plus FY 2003 Bonus totaling at least
                    $150,000, or a New Hire during FY 2003 with (i) a base salary of at least
21                  $150,000 or (ii) guarantee of at least $150,000 in FY 2004.
22           (e)    PCG Branch Managers (“BRANCHMGR”): Title of PCG Branch
                    Manager.
23

24           (f)    Directors (“DIRECTOR”): Title and/or designation of RBC Dain Rauscher
                    Director.
25
26   STIPULATION OF FACTS                                                 MORGAN, LEWIS & BOCKIUS LLP
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             (g)    RBC Liberty, Capital Markets, Centura and Mortgage:

 1                  (i)     Liberty and RBC Capital Markets employees (“Liberty” and
                            “CAPITAL MARKETS”): Title of Vice President level and above.
 2
                    (ii)    Centura employees (“Centura”): Title of Vice President level and
 3
                            above, as designated by RBC Banking U.S. Operating Committee,
 4                          and minimum FY 2003 Total Cash Compensation of at least
                            $150,000.
 5
                    (iii)   Mortgage employees (“Mortgage”): Title of Mortgage Loan Officer
 6                          with minimum FY 2003 Total Cash Compensation of at least
                            $150,000.
 7
     3.      The eligibility requirements to participate in the WAP in 2005 were as follows:
 8

 9           (a)    General (“GENERAL”): Eligible Pay 11/1/2003 through 10/31/2004 plus
                    FY 2004 bonus totaling at least $150,000, or a New Hire during FY 2004
10                  with a base salary of at least $150,000.

11           (b)    Financial Consultants (“FINCONSULT”): 2004 FY Production of greater
                    than $300,000.
12
             (c)    Fixed Income, Commissioned (“FICMCOMM”): Eligible Pay 11/1/2003
13
                    through 10/1/2004 plus FY 2004 bonus totaling at least $150,000, or a New
14                  Hire during FY 2004 with annualized paid compensation of at least
                    $150,000.
15
             (d)    Fixed Income, Non-Commissioned (“FICMNONCOM”): Eligible Pay
16                  11/1/2003 through 10/31/2004 plus FY 2004 bonus totaling at least
                    $150,000, or a New Hire during FY 2004 with (i) a base salary of at least
17                  $150,000 or (ii) guarantee of at least $150,000 in FY 2005.
18
             (e)    PCG Branch Managers (“BRANCHMGR”): Title of PCG Branch
19                  Manager.

20           (f)    Directors (“DIRECTOR”): Title and/or designation of RBC Dain Rauscher
                    Director.
21
             (g)    RBC Liberty, Capital Markets, Centura and Mortgage:
22
                    (i)     Liberty employees (“LIBERTY”): Title of Vice President level and
23                          above.
24
                    (ii)    Capital Markets employees (“CAPITALMKT”): FY 2004 Total
25                          Cash Compensation of at least $150,000.

26   STIPULATION OF FACTS                                                 MORGAN, LEWIS & BOCKIUS LLP
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                    (iii)   Centura employees (“CENTURA”): Title of Vice President level
                            and above, as designated by RBC Banking U.S. Operating
 1                          Committee, and minimum FY 2004 Total Cash Compensation of at
                            least $150,000.
 2

 3                  (iv)    Mortgage employees (“MORTGAGE”): Status as a commissioned
                            employee and a minimum FY 2004 Total Cash Compensation of at
 4                          least $150,000.

 5   4.      The eligibility requirements to participate in the WAP in 2006 were as follows:
 6           (a)    General (“GENERAL”): Eligible pay 11/1/2004 through 10/31/2005 plus
                    FY 2005 bonus totaling at least $150,000, or a New Hire during FY 2005
 7                  with a base salary of at least $150,000.
 8
             (b)    Financial Consultants (“FINCONSULT”): 2005 FY Production of greater
 9                  than $300,000.

10           (c)    Fixed Income, Commissioned (“FICMCOMM”): Eligible pay 11/1/2004
                    through 10/31/2005 plus FY 2005 bonus totaling at least $150,000, or a New
11                  Hire during FY 2005 with annualized paid compensation of at least
                    $150,000.
12

13           (d)    Fixed Income, Non-Commissioned (“FICMNONCOMM”): Eligible pay
                    11/1/2004 through 10/31/2005 plus FY 2005 bonus totaling at least
14                  $150,000, or a New Hire during FY 2005 with (i) a base salary of at least
                    $150,000 or (ii) guarantee of at least $150,000 in FY 2006.
15
             (e)    PCG Complex and Branch Directors (“BRANCHMGR”): Title of
16                  Branch Director or Complex Director.
17           (f)    Directors (“DIRECTOR”): Title and/or designation of RBC Dain Rauscher
18                  Director.

19           (g)    RBC Liberty, Capital Markets and Centura:

20                  (i)     Liberty employees (“LIBERTY”): Title of Vice President level and
                            above and minimum FY 2005 Total Cash Compensation of at least
21                          $150,000.
22                  (ii)    Capital Markets employees (“CAPITALMKT”): FY 2005 Total
                            Cash Compensation of at least $150,000.
23

24                  (iii)   Centura employees (“CENTURA”): Title of Vice President level
                            and above, as designated by RBC Banking U.S. Operating
25
26   STIPULATION OF FACTS                                                 MORGAN, LEWIS & BOCKIUS LLP
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                            Committee, and minimum FY 2005 Total Cash Compensation of at
                            least $150,000.
 1
             (h)    Executive Level Presidents (“STIEXEC”): Includes a small number
 2                  (approximately 4) of executive level presidents with greater than $150,000
 3                  in FY 2005 Total Cash Compensation.

 4   5.      The eligibility requirements to participate in the WAP in 2007 were as follows:

 5           (a)    Financial Consultants (“FINCONSULT”): 2006 FY Production of greater
                    than $350,000.
 6
             (b)    Financial Consultants with Production $300,000 to $350,000
 7                  (“FCENTRY”): 2006 FY Production between $300,000 and $350,000.
 8
             (c)    PCG Complex and Branch Directors (“BRANCHMGR”): Title of
 9                  Branch Director or Complex Director and (i) 2006 FY Production greater
                    than $350,000 or (ii) 2006 Benefits Salary of at least $150,000.
10
             (d)    Branch and Complex Directors with Production between $300,000 and
11                  $350,000 (“BRMGENTRY”): Title of Branch Director or Complex
                    Director and 2006 FY Production of $300,000 to $350,000.
12
             (e)    RBC General, Capital Markets, GPB, STIEXEC, Centura and Liberty:
13

14                  (i)     Liberty employees (“LIBERTY”): designation of “PL06” and
                            above and 2006 Benefits Salary of at least $150,000, including new
15                          hires during FY 2006 with the requisite job level and a base salary of
                            at least $150,000;
16
                    (ii)    Centura employees (“CENTURA”): designation of Vice President
17                          and above and 2006 Benefits Salary of at least $150,000, including
                            new hires during FY 2006 with the requisite job level and base salary
18
                            of at least $150,000;
19
                    (iii)   Non-Centura and Non-Liberty employees (“CAPITAL
20                          MARKETS” AND “STIEXEC” and “GENERAL”): 2006
                            Benefits Salary of at least $150,000, including new hires in 2007
21                          with a base salary of at least $150,000.
22           (f)    Fixed Income, Commissioned (“FICMCOMM”): 2006 Benefits Salary of
                    at least $150,000 or a New Hire during 2007 with (i) a base salary of
23
                    $150,000 or (ii) guarantee of at least $150,000 in FY 2007.
24

25
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             (g)    Fixed Income, Non-Commissioned Banking (“FIGNCBANK”): 2006
                    Benefits Salary of at least $150,000 or a New Hire during FY 2006 with (i) a
 1                  base salary of $150,000 or (ii) guarantee of at least $150,000 in FY 2007.
 2           (h)    Fixed Income, Non-Commissioned Non-Banking (“FIGNC”): 2006
 3                  Benefits Salary of at least $150,000 or a New Hire during FY 2006 with (i) a
                    base salary of $150,000 or (ii) guarantee of at least $150,000 in FY 2007.
 4
             (i)    PCG Directors (“PCGDIRECT”): Title of PCG President or Regional
 5                  Director.
 6
     6.      The eligibility requirements to participate in the WAP in 2008 were as follows:
 7
             (a)    Financial Consultants (“FINCONSULT”): 2007 FY Production of greater
 8                  than $350,000.

 9           (b)    Financial Consultants with Production $300,000 to $350,000
                    (“FCENTRY”): 2007 FY Production between $300,000 and $350,000.
10
             (c)    PCG Complex and Branch Directors (“BRANCHMGR”): Title of
11
                    Branch Director or Complex Director and (i) 2007 FY Production greater
12                  than $350,000 or (ii) 2007 Benefits Salary of at least $150,000.

13           (d)    Branch and Complex Directors with Production between $300,000 and
                    $350,000 (“BRMGENTRY”): Title of Branch Director or Complex
14                  Director and (i) 2007 FY Production of $300,000 to $350,000 or (ii) 2007
                    Benefits Salary of at least $150,000.
15

16           (e)    General, Capital Markets, GPB, STIEXEC, VAM, Liberty, Centura
                    (“STIEXEC”):
17
                    (i)     Liberty employees: designation of “PL06” and above and 2007
18                          Benefits Salary of at least $150,000, including new hires during FY
                            2007 with the requisite job level and a base salary of at least
19                          $150,000;
20                  (ii)    Centura employees: designation of Vice President and above and
21                          2007 Benefits Salary of at least $150,000, including new hires during
                            FY 2007 with the requisite job level and base salary of at least
22                          $150,000;

23                  (iii)    Non-Centura and Non-Liberty employees: 2007 Benefits Salary of
                            at least $150,000, including new hires in FY 2007 with a base salary
24                          of at least $150,000.
25
26   STIPULATION OF FACTS                                                 MORGAN, LEWIS & BOCKIUS LLP
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             (f)    Fixed Income, Commissioned (“FICMCOMM”): 2007 Benefits Salary of
                    at least $150,000 or a New Hire during 2007 with (i) a base salary of
 1                  $150,000 or (ii) guarantee of at least $150,000 in FY 2008
 2           (g)    Fixed Income, Non-Commissioned Banking (“STIEXEC”): 2007
 3                  Benefits Salary of at least $150,000 or a New Hire during 2007 with (i) a
                    base salary of $150,000 or (ii) guarantee of at least $150,000 in FY 2008
 4
             (h)    Fixed Income, Non-Commissioned Non-Banking (“STIEXEC”): 2007
 5                  Benefits Salary of at least $150,000 or a New Hire during 2007 with (i) a
                    base salary of $150,000 or (ii) guarantee of at least $150,000 in FY 2008
 6
             (i)    PCG Directors (“PCGDIRECT”): Title of PCG President or Regional
 7                  Director
 8
     7.      The eligibility requirements to participate in the WAP in 2009 were as follows:
 9
             (a)    Financial Consultants (“FINCONSULT”): 2008 FY Production of greater
10                  than $350,000
11
             (b)    Financial Consultants with Production from $300,000 to $350,000
12                  (“FCENTRY”): 2008 FY Production between $300,000 and $350,000.

13           (c)    PCG Complex and Branch Directors (“BRANCHMGR”): Title of
                    Branch Director or Complex Director and (i) 2008 FY Production greater
14                  than $350,000 or (ii) 2008 Benefits Salary of at least $150,000
15           (d)    Branch and Complex Directors with Production between $300,000 and
                    $350,000 (“BRMGENTRY”): Title of Branch Director or Complex
16
                    Director and 2008 FY Production of $300,000 to $350,000.
17
             (e)    General, Capital Markets, GPB, STIEXEC, VAM, Liberty, Centura,
18                  Non-PCG Commission (“STIEXEC”):

19                  (i)     Liberty: designation of PL06 and above and 2008 Benefits Salary of
                            at least $350,000, including new hires during FY 2008 with the
20                          requisite job level and a base salary of at least $350,000;
21
                    (ii)    Centura: designation of Vice President and above and 2008 Benefits
22                          Salary of at least $350,000, including new hires during FY 2008 with
                            the requisite job level and base salary of at least $350,000;
23
                    (iii)   Non-Centura and Non-Liberty: 2008 Benefits Salary of at least
24                          $350,000, including new hires in FY 2008 with a base salary plus
                            guaranteed bonus of at least $350,000.
25
26   STIPULATION OF FACTS                                                 MORGAN, LEWIS & BOCKIUS LLP
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             (f)    Financial Consultants, Select Teams (No match) (“FCSELECT”): 2008
                    FY Production greater than $350,000.
 1
             (g)    PCG Directors (“PCGDIRECT”): Title of PCG President or Regional
 2                  Director.
 3
     8.      The eligibility requirements to participate in the WAP in 2010 were as follows:
 4
             (a)    Financial Consultants and Branch Directors (“FINCONSULT”): 2009
 5                  FY Production greater than $400,000

 6           (b)    PCG Complex and Regional Directors (“BRANCHMGR”): Title of
                    Complex Director or Regional Director and 2009 Benefits Salary of at least
 7                  $250,000
 8
             (c)    Financial Consultants, Select Teams (No match) (“FCSELECT”): 2009
 9                  FY Production greater than $400,000

10           (d)    General, Capital Markets, GPB, STIEXEC, VAM, Liberty, Centura,
                    Non-PCG Commission (“STIEXEC”):
11
                    (i)     Liberty: designation of PL06 and above and 2009 Benefits Salary of
12                          at least $350,000, including new hires during FY 2009 with the
                            requisite job level and a base salary of at least $350,000;
13

14                  (ii)    Centura: designation of Vice President and above and 2009 Benefits
                            Salary of at least $350,000, including new hires during FY 2009 with
15                          the requisite job level and base salary of at least $350,000;

16                  (iii)   Non-Centura and Liberty: 2009 Benefits Salary of at least $350,000,
                            including new hires during FY 2009 with a base salary plus
17                          guaranteed bonus of at least $350,000
18   9.      The eligibility requirements to participate in the WAP in 2011 were as follows:
19
             (a)    Financial Consultants and Branch Directors (“FINCONSULT”): 2010
20                  FY Production greater than $400,000.

21           (b)    PCG Complex and Regional Directors (“BRANCHMGR” or
                    “BRANCHMGR-RD”): Title of Complex Director or Regional Director
22                  and 2010 Benefits Salary of at least $250,000
23           (c)    Financial Consultants, Select Teams (No match) (“FCSELECT”): 2010
                    FY Production greater than $400,000
24

25
26   STIPULATION OF FACTS                                                 MORGAN, LEWIS & BOCKIUS LLP
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              (d)    General, Capital Markets, GPB, STIEXEC, VAM, Liberty, Centura,
                     Non-PCG Commission (“STIEXEC”):
 1
                     (i)     Liberty: designation of PL06 and above and 2010 Benefits Salary of
 2                           at least $350,000, including new hires during FY 2010 with the
 3                           requisite job level and a base salary of at least $350,000;

 4                   (ii)    Centura: designation of Vice President and above and 2010 Benefits
                             Salary of at least $350,000, including new hires during FY 2010 with
 5                           the requisite job level and base salary of at least $350,000;
 6                   (iii)   Non-Centura and Liberty: 2010 Benefits Salary of at least $350,000,
                             including new hires during FY 2010 with a base salary plus
 7                           guaranteed bonus of at least $350,000
 8
     10.      In addition to the foregoing requirements, the WAP plan document in effect for each
 9
     of the years set forth in paragraphs 1-9 above provides that any employee “of an Employer”
10
     may become eligible to participate in the WAP. See, e.g., Nov. 1, 2008 WAP § 2.1(a).
11

12   “Employer” is defined as “the Company and Participating Subsidiaries,” and the

13   “Company” is defined as “Royal Bank of Canada, a Schedule I bank under the Bank Act

14   (Canada) with its corporate headquarters in Toronto, Ontario, Canada, and any successor or
15   assign.” See id. § 1.2. Each version of the WAP further provides that an employee neither
16
     reside nor perform the majority of his or her services in Canada in order to become eligible
17
     for the WAP in any given year. See, e.g., id. § 2.1(b).
18

19   11.      All employees who met the applicable requirements set forth in paragraphs 1-10

20   above were eligible for and invited to participate in the WAP.
21
     12.      Defendants did not further limit participation in the WAP from among the above-
22
     described pool of WAP-eligible employees.
23

24

25
26   STIPULATION OF FACTS                                                 MORGAN, LEWIS & BOCKIUS LLP
     REGARDING WAP ELIGIBILITY                                                  Attorneys at Law
     NO. 3:16-CV-05616-RBL – PAGE 9                                           77 West Wacker Drive
                                                                             Chicago, IL 60601-5094
                                                                                 +1.312.324.1000
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          DATED: September 25, 2017

 1        YARMUTH WILSDON PLLC                        MORGAN, LEWIS & BOCKIUS LLP
 2
          By: /s/ Jeremy E. Roller                    By: /s/ Sari M. Alamuddin
 3           Jeremy E. Roller, WSBA No. 32021           Sari M. Alamuddin, admitted pro hac vice
             Elizabeth S. Weinstein, WSBA No. 45763     Christopher J. Boran, admitted pro hac vice
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 5        Phone: 206.516.3800                         Chicago, IL 60601
 6        Fax: 206.516.3888                           Phone: 312.324.1000
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 7                eweinstein@yarmuth.com              Email: Sari.alamuddin@morganlewis.com
                                                              Christopher.boran@morganlewis.com
 8        Attorneys for Plaintiffs Marty Paul and             Matthew.russell@morganlewis.com
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 9                                                    PERKINS COIE LLP
10
                                                      By: /s/ Kevin J. Hamilton
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13                                                    Phone: 206.359.8000
14                                                    Fax: 206.359.9000
                                                      Email: KHamilton@perkinscoie.com
15                                                            WStafford@perkinscoie.com

16                                                    Attorneys for Defendants RBC Capital
                                                      Markets, LLC, Royal Bank of Canada, and
17
                                                      Royal Bank of Canada US Wealth
18                                                    Accumulation Plan

19

20

21

22

23

24

25
26      STIPULATION OF FACTS                                             MORGAN, LEWIS & BOCKIUS LLP
        REGARDING WAP ELIGIBILITY                                              Attorneys at Law
        NO. 3:16-CV-05616-RBL – PAGE 10                                      77 West Wacker Drive
                                                                            Chicago, IL 60601-5094
                                                                                +1.312.324.1000

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                 Exhibit N
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                 Exhibit O
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                 Exhibit P
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    RBC US Deferred                                                              Retirement Savings Statement
    Compensation Plan                                                            January 1, 2006 - December 31, 2006



                                                  ENV#MGO 00006
                                                    MG 14022       T
    MARTY PAUL                                                                               If you have questions about your account, please call
                                                                                        the RBC - U.S.A. Retirement Help Line at Fidelity at
     REDACTED                                                                           1-866-697-1002 8:30 am to midnight EST or access your
                                                                                        account on-line at www.netbenefits.com/RBC




    Your Account Summary                                                         Your Asset Allocation
    Beginning Balance                                    $705,970.86
      Employee Contributions                               103,234.92                                                                Stocks 100%
      Employer Contributions                               176,384.66
      Dividends and Interest                                31,852.31
      Fees                                                  -1,460.23
      Change in Market Value                               108,276.50
    Ending Balance                                      $1,124,259.02

    Additional Information
      Vested Balance                                      $753,106.60

    Inception to date contribution
       Your Personal Rate of Return                                16.8%         Your investments are currently allocated among the displayed
                                                                                 asset classes. Percentages and totals may not be exact due to
       Year to Date                                                16.8%
                                                                                 rounding.
    Your Personal Rate of Return is calculated with a time-weighted
    formula, widely used by financial analysts to calculate investment
    earnings. It reflects the results of your investment selections as
    well as any activity in the plan account(s) shown. There are other
    Personal Rate of Return formulas used that may yield different
    results. Remember that past performance is no guarantee of future
    results.



    Your Account Activity
    Use this section as a summary of transactions that occurred in your account during the statement period.

                                          AF                AF                                     Fid                    RBC                     RBC
    Activity                EuroPacific Gth A Grth Fund Amer A                             US Eq lndx           Share Account           SMID Cap Grth I
    Beginning Balance              $6,847.71        $115,343.51                            $205,026.21            $267,325.50              $111,427.93
     Employee Contributions        25,808.72          25,808.74                              25,808.75                    0.00               25,808.71
     Employer Contributions        25,808.72          25,808.74                              25,808.75               73,149.74               25,808.71
     Exchanges                     75,000.01               0.00                             -75,000.01                    0.00                     0.00
     Dividends and Interest        10,018.20           7,044.26                                   0.00               10,587.79                 4,202.06
     Fees                             -286.41           -374.09                                -430.58                  -16.08                  -353.07
     Change in Market Value         7,024.93           7,966.95                              27,206.29               70,666.03                -4,587.70
    Ending Balance               $150,221.88        $181,598.11                            $208,419.41            $421,712.98              $162,306.64




                          Please read this statement carefully. Any error must be reported to Fidelity Investments within 90 days.

     0006 MG000006              0001 20130306 MG4K
    Fidelity Investments, P.O. Box 770003, Cincinnati, OH 45277-0065                                                                        Page 1 of 14




CONFIDENTIAL                                                                                                                 RBC-PAUL000000410
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    RBC US Deferred                                                               Retirement Savings Statement
    Compensation Plan                                                             January 1, 2007 - December 31, 2007



                                                  ENV#MGO 00007
                                                    MG 14022       T
    MARTY PAUL                                                                                If you have questions about your account, please call
                                                                                         the RBC - U.S.A. Retirement Help Line at Fidelity at
     REDACTED                                                                            1-866-697-1002 8:30 am to midnight EST or access your
                                                                                         account on-line at www.netbenefits.com/RBC




    Your Account Summary                                                          Your Asset Allocation
    Beginning Balance                                   $1,124,259.02
      Employee Contributions                               176,071.60                                                                 Stocks 100%
      Employer Contributions                               296,340.28
      Dividends and Interest                                73,539.00
      Withdrawal                                          -204,555.77
      Fees                                                  -1,867.56
      Change in Market Value                                78,994.42
    Ending Balance                                      $1,542,780.99

    Additional Information
      Vested Balance                                    $1,056,325.06

    Inception to date contribution                                                Your investments are currently allocated among the displayed
                                                                                  asset classes. Percentages and totals may not be exact due to
       Your Personal Rate of Return                                11.7%
                                                                                  rounding.
       Year to Date                                                11.7%
    Your Personal Rate of Return is calculated with a time-weighted
    formula, widely used by financial analysts to calculate investment
    earnings. It reflects the results of your investment selections as
    well as any activity in the plan account(s) shown. There are other
    Personal Rate of Return formulas used that may yield different
    results. Remember that past performance is no guarantee of future
    results.



    Your Account Activity
    Use this section as a summary of transactions that occurred in your account during the statement period.

                                          AF                AF                                      Fid                    RBC                     RBC
    Activity                EuroPacific Gth A Grth Fund Amer A                              US Eq lndx           Share Account           SMID Cap Grth I
    Beginning Balance            $150,221.88        $181,598.11                             $208,419.41            $421,712.98              $162,306.64
     Employee Contributions        44,017.87          44,017.92                               44,017.92                    0.00                44,017.89
     Employer Contributions        44,017.87          44,017.92                               44,017.92              120,268.68                44,017.89
     Dividends and Interest        20,597.17          17,199.95                                    0.00               16,479.01                19,262.87
     Withdrawal                   -12,690.89         -19,064.49                              -21,892.47             -134,875.58               -16,032.34
     Fees                             -430.77           -473.60                                 -507.97                  -15.50                  -439.72
     Change in Market Value        12,673.30           4,743.28                               11,944.74               46,519.84                 3,113.26
    Ending Balance               $258,406.43        $272,039.09                             $285,999.55            $470,089.43              $256,246.49




                          Please read this statement carefully. Any error must be reported to Fidelity Investments within 90 clays.

     0007 MG000007              0001 20130306 MG4K
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    RBC US Deferred                                                              Retirement Savings Statement
    Compensation Plan                                                            January 1, 2008 - December 31, 2008



                                                  ENV#MGO 00008
                                                    MG 14022       T
    MARTY PAUL                                                                               If you have questions about your account, please call
                                                                                        the RBC - U.S.A. Retirement Help Line at Fidelity at
    REDACTED                                                                            1-866-697-1002 8:30 am to midnight EST or access your
                                                                                        account on-line at www.netbenefits.com/RBC




    Your Account Summary                                                         Your Asset Allocation
    Beginning Balance                                   $1,542,780.99
      Employee Contributions                               132,436.93                                                                Stocks 100%
      Employer Contributions                               317,312.11
      Dividends and Interest                                36,899.66
      Withdrawal                                          -260,831.63
      Fees                                                  -2,307.12
      Change in Market Value                              -690,323.14
    Ending Balance                                      $1,075,967.80

    Additional Information
      Vested Balance                                      $717,755.43

    Inception to date contribution                                               Your investments are currently allocated among the displayed
                                                                                 asset classes. Percentages and totals may not be exact due to
       Your Personal Rate of Return                               -39.5%
                                                                                 rounding.
       Year to Date                                               -39.5%
    Your Personal Rate of Return is calculated with a time-weighted
    formula, widely used by financial analysts to calculate investment
    earnings. It reflects the results of your investment selections as
    well as any activity in the plan account(s) shown. There are other
    Personal Rate of Return formulas used that may yield different
    results. Remember that past performance is no guarantee of future
    results.



    Your Account Activity
    Use this section as a summary of transactions that occurred in your account during the statement period.

                                          AF                 AF                                    Fid                    RBC                     RBC
    Activity                EuroPacific Gth A Grth Fund Amer A                             US Eq lndx           Share Account           SMID Cap Grth I
    Beginning Balance            $258,406.43        $272,039.09                            $285,999.55            $470,089.43              $256,246.49
     Employee Contributions        33,109.24           33,109.24                             33,109.24                    0.00                33,109.21
     Employer Contributions        33,109.24           33,109.24                             33,109.24              184,875.18                33,109.21
     Dividends and Interest        12,770.94            2,064.47                                  0.00               20,194.41                 1,869.84
     Withdrawal                   -25,315.90          -36,444.98                            -40,235.34             -128,819.03               -30,016.38
     Fees                             -558.00            -586.18                               -601.42                  -12.48                  -549.04
     Change in Market Value      -123,174.50         -110,572.44                           -107,610.70             -235,600.81              -113,364.69
    Ending Balance               $188,347.45        $192,718.44                            $203,770.57            $310,726.70              $180,404.64




                          Please read this statement carefully. Any error must be reported to Fidelity Investments within 90 days.

     0008 MG000008              0001 20130306 MG4K
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    RBC US Deferred                                                              Retirement Savings Statement
    Compensation Plan                                                            January 1, 2009 - December 31, 2009



                                                  ENV#MGO 00009
                                                    MG 14022       T
    MARTY PAUL                                                                               If you have questions about your account, please call
                                                                                        the RBC - U.S.A. Retirement Help Line at Fidelity at
    REDACTED                                                                            1-866-697-1002 8:30 am to midnight EST or access your
                                                                                        account on-line at www.netbenefits.com/RBC




    Your Account Summary                                                         Your Asset Allocation
    Beginning Balance                                   $1,075,967.80
      Employee Contributions                               100,494.70                                                                Stocks 100%
      Employer Contributions                               206,444.25
      Dividends and Interest                                29,069.91
      Withdrawal                                          -138,940.29
      Fees                                                  -2,304.10
      Adjustments                                              399.20
      Change in Market Value                               562,750.58
    Ending Balance                                      $1,833,882.05

    Additional Information
      Vested Balance                                    $1,101,406.79
                                                                                 Your investments are currently allocated among the displayed
                                                                                 asset classes. Percentages and totals may not be exact due to
    Inception to date contribution
                                                                                 rounding.
       Your Personal Rate of Return                                52.4%
       Year to Date                                                52.4%
    Your Personal Rate of Return is calculated with a time-weighted
    formula, widely used by financial analysts to calculate investment
    earnings. It reflects the results of your investment selections as
    well as any activity in the plan account(s) shown. There are other
    Personal Rate of Return formulas used that may yield different
    results. Remember that past performance is no guarantee of future
    results.



    Your Account Activity
    Use this section as a summary of transactions that occurred in your account during the statement period.

                                          AF                AF                                     Fid                    RBC                     RBC
    Activity                EuroPacific Gth A Grth Fund Amer A                             US Eq Indx           Share Account           SMID Cap Grth 1
    Beginning Balance            $188,347.45        $192,718.44                            $203,770.57            $310,726.70              $180,404.64
     Employee Contributions        25,123.68          25,123.69                              25,123.68                    0.00                25,123.65
     Employer Contributions        25,123.68          25,123.69                              25,123.68             105,949.55                 25,123.65
     Dividends and Interest          4,595.75          2,105.97                                   0.00               22,368.19                     0.00
     Withdrawal                   -16,815.34         -24,399.05                             -28,296.96              -48,153.75               -21,275.19
     Fees                             -601.30           -581.24                                -562.99                  -12.92                  -545.65
     Adjustments                        98.70            101.14                                  99.64                    0.00                    99.72
     Change in Market Value        68,803.02          61,737.49                              50,647.55             327,969.24                 53,593.28
    Ending Balance               $294,675.64        $281,930.13                            $275,905.17            $718,847.01              $262,524.10

                          Please read this statement carefully. Any error must be reported to Fidelity Investments within 90 days.

     0009 MG000009              0001 20130306 MG4K
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    RBC US Deferred                                                              Retirement Savings Statement
    Compensation Plan                                                            January 1, 2010 - December 31, 2010



                                                  ENV#MGO 00010
                                                    MG 14022       T
    MARTY PAUL                                                                               If you have questions about your account, please call
                                                                                        the RBC - U.S.A. Retirement Help Line at Fidelity at
     REDACTED                                                                           1-866-697-1002 8:30 am to midnight EST or access your
                                                                                        account on-line at www.netbenefits.com/RBC




    Your Account Summary                                                         Your Asset Allocation
    Beginning Balance                                   $1,833,882.05
      Employee Contributions                               240,091.54                                                                Stocks 100%
      Employer Contributions                                94,967.49
      Dividends and Interest                                34,119.55
      Withdrawal                                          -220,323.94
      Fees                                                  -3,105.69
      Adjustments                                              707.30
      Change in Market Value                               155,022.53
    Ending Balance                                      $2,135,360.83

    Additional Information
      Vested Balance                                    $1,534,874.38
                                                                                 Your investments are currently allocated among the displayed
                                                                                 asset classes. Percentages and totals may not be exact due to
    Inception to date contribution
                                                                                 rounding.
       Your Personal Rate of Return                                11.2%
       Year to Date                                                11.2%
    Your Personal Rate of Return is calculated with a time-weighted
    formula, widely used by financial analysts to calculate investment
    earnings. It reflects the results of your investment selections as
    well as any activity in the plan account(s) shown. There are other
    Personal Rate of Return formulas used that may yield different
    results. Remember that past performance is no guarantee of future
    results.



    Your Account Activity
    Use this section as a summary of transactions that occurred in your account during the statement period.

                                          AF                AF                                     Fid                    RBC                     RBC
    Activity                EuroPacific Gth A Grth Fund Amer A                             US Eq Indx           Share Account           SMID Cap Grth 1
    Beginning Balance            $294,675.64        $281,930.13                            $275,905.17            $718,847.01              $262,524.10
     Employee Contributions        60,022.85          60,022.90                              60,022.90                    0.00                60,022.89
     Employer Contributions              0.00              0.00                                   0.00               94,967.49                     0.00
     Dividends and Interest          4,801.58          2,736.66                                   0.00               26,581.31                     0.00
     Withdrawal                   -28,161.82         -31,016.64                             -33,774.99              -97,963.72               -29,406.77
     Fees                             -782.61           -758.43                                -749.60                  -13.86                  -801.19
     Adjustments                       178.48            176.22                                 176.28                    0.00                   176.32
     Change in Market Value        22,388.62          31,122.73                              40,007.27              -29,014.54                90,518.45
    Ending Balance               $353,122.74        $344,213.57                            $341,587.03            $713,403.69              $383,033.80

                          Please read this statement carefully. Any error must be reported to Fidelity Investments within 90 days.

     0010 MG000010              0001 20130306 MG4K
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    RBC US Deferred                                                              Retirement Savings Statement
    Compensation Plan                                                            January 1, 2011 - December 31, 2011



                                                  ENV#MGO 00011
                                                    MG 14022       T
    MARTY PAUL                                                                               If you have questions about your account, please call
                                                                                        the RBC - U.S.A. Retirement Help Line at Fidelity at
     REDACTED                                                                           1-866-697-1002 8:30 am to midnight EST or access your
                                                                                        account on-line at www.netbenefits.com/RBC




    Your Account Summary                                                         Your Asset Allocation
    Beginning Balance                                   $2,135,360.83
      Employee Contributions                                64,532.50                                                                Stocks 100%
      Employer Contributions                               186,988.65
      Dividends and Interest                                42,272.78
      Fees                                                  -3,957.27
      Change in Market Value                              -103,017.44
    Ending Balance                                      $2,322,180.05

    Additional Information
      Vested Balance                                    $1,546,271.58

    Inception to date contribution
       Your Personal Rate of Return                                -1.9%         Your investments are currently allocated among the displayed
                                                                                 asset classes. Percentages and totals may not be exact due to
       Year to Date                                                -1.9%
                                                                                 rounding.
    Your Personal Rate of Return is calculated with a time-weighted
    formula, widely used by financial analysts to calculate investment
    earnings. It reflects the results of your investment selections as
    well as any activity in the plan account(s) shown. There are other
    Personal Rate of Return formulas used that may yield different
    results. Remember that past performance is no guarantee of future
    results.



    Your Account Activity
    Use this section as a summary of transactions that occurred in your account during the statement period.

                                           AF                             AF                AF                AF                                    Fid
    Activity                EuroPac Growth R6               EuroPacific Gth A Grth Fund Amer A Grth Fund Amer R6                            US Eq Indx
    Beginning Balance                    $0.00                   $353,122.74        $344,213.57             $0.00                           $341,587.03
     Employee Contributions          13,320.85                       2,812.27          2,812.28         13,320.85                             16,133.12
     Employer Contributions          24,931.82                           0.00              0.00         24,931.82                             24,931.82
     Exchanges                      356,490.58                   -356,490.58        -351,227.24        351,227.24                                  0.00
     Dividends and Interest           6,976.34                           0.00              0.00          4,240.39                                  0.00
     Fees                              -933.76                           0.00              0.00           -948.06                               -969.13
     Change in Market Value         -60,717.38                         555.57          4,201.39        -27,663.64                              5,806.27
    Ending Balance                $340,068.45                           $0.00             $0.00       $365,108.60                           $387,489.11




                          Please read this statement carefully. Any error must be reported to Fidelity Investments within 90 days.

     0011 MG000011              0001 20130306 MG4K
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                 Exhibit R
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                                                                   2006                                F&amp;               Total                  Compensation                                                                 Statement
                                                                                                                                                                                                                                                                           1




                BRIAN             BUSKIRK           - GH07                                                                                                                                                                                                       $                                         % Gross
                Gross             Commissions                                                                                                                                                                                                            653,275                                             100.0%


                Cash         Compensation:
                         Base         Commissions                           and                   Interest                                                                                                                                               273,424                                              41.9%

                Total        Cash        Compensation                                                                                                                                                                                                    273,424                                              41.9%


                Long-Term                Compensation:
                        WAP Productivity          Bonus                                                                                                                                                                                                  22,865                                                 3.5%
                        WAP Fixed        Match                                                                                                                                                                                                            9,284                                                 1.4%
                           WAP Fixed           Match    @ Full Participation                                                                       2
                                                                                                                                                                                         9,284                                 1.4%
                        WAP Premium           Match                                                                                                                                                                                                       11,141                                                1.7%
                                                                                                                                                                 2
                           WAP Premium              Match  @ Full Participation                                                                                                         11,141                                 1.7%
                        RBC USA                  Retirement                                       Savings                   Plan           Match                                                                                                           1,600                                                0.2%
                                                                                          &amp;




               Total        Long-Term                     Compensation                                             (Subject                   to       Vesting)                                                                                          44,790                                                 6.9%


               Employee                Benefits:

                        Employee              Insurance                      (company                                  cost           of    medical,                 dental,                 and          basic        life)                              8,695                                                 1.3%
                        Social        Security                                                                                                                                                                                                            9,649                                                 1.5%


               Total        Employee                Benefits:                                                                                                                                                                                                                                                   2.8%
                                                                                                                                                                                                                                                         18,344


               Total        FC Compensation                                                       Benefits                   (Subject                  to     Vesting)                                                                                   336,558                                             51.5%
                                                                                  &amp;




               Notes:

               (1)      This       statement                provides                              a   summary                      of       2006            plan           year          financial                consultant                compensation                        only.       It   does                 not
                        include:        complex                  or     branch                          director                compensation,                                 assistant                   branch               manager              compensation,                        compensation
                        sharing,         transitional                   bonuses,                                  or    transitional                    salary.                   In     general,                 compensation                            based            on      FY2006
                                                                                                                                                                                                                                                    is
                                                                                                                                                                                                                                                                                                      gross
                        production.                Benefits,                 WAP                        matches                       and      Retirement                              and     Savings                 Plan          matches             are         based          on    a calendar                        year
                        cycle.        Some           of      the        long-term                                 compensation                              on       the      statement                      above              is    unvested.                Vesting             depends                 on         the

                        vesting        schedule                  and         conditions                                 of    the          applicable                      plan          and         is    contingent                  on     continued                employment                     at        RBC           Dain
                        Rauscher.

               (2)      Represents                 amount               of        match                      if        FC     fully         participated                          in    WAP,              defined              as     voluntarily              deferring                15%      of        eligible

                        compensation                      into        the     WAP.


               See next                page               for         retirement                                         and               deferred                         plan              balances




                        A




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                                                                                                            (-

                                                                 2007                              FC                   Total                      Compensation                                                                 Statemen                               t



                                                  - GH07
                                                                                                                                                                                                                                                                                                          %         Gross
               BRIAN        BUSKIRK
                                                                                                                                                                                                                                                          780,406                                             100.0%
               Gross        Commissions


               Cash       Compensation:
                                                                                                                                                                                                                                                          331,014                                              42.4%
                       Base   Commissions                             and                     Interest


                                                                                                                                                                                                                                                          331,014                                              42.4%
               Total      Cash         Compensation


               Long-Term                Compensation:
                                                                                                                                                                                                                                                              27,314                                                3.5%
                       WAP Productivity          Bonus
                                                                                                                                                                                                                                                              11,091                                                1.4%
                       WAP Fixed        Match
                                                                                                                                                   2
                                                                                                                                                                                                                                1.4%
                          WAP Fixed Match @ Full Participation                                                                                                                          11,091
                                                                                                                                                                                                                                                              13,309                                                1.7%
                       WAP Premium           Match
                                                                                                                                                              2
                                                                                                                                                                                                                                1.7%
                          WAP Premium              Match @ Full Participation                                                                                                           13,309
                                                                                                                         Plan            Match                                                                                                                 1,500                                                0.2%
                       RBC         USA       Retirement                                        Savings
                                                                                      &amp;




                                                                                                                                              to                                                                                                              53,214                                                6.8%
               Total       Long-Term                 Compensation                                                 (Subject                             Vesting)



               Employee               Benefits:
                                                                                                                                                                                                                                                                                                                     1.1%
                                             Insurance                  (company                                       cost       of      medical,                    denta                   and         basic         lif
                                                                                                                                                                                                                               e)                              8,716
                       Employee                                                                                                                                                         l,



                                                                                                                                                                                                                                                              10,294                                                 1.3%
                       Social         Security


                                                                                                                                                                                                                                                               19,010                                               2.4%
               Total       Employee                Benefits:



                                                                                                                                                       to         Vestin                                                                                      403,238                                              51.7%
               Total       FC Compensation                                                     Benefits                       (Subject                                             g)
                                                                              &amp;




                Notes:
                                                                                                                                                                                                                   consultant                                                       only.               does              not
                       This        statement                                                   a   summary                         of     2007              plan            year             financial                                          compensation                                      It


                (1)                                        provides
                                                                                                                                                                              assistant                       branch                manager              compensation,                       compensation
                        include:         complex                 or    branch                            director                compensation,
                                                                                                                  or     transitional                       salary.                In        general,              compensation                          is    based           on     FY2007                  gross
                        sharing,          transitional                  bonuses,
                                                                                                                                                                                                                                          matches              are         based        on    a        calendar
                        production.               Benefits,                  WAP                         matches                        and        Retirement                       and            Savings                    Plan                                                                                              year
                                                                                                                                                                                                                  above                   unvested.                  Vesting           depends                 on         the
                                      Some           of      the       long-term                                  compensation                               on       the      statement                                             is
                        cycle.
                                                                 and         conditions                                  of     the       applicable                        plan             and         is   contingent                   on     continued                  employment                       at       RBC        Dain
                        vesting         schedule
                        Rauscher.
                                                                                              match                    FC                                                                    WAP,             defined                as    voluntarily               deferring               15%         of        eligible
                (2)     Represents                amount                of                                   if                 fully         participated                         in


                        compensation                      into        the                WAP.


                See        next                                       retirement                                              and             deferred                        plan                 balances
                                         page              for




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